Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 1




           Appendix
               Case: 22-5843          Document: 22          Filed: 11/30/2022         Page: 2




                                         TABLE OF CONTENTS

Docket Sheet ................................................................................................. 1
Plaintiffs’ Exhibit 28 .................................................................................... 28
Plaintiffs’ Exhibit 47 .................................................................................... 30
Defendants’ Exhibit 17D ............................................................................. 38
Defendants’ Exhibit 17E.............................................................................. 60
Defendants’ Exhibit 17F .............................................................................. 96
Defendants’ Exhibit 125 ............................................................................ 137
Certification of the Record
Certificate of Service
11/29/22, 12:14 PM           Case: 22-5843            Document: 22     Filed:
                                                                 Kentucky      11/30/2022
                                                                          Western CM/ECF-DC       Page: 3

                                     Query       Reports         Utilities    Help    Log Out

                                                               APPEAL,CASREF,CLOSED,PATENT/TRADEMARK,SUBRGJ

                                             U.S. District Court
                                   Western District of Kentucky (Louisville)
                            CIVIL DOCKET FOR CASE #: 3:16-cv-00594-RGJ-CHL


 House et al v Player's Dugout, Inc                                                  Date Filed 09/14/2016
 Assigned to: Judge Rebecca Grady Jennings                                           Date Terminated: 01/12/2022
 Referred to Magistrate Judge Colin H Lindsay                                        Jury Demand Both
 Case in other court: 22-05843                                                       Nature of Suit: 840 Trademark
 Cause: 15:1121 Trademark Infringement                                               Jurisdiction Federal Question
 Plaintiff
 Dr. Thomas House                                                    represented by Lee Scott Archer
                                                                                    Energy & Environment Cabinet
                                                                                    Office of Legal Services
                                                                                    300 Sower Blvd
                                                                                    Frankfort, KY 40601
                                                                                    502-782-1224
                                                                                    Fax: 502-564-7484
                                                                                    Email: lee.archer@ky.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                     Michael A. Valenti
                                                                                     Valenti Hanley, PLLC
                                                                                     401 W. Main Street, Suite 1950
                                                                                     Louisville, KY 40202
                                                                                     502-568-2100
                                                                                     Fax: 502-568-2101
                                                                                     Email: mvalenti@vhrlaw.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Hayden A. Holbrook
                                                                                     Valenti Hanley, PLLC
                                                                                     401 W. Main Street, Suite 1950
                                                                                     Louisville, KY 40202
                                                                                     502-568-2100
                                                                                     Email: hholbrook@vhrlaw.com
                                                                                     ATTORNEY TO BE NOTICED

 Plaintiff
 National Pitching Association, Inc.                                 represented by Lee Scott Archer
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                     Michael A. Valenti
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          1                                           1/27
11/29/22, 12:14 PM           Case: 22-5843            Document: 22     Filed:
                                                                 Kentucky      11/30/2022
                                                                          Western CM/ECF-DC     Page: 4
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                   Hayden A. Holbrook
                                                                                   (See above for address)
                                                                                   ATTORNEY TO BE NOTICED


 V.
 Intervenor Plaintiff
 Joe Newton                                                          represented by Benjamin L. Riddle
 TERMINATED: 12/15/2017                                                             Steptoe & Johnson PLLC - Louisville
                                                                                    700 N. Hurstbourne Parkway, Suite 115
                                                                                    Louisville, KY 40222
                                                                                    502-423-2000
                                                                                    Fax: 502-423-2001
                                                                                    Email: benjamin.riddle@steptoe-
                                                                                    johnson.com
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                   Bruce B. Paul
                                                                                   McBrayer PLLC - Louisville
                                                                                   500 W. Jefferson Street, Suite 2400
                                                                                   Louisville, KY 40202
                                                                                   502-327-5400
                                                                                   Fax: 502-327-5444
                                                                                   Email: bpaul@mcbrayerfirm.com
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Clare Souleyrette
                                                                                   McBrayer PLLC - Louisville
                                                                                   500 W. Jefferson Street, Suite 2400
                                                                                   Louisville, KY 40202
                                                                                   502-327-5400
                                                                                   Fax: 502-327-5444
                                                                                   Email:
                                                                                   kywd_ecf_deadletter@kywd.uscourts.gov
                                                                                   LEAD ATTORNEY
                                                                                   ATTORNEY TO BE NOTICED

                                                                                   Jack Allen Wheat
                                                                                   McBrayer, McGinnis, Leslie & Kirkland,
                                                                                   PLLC - Louisville
                                                                                   9300 Shelbyville Road, Suite 210
                                                                                   Louisville, KY 40222
                                                                                   502-327-5400
                                                                                   Fax: 502-327-5444
                                                                                   Email: jwheat@mmlk.com
                                                                                   LEAD ATTORNEY

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          2                                                 2/27
11/29/22, 12:14 PM           Case: 22-5843            Document: 22     Filed:
                                                                 Kentucky      11/30/2022
                                                                          Western CM/ECF-DC Page: 5
                                                                                  ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 Kaplan Johnson Abate & Bird LLP
                                                                                 710 W Main Street, Suite 400
                                                                                 Louisville, KY 40202
                                                                                 270 791 9933
                                                                                 Email: cstinson@kaplanjohnsonlaw.com
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 James Eugene McKiernan , III
                                                                                 Jefferson County Attorney Office
                                                                                 200 S Fifth Street, Suite 300N
                                                                                 Suite 300n
                                                                                 Louisville, KY 40202
                                                                                 502-574-6303
                                                                                 Email james mckiernan@louisvilleky gov
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Peter J. Rosene
                                                                                 McBrayer PLLC Louisville
                                                                                 500 W. Jefferson Street, Suite 2400
                                                                                 Louisville, KY 40202
                                                                                 502-327-5400
                                                                                 Fax 502 327 5444
                                                                                 Email: prosene@mcbrayerfirm.com
                                                                                 ATTORNEY TO BE NOTICED

 Intervenor Plaintiff
 Joseph A. Newton                                                    represented by Benjamin L. Riddle
 TERMINATED: 12/15/2017                                                             (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Clare Souleyrette
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jack Allen Wheat
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          3                                               3/27
11/29/22, 12:14 PM           Case: 22-5843            Document: 22     Filed:
                                                                 Kentucky      11/30/2022
                                                                          Western CM/ECF-DC     Page: 6
                                                                                  James Eugene McKiernan , III
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                 Peter J. Rosene
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED


 V.
 Defendant
 Player's Dugout, Inc.                                               represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Clare Souleyrette
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 James Eugene McKiernan , III
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Peter J. Rosene
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jack Allen Wheat
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Defendant
 Joe Newton                                                          represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          4                                      4/27
11/29/22, 12:14 PM           Case: 22-5843            Document: 22     Filed:
                                                                 Kentucky      11/30/2022
                                                                          Western CM/ECF-DC       Page: 7

                                                                                    Jack Allen Wheat
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Burt Anthony Stinson
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    James Eugene McKiernan , III
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Peter J. Rosene
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

 Defendant
 Joseph A. Newton                                                    represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Bruce B. Paul
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Jack Allen Wheat
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Burt Anthony Stinson
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    James Eugene McKiernan , III
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED

                                                                                    Peter J. Rosene
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED


 V.
 Intervenor Defendant
 National Pitching Association, Inc.                                 represented by Lee Scott Archer
 TERMINATED: 12/15/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          5                                        5/27
11/29/22, 12:14 PM           Case: 22-5843            Document: 22     Filed:
                                                                 Kentucky      11/30/2022
                                                                          Western CM/ECF-DC Page: 8
                                                                                  ATTORNEY TO BE NOTICED

                                                                                 Michael A. Valenti
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED
 Intervenor Defendant
 Dr. Thomas House                                                    represented by Lee Scott Archer
 TERMINATED: 12/15/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Michael A. Valenti
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

 Counter Claimant
 Joe Newton                                                          represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jack Allen Wheat
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 James Eugene McKiernan , III
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Peter J. Rosene
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

 Counter Claimant
 Joseph A. Newton                                                    represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          6                                     6/27
11/29/22, 12:14 PM           Case: 22-5843            Document: 22     Filed:
                                                                 Kentucky      11/30/2022
                                                                          Western CM/ECF-DC   Page: 9

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jack Allen Wheat
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 James Eugene McKiernan , III
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Peter J. Rosene
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Counter Claimant
 Player's Dugout, Inc.                                               represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Clare Souleyrette
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 James Eugene McKiernan , III
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Peter J. Rosene
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jack Allen Wheat
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          7                                     7/27
11/29/22, 12:14 PM          Case: 22-5843            Document: 22Kentucky
                                                                      Filed:  11/30/2022
                                                                          Western CM/ECF-DC   Page: 10


 V.
 Counter Defendant
 Dr. Thomas House                                                    represented by Lee Scott Archer
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Michael A. Valenti
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

 Counter Defendant
 National Pitching Association, Inc.                                 represented by Lee Scott Archer
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Michael A. Valenti
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED
 Counter Claimant
 Joe Newton                                                          represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jack Allen Wheat
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 James Eugene McKiernan , III
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Peter J. Rosene
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          8                                     8/27
11/29/22, 12:14 PM          Case: 22-5843            Document: 22Kentucky
                                                                      Filed:  11/30/2022
                                                                          Western CM/ECF-DC   Page: 11
 Counter Claimant
 Joseph A. Newton                                                    represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Jack Allen Wheat
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 James Eugene McKiernan , III
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Peter J. Rosene
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Counter Claimant
 Player's Dugout, Inc.                                               represented by Benjamin L. Riddle
                                                                                    (See above for address)
                                                                                    TERMINATED: 12/13/2018
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Bruce B. Paul
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Burt Anthony Stinson
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Clare Souleyrette
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 James Eugene McKiernan , III
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED


https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          9                                     9/27
11/29/22, 12:14 PM           Case: 22-5843           Document: 22Kentucky
                                                                      Filed:  11/30/2022
                                                                          Western CM/ECF-DC    Page: 12
                                                                                  Peter J. Rosene
                                                                                  (See above for address)
                                                                                  ATTORNEY TO BE NOTICED

                                                                                 Jack Allen Wheat
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED


 V.
 Counter Defendant
 Dr. Thomas House                                                    represented by Lee Scott Archer
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Michael A. Valenti
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED
 Counter Defendant
 National Pitching Association, Inc.                                 represented by Lee Scott Archer
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 Michael A. Valenti
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED


  Date Filed             #     Docket Text
  09/14/2016              1 COMPLAINT against Player's Dugout, Inc. filed by National Pitching Association, Inc.,
                            Thomas House. Filing fee $400, receipt number 0644-2294430. (Attachments: # 1
                            Exhibit A: License Agreement, # 2 Exhibit B: Certificate of Registration, # 3 Exhibit C:
                            Ltr to Higgins, # 4 Exhibit D: Velocity, # 5 Cover Sheet) (NM) (Entered: 09/14/2016)
  09/14/2016              2 Case Assignment (Random Selection): Case Assigned to Judge David J. Hale. Magistrate
                            Judge designation: Judge Colin H. Lindsay. (NM) (Entered: 09/14/2016)
  09/14/2016              3 Report on Filing of Trademark re 1 Complaint. cc: Patent/Trademark Office (NM)
                            (Entered: 09/14/2016)
  09/15/2016              4 Corporate Disclosure Statement by National Pitching Association, Inc.. (Valenti,
                            Michael) (Entered: 09/15/2016)
  10/24/2016              5 ANSWER to 1 Complaint, with Jury Demand , COUNTERCLAIM by Defendant and
                            intervening Counterclaim Plaintiffs against All Plaintiffs by Player's Dugout, Inc..
                             Attachments: # 1 Exhibit DX 1: Adornado letter to Newton, # 2 Exhibit DX 2: Atty
                            Wheat letter to Attorney Valenti, # 3 Exhibit DX 3: House & Adornado E-mail to NPA
                            Coaches) (Wheat, Jack) (Entered: 10/24/2016)

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          10                                       10/27
11/29/22, 12:14 PM         Case: 22-5843 Document: 22Kentucky Filed: 11/30/2022
                                                                 Western CM/ECF-DC Page: 13
  10/25/2016              6 NOTICE 7 1 Disclosure by Player's Dugout, Inc (Wheat, Jack) (Entered 10/25/2016)
  11/30/2016              7 Plaintiffs' ANSWER to 5 Answer to Complaint,, Counterclaim, by Thomas House.
                            (Valenti, Michael) (Entered: 11/30/2016)
  12/02/2016              8 ORDER FOR MEETING AND REPORT by Judge David J Hale on 12/2/2016 A
                            telephonic Rule 16 Scheduling Conference set for 1/23/2017 02:30 PM before Judge
                            David J Hale The Court will initiate the call to counsel cc Counsel (DAK) (Entered
                            12/02/2016)
  01/17/2017              9 Joint REPORT of Rule 26(f) Planning Meeting by Thomas House. (Valenti, Michael)
                            (Entered: 01/17/2017)
  01/18/2017             10 ORDER by Judge David J. Hale on 1/18/2017 - Telephonic Rule 16 scheduling
                            conference set for January 23, 2017 is hereby CANCELED This matter is REFERRED
                            to Magistrate Judge Colin H. Lindsay. cc: Counsel, USMJ Lindsay-CM (DAK) (Entered:
                            01/18/2017)
  01/23/2017             11 ORDER FOR MEETING AND REPORT (EBOC) by Magistrate Judge Colin H. Lindsay
                            on 1/23/2016 - A telephonic Rule 16 Scheduling Conference set for 3/15/2017 10:30 AM
                            before Magistrate Judge Colin H. Lindsay. cc: Counsel, USMJ Lindsay-CM (DAK)
                            (Entered: 01/23/2017)
  03/14/2017             12 TEXT ORDER by Magistrate Judge Colin H Lindsay on 3/14/2017 The 3/15/2017
                            scheduling conference is REMANDED from the docket. The Court will issue a
                            scheduling plan by separate order Any party that would like to discuss the scheduling
                            plan may contact case manager Theresa Burch at theresa_burch@kywd.uscourts.gov to
                            schedule a telephonic conference

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached

                               cc:counsel (TLB) (Entered: 03/14/2017)
  03/20/2017             13 SCHEDULING ORDER (EBOC) by Magistrate Judge Colin H. Lindsay on 3/20/2017 -
                            Rule 26(a)(1) Disclosure due by 3/24/2017. Amended Pleadings due by 7/24/2017.
                            Joinder of Parties due by 7/24/2017. Expert Witness (Plaintiff) due by 8/28/2017. Expert
                            Witness (Defendant) due by 8/28/2017. Rebuttal Experts due by 9/29/2017. Discovery
                            due by 11/3/2017. Supplementations due by 9/3/2017. Dispositive Motions due by
                            1/8/2018. Daubert Motion due by 1/8/2018. Parties to contact case manager by 3/30/2017
                            to schedule a settlement conference. cc:counsel (DAK) (Entered: 03/20/2017)
  04/18/2017             14 ORDER FOR SETTLEMENT CONFERENCE by Magistrate Judge Colin H Lindsay on
                            4/17/2017 - Settlement Conference set for 7/18/2017 10:00 AM in chambers before
                            Magistrate Judge Colin H Lindsay COUNSEL SHALL REVIEW THE ENTIRETY OF
                            THIS COURT ORDER.cc: Counsel (DAK) (Entered: 04/18/2017)
  05/25/2017             15 NOTICE of Service of Discovery upon Plaintiffs by Joe Newton, Joseph A. Newton,
                            Player's Dugout, Inc. (Riddle, Benjamin) (Entered: 05/25/2017)
  06/15/2017             16 NOTICE of Service of Discovery by hand-delivery by Thomas House, National Pitching
                            Association, Inc (Valenti, Michael) (Entered 06/15/2017)
  07/17/2017             17 MOTION for Preliminary Injunction by Plaintiffs Thomas House, National Pitching
                            Association, Inc. (Attachments: # 1 Memorandum in Support, # 2 Exhibit A - License
                            Agreement, # 3 Exhibit B - Declaration of Thomas House, # 4 Proposed Order) (Valenti,
                            Michael) (Entered: 07/17/2017)
  07/17/2017             18 MOTION for Hearing re 17 MOTION for Preliminary Injunction by Plaintiffs Thomas
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          11                                          11/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky  Filed:  11/30/2022
                                                                    Western CM/ECF-DC  Page: 14
                             House, National Pitching Association, Inc. (Attachments: # 1 Proposed Order) (Valenti,
                             Michael) (Entered: 07/17/2017)
  07/20/2017             19 SETTLEMENT REPORT on proceedings held before Magistrate Judge Colin H. Lindsay
                            on 7/18/2017 - Although settlement discussions were conducted in good faith, the parties
                            were unable to come to an agreement. cc:counsel (DAK) (Entered: 07/20/2017)
  07/20/2017             20 NOTICE of Deficiency as to Clare Couleyrette re 19 Settlement Conference.Reason for
                            Deficiency: No Admission or Pro Hac Vice motion filed. Failure to comply will be
                            brought to the attention of the Court. Response due by 8/7/2017. (MLG) (Entered:
                            07/20/2017)
  08/01/2017             21 NOTICE TO TAKE VIDEO DEPOSITION OF JOE NEWTON by Thomas House,
                            National Pitching Association, Inc. (Valenti, Michael) (Entered: 08/01/2017)
  08/01/2017             22 NOTICE TO TAKE VIDEO DEPOSITION OF JOSEPH A. NEWTON, JR. by Thomas
                            House, National Pitching Association, Inc. (Valenti, Michael) (Entered: 08/01/2017)
  08/03/2017             23 NOTICE of Appearance by Clare Souleyrette on behalf of Joe Newton, Joseph A.
                            Newton, Player's Dugout, Inc., Player's Dugout, Inc. (Souleyrette, Clare) (Entered:
                            08/03/2017)
  08/07/2017             24 Proposed Agreed Order/Stipulation re 17 by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc.. (Wheat, Jack) (Entered: 08/07/2017)
  08/09/2017             25 NOTICE AMENDED TO TAKE VIDEO DEPOSITION OF JOE NEWTON by Thomas
                            House, National Pitching Association, Inc. (Valenti, Michael) (Entered: 08/09/2017)
  08/09/2017             26 NOTICE AMENDED TO TAKE VIDEO DEPOSITION OF JOSEPH A. NEWTON, JR. by
                            Thomas House, National Pitching Association, Inc. (Valenti, Michael) (Entered:
                            08/09/2017)
  08/14/2017             27 ORDER by Judge David J. Hale on 8/11/2017. Plaintiffs have filed in the record
                            numerous documents pertaining to discovery, including notices to take depositions. (See
                            D.N. 21 ; D.N. 22 ; D.N. 25 ; D.N. 26 ) The parties shall refrain from further filing of
                            discovery documents except as appropriate under the Federal Rules of Civil Procedure.
                            cc: Counsel (CDR) (Entered: 08/14/2017)
  08/14/2017             28 AGREED ORDER EXTENDING DEADLINE TO RESPOND TO MOTION FOR
                            PRELIMINARY INJUNCTION by Magistrate Judge Colin H. Lindsay on 8/13/2017;
                            Defendant/Counterclaim Plaintiffs shall have an extension until 8/21/2017 to file a
                            response to the pending Motion for Preliminary Injunction (DE # 17 ). cc: Counsel
                            (CDR) (Entered: 08/14/2017)
  08/18/2017             29 Proposed Agreed Order/Stipulation re 17 by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc.. (Wheat, Jack) (Entered: 08/18/2017)
  08/28/2017             30 AGREED ORDER by Magistrate Judge Colin H. Lindsay on 8/28/2017 -
                            Defendant/Counterclaim Plaintiffs' response to 17 Motion for Preliminary Injunction due
                            by 9/4/2017.cc:counsel (DAK) (Entered: 08/28/2017)
  09/07/2017             31 Proposed Agreed Order/Stipulation re 18 , 17 by Thomas House, National Pitching
                            Association, Inc.. (Valenti, Michael) (Entered: 09/07/2017)
  09/08/2017             32 ORDER by Judge David J. Hale on 9/82017 - Plaintiffs' Motion for Preliminary
                            Injunction (DN 17) and Plaintiffs' Motion for a Hearing Date on Their Motion for a
                            Preliminary Injunction (DN 18) are DENIED without prejudice as moot. cc:
                            Counsel(DAK) (Entered: 09/08/2017)
  09/19/2017             33 Proposed Agreed Order/Stipulation re 13 by Thomas House, National Pitching
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          12                                          12/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky     Filed: 11/30/2022
                                                                      Western CM/ECF-DC  Page: 15
                             Association, Inc.. (Valenti, Michael) (Entered: 09/19/2017)
  09/22/2017             34 AGREED ORDER AMENDING SCHEDULING ORDER by Magistrate Judge Colin H.
                            Lindsay on 9/22/2017 - Amended Pleadings due by 11/1/2017. Joinder of Parties due by
                            11/1/2017. Expert Witness (Plaintiff) due by 1/31/2018. Expert Witness (Defendant) due
                            by 1/31/2018. Rebuttal Expert Reports due by 3/2/2018. Fact Discovery due by 4/6/2018.
                            Expert Discovery due by 5/4/2018. Dispositive Motions due by 6/11/2018. cc: Counsel
                            (DAK) (Entered: 09/22/2017)
  10/10/2017             35 TEXT ORDER by Magistrate Judge Colin H. Lindsay on 10/10/2017. The Court having
                            been notified of a discovery dispute, a telephonic conference is scheduled for 10/17/2017
                            11:00 AM before Magistrate Judge Colin H. Lindsay. The Court will initiate the call.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel (TLB) (Entered: 10/10/2017)
  10/16/2017             36 TEXT ORDER by Magistrate Judge Colin H. Lindsay on 10/16/2017. Counsel having
                            notified the Court that the parties have resolved the discovery dispute, the telephonic
                            conference scheduled for 10/17/2017 is REMANDED from the docket.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel (TLB) (Entered: 10/16/2017)
  11/01/2017             37 MOTION for Leave to File First Amended Verified Complaint by Plaintiffs Thomas
                            House, National Pitching Association, Inc. (Attachments: # 1 Exhibit First Amended
                            Verified Complaint, # 2 Exhibit A - License Agreement, # 3 Exhibit B - Certificate of
                            Registration, # 4 Exhibit C - Ltr to James R. Higgins Jr., # 5 Exhibit D - Velocity, # 6
                            Proposed Order) (Valenti, Michael) (Entered: 11/01/2017)
  12/18/2017             38 ORDER by Judge David J. Hale on 12/15/2017 - granting 37 Motion for Leave to file
                            first amended verified complaint is GRANTED. The Clerk of Court is DIRECTED to file
                            Plaintiffs' first amended verified complaint (DN 37-1) in the record. The Clerk of Court is
                            DIRECTED to add Joe Newton and Joseph A. Newton as both counterclaimants and
                            defendants in the docket. The Clerk is further DIRECTED to remove Joe Newton and
                            Joseph A. Newton as intervenor plaintiffs. The Clerk is finally DIRECTED to remove
                            National Pitching Association, Inc. and Dr. Thomas House as intervenor defendants.
                            House and National Pitching Association shall remain listed in the docket as counter
                            defendants. cc: Counsel(DAK) (Entered: 12/18/2017)
  12/18/2017             39 FIRST AMENDED VERIFIED COMPLAINT against All Defendants, filed by Thomas
                            House, National Pitching Association, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                            3 Exhibit C, # 4 Exhibit D) (DAK) (Entered: 12/18/2017)
  01/03/2018             40 ANSWER to 39 Amended Complaint of Plaintiffs, COUNTERCLAIM against Thomas
                            House, National Pitching Association, Inc. by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc.. (Riddle, Benjamin) (Entered: 01/03/2018)
  01/24/2018             41 ANSWER to AMENDED COUNTERCLAIM by Thomas House, National Pitching
                            Association, Inc.. (Valenti, Michael) Modified on 1/25/2018 clarified docket text (JAC).
                            (Entered: 01/24/2018)
  01/31/2018             42 Expert Witness Disclosure by Joe Newton, Joseph A. Newton, Player's Dugout, Inc..
                            (Attachments: # 1 Exhibit Expert Report of Newell Andrew Chambers) (Riddle,
                            Benjamin) (Entered: 01/31/2018)
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          13                                           13/27
11/29/22, 12:14 PM          Case: 22-5843            Document: 22Kentucky
                                                                      Filed:  11/30/2022
                                                                          Western CM/ECF-DC   Page: 16
  03/20/2018             43 MOTION for Partial Summary Judgment by Plaintiffs Thomas House, National Pitching
                            Association, Inc. (Attachments: # 1 Memorandum in Support, # 2 Exhibit A - License
                            Agreement, # 3 Exhibit B - Joseph John Newton deposition pages, # 4 Exhibit C - Joseph
                            A. Newton Jr. deposition pages, # 5 Exhibit D - Newton deposition exhibits, # 6 Exhibit
                            E - Declaration of Dr. Thomas House, # 7 Proposed Order granting partial summary
                            judgment) (Valenti, Michael) Modified on 2/19/2020 to reinstate motion per chambers
                            (KJA). (Entered: 03/20/2018)
  04/02/2018             44 NOTICE to Take Deposition of Dr. Thomas House by Joe Newton, Joseph A. Newton,
                            Player's Dugout, Inc.. (Riddle, Benjamin) (Entered: 04/02/2018)
  04/02/2018             45 NOTICE to Take Deposition of Marie House by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc.. (Riddle, Benjamin) (Entered: 04/02/2018)
  04/05/2018             46 Proposed Agreed Order/Stipulation re 43 by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc.. (Wheat, Jack) (Entered: 04/05/2018)
  04/19/2018             47 AGRRED AMENDED SCHEDULING ORDER by Magistrate Judge Colin H. Lindsay
                            on 4/18/2018 - Response to Plaintiffs' Motion for Partial Summary Judgment due 25 days
                            after Dr. House's deposition. Dispositive Motions due by 9/10/2018. Expert Discovery
                            due by 8/2/2018. Fact Discovery due by 7/5/2018.cc:counsel (DAK) (Entered:
                            04/19/2018)
  04/25/2018             48 TEXT ORDER by Chief Judge Joseph H. McKinley, Jr.; Pursuant to GO 2018-03, Case
                            reassigned to Judge Rebecca G. Jennings for all further proceedings. Judge David J. Hale
                            no longer assigned to case. cc:counsel (MLG) (Entered: 04/25/2018)
  05/10/2018             49 Proposed Agreed Order/Stipulation re 43 by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc.. (Wheat, Jack) (Entered: 05/10/2018)
  05/11/2018             50 AGREED ORDER by Judge Rebecca Grady Jennings on 5/11/2018 re: 43 MOTION for
                            Partial Summary Judgment: Response due by 5/16/2018. cc: counsel (JM) (Entered:
                            05/11/2018)
  05/16/2018             51 RESPONSE to Motion re 43 MOTION for Partial Summary Judgment filed by Joe
                            Newton, Joseph A. Newton, Player's Dugout, Inc.. (Attachments: # 1 Exhibit License
                            Agreement, # 2 Exhibit Patent Application, # 3 Exhibit Joe Newton Deposition, # 4
                            Exhibit Joseph Newton Deposition, # 5 Exhibit Email 1.13.2013, # 6 Exhibit Email
                            11.4.2014, # 7 Exhibit Email 11.7.2014, # 8 Exhibit Email 6.2.2015, # 9 Exhibit Dr.
                            Thomas House Deposition, # 10 Exhibit Email 10.26.2015, # 11 Exhibit Letter
                            10.13.2015, # 12 Exhibit Declaration of Jack Wheat, # 13 Proposed Order Proposed
                            Order) (Wheat, Jack) (Entered: 05/16/2018)
  05/30/2018             52 Proposed Agreed Order/Stipulation re 43 , 51 by Thomas House. (Valenti, Michael)
                            (Entered: 05/30/2018)
  06/01/2018             53 AGREED ORDER by Judge Rebecca Grady Jennings on 5/31/2018 re: 43 MOTION for
                            Partial Summary Judgment: Plaintiff's Reply due by 6/25/2018. cc: counsel (JM)
                            (Entered: 06/01/2018)
  06/20/2018             54 NOTICE of Appearance by James E. McKiernan, III on behalf of Joe Newton, Joe
                            Newton, Joe Newton, Joe Newton, Joseph A. Newton, Joseph A. Newton, Joseph A.
                            Newton, Joseph A. Newton, Player's Dugout, Inc., Player's Dugout, Inc., Player's Dugout,
                            Inc. (McKiernan, James) (Entered: 06/20/2018)
  06/22/2018             55 NOTICE to Take Deposition of Mark Sheehan by Joe Newton, Joseph A. Newton,
                            Player's Dugout, Inc.. (McKiernan, James) (Entered: 06/22/2018)
  06/25/2018             56 Proposed Agreed Order/Stipulation re 46 by Joe Newton, Joseph A. Newton, Player's
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          14                                      14/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky  Filed: 11/30/2022
                                                                   Western CM/ECF-DC Page: 17
                             Dugout, Inc.. (McKiernan, James) (Entered: 06/25/2018)
  06/25/2018             57 REPLY to Response to Motion re 43 MOTION for Partial Summary Judgment filed by
                            Thomas House, National Pitching Association, Inc.. (Attachments: # 1 Exhibit A - Dr.
                            House Depo pages, # 2 Exhibit B - Velocity Plus Agreement, # 3 Exhibit C - Newtons
                            Depo pages, # 4 Exhibit D - Email 4-14-14, # 5 Exhibit E - Email 12-1-14 and
                            attachment) (Valenti, Michael) (Entered: 06/25/2018)
  06/26/2018             58 NOTICE of Cancellation of Deposition by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc. re 55 Notice to Take Deposition (McKiernan, James) (Entered: 06/26/2018)
  07/02/2018             59 AGREED ORDER TO EXTEND REMAINING DEADLINES by Magistrate Judge
                            Colin H. Lindsay on 6/29/2018. Fact Discovery due by 8/19/2018. Expert Discovery due
                            by 9/1/2018. Dispositive Motions due by 10/18/2018. cc: Counsel (CDF) (Entered:
                            07/02/2018)
  08/06/2018             60 Proposed Order Agreed Order to Extend by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc.. (McKiernan, James) (Entered: 08/06/2018)
  08/09/2018             61 AGREED ORDER TO EXTEND FACT DISCOVERY by Magistrate Judge Colin H.
                            Lindsay on 8/8/18: Fact discovery is extended for the sole purpose of taking the
                            deposition of the above named witness up to and until 8/24/2018.cc: Counsel (DJT)
                            (Entered: 08/09/2018)
  08/09/2018             62 NOTICE to Take Deposition of Mark Sheehan by Joe Newton, Joseph A. Newton,
                            Player's Dugout, Inc.. (Attachments: # 1 Exhibit Subpoena to Mark Sheehan)
                            (McKiernan, James) (Entered: 08/09/2018)
  08/31/2018             63 Proposed Agreed Order/Stipulation re 59 by Thomas House, National Pitching
                            Association, Inc.. (Valenti, Michael) (Entered: 08/31/2018)
  09/05/2018             64 AGREED ORDER EXTENDING EXPERT DISCOVERY by Magistrate Judge Colin H.
                            Lindsay on 9/4/2018: Expert discovery is extended from 9/1/2018 to 10/1/2018 for the
                            sole purpose of taking the deposition of the Defendants' designated expert. cc: counsel
                            (JM) (Entered: 09/05/2018)
  09/12/2018             65 NOTICE to Take Deposition of Newell Andrew Chambers by Thomas House, National
                            Pitching Association, Inc. (Attachments: # 1 Exhibit Subpoena) (Valenti, Michael)
                            (Entered: 09/12/2018)
  09/19/2018             66 NOTICE To Take Deposition of Newell Andrew Chambers by Thomas House, National
                            Pitching Association, Inc. (Attachments: # 1 Exhibit Subpoena) (Valenti, Michael)
                            (Entered: 09/19/2018)
  10/18/2018             67 Cross MOTION for Partial Summary Judgment by Defendants Joe Newton, Joseph A.
                            Newton, Player's Dugout, Inc., Counter Claimants Joe Newton, Joseph A. Newton,
                            Player's Dugout, Inc. (Attachments: # 1 Memorandum in Support, # 2 Exhibit Ex A
                            House Dep, additional excerpts, # 3 Exhibit Ex. B Sheehan Dep. excerpts, # 4 Proposed
                            Order) (Wheat, Jack) Modified on 2/19/2020 to reinstate motion per chambers (KJA).
                            (Entered: 10/18/2018)
  11/07/2018             68 Proposed Agreed Order/Stipulation re 67 by Thomas House, National Pitching
                            Association, Inc.. (Valenti, Michael) (Entered: 11/07/2018)
  11/09/2018             69 AGREED ORDER by Judge Rebecca Grady Jennings on 11/8/2018 - Plaintiffs shall
                            respond to Defendants' Cross Motion for Partial Summary Judgment [DE 67] by
                            11/26/2018. cc:counsel (DAK) (Entered: 11/09/2018)
  11/09/2018             70 NOTICE of Appearance by Peter J. Rosene on behalf of Joe Newton, Joe Newton, Joe

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          15                                       15/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky   Filed: 11/30/2022
                                                                    Western CM/ECF-DC    Page: 18
                             Newton, Joe Newton, Joseph A. Newton, Joseph A. Newton, Joseph A. Newton, Joseph
                             A. Newton, Player's Dugout, Inc., Player's Dugout, Inc., Player's Dugout, Inc. (Rosene,
                             Peter) (Entered: 11/09/2018)
  11/26/2018             71 RESPONSE to Motion re 67 Cross MOTION for Partial Summary Judgment filed by
                            Thomas House. (Attachments: # 1 Exhibit A - Joseph Newton Deposition Pages, # 2
                            Exhibit B - Joe Newton Deposition Pages, # 3 Exhibit C - Dr. House Deposition Pages, #
                            4 Exhibit D - Mark Sheehan Email, # 5 Exhibit E - Pitching Fix Distributorship
                            Agreement, # 6 Exhibit F - PDI Royalty Summary Reports, # 7 Exhibit G - Marie House
                            Deposition Pages, # 8 Exhibit H - Andrew Chambers Deposition Pages, # 9 Exhibit I -
                            Maryland Injuries Email, # 10 Exhibit J - October 2015 Email) (Valenti, Michael)
                            (Entered: 11/26/2018)
  12/10/2018             72 REPLY to Response to Motion re 67 Cross MOTION for Partial Summary Judgment
                            filed by Joe Newton, Joseph A. Newton, Player's Dugout, Inc.. (Attachments: # 1 Exhibit
                            Ex. 1 House Depo Excerpts, # 2 Exhibit Ex. 2 Sheehan Depo Excerpts, # 3 Exhibit Ex. 3
                            Joseph N. Depo Excerpt) (Rosene, Peter) (Entered: 12/10/2018)
  12/12/2018             73 MOTION to Withdraw as Counsel by Defendants Joe Newton, Joseph A. Newton,
                            Player's Dugout, Inc., Counter Claimants Joe Newton, Joe Newton, Joseph A. Newton,
                            Joseph A. Newton, Player's Dugout, Inc., Player's Dugout, Inc., Intervenor Plaintiffs Joe
                            Newton, Joseph A. Newton (Attachments: # 1 Proposed Order Order) (Riddle, Benjamin)
                            (Entered: 12/12/2018)
  12/14/2018             74 ORDER by Judge Rebecca Grady Jennings on 12/13/2018 - 73 Motion to Withdraw as
                            Counsel filed by Benjamin L. Riddle is GRANTED. cc: Counsel(DAK) (Entered:
                            12/14/2018)
  07/24/2019             75 NOTICE of Change of Address by Jack Allen Wheat (Wheat, Jack) (Entered:
                            07/24/2019)
  09/30/2019             76 ORDER Signed by Judge Rebecca Grady Jennings on 9/30/2019: Oral Argument set for
                            12/10/2019 01:30 PM in Louisville Courtroom before Judge Rebecca Grady Jennings.
                            Motions 43 Motion for Partial Summary Judgment, and 67 Motion for Partial Summary
                            Judgment are ADMINISTRATIVELY REMANDED pending reinstatement after the oral
                            argument. cc: Counsel(JM) (Entered: 09/30/2019)
  12/05/2019             77 TEXT ORDER by Judge Rebecca Grady Jennings on 12/5/2019; on the Court's own
                            motion, the hearing scheduled for 12/10/19 is REMANDED from the docket at this time.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel (ARM) (Entered: 12/05/2019)
  02/19/2020             78 MEMORANDUM OPINION & ORDER signed by Judge Rebecca Grady Jennings on
                            2/19/2020. Denying 43 Motion for Partial Summary Judgment; denying 67 Motion for
                            Partial Summary Judgment. cc: Counsel(KJA) (Entered: 02/19/2020)
  03/02/2020             79 TEXT ORDER by Magistrate Judge Colin H. Lindsay on 3/2/2020. A telephonic
                            conference is scheduled for 3/31/2020 10:30 AM before Magistrate Judge Colin H.
                            Lindsay. The Court will initiate the call. Counsel participating in the conference shall
                            provide a telephone number to case manager Theresa Burch
                            (theresa_burch@kywd.uscourts.gov) no later than 3/27/2020.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          16                                           16/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky  Filed: 11/30/2022
                                                                   Western CM/ECF-DC      Page: 19
                             cc:counsel (TLB) (Entered: 03/02/2020)
  03/18/2020             80 MOTION for Reconsideration re 78 Order on Motion for Partial Summary Judgment, by
                            Defendants Joe Newton, Joseph A. Newton, Player's Dugout, Inc., Counter Claimants Joe
                            Newton, Joe Newton, Joseph A. Newton, Joseph A. Newton, Player's Dugout, Inc.,
                            Player's Dugout, Inc., Intervenor Plaintiffs Joe Newton, Joseph A. Newton (Attachments:
                            # 1 Memorandum in Support, # 2 Proposed Order) (Rosene, Peter) (Entered: 03/18/2020)
  03/30/2020             81 TEXT ORDER by Magistrate Judge Colin H. Lindsay on 3/30/2020. The telephonic
                            conference scheduled for 3/31/2020 will now be conducted via the Court's teleconference
                            system. Counsel for the parties shall connect to the conference by dialing 1-888-808-
                            6929 and entering access code 2773744.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel (TLB) (Entered: 03/30/2020)
  03/31/2020             82 NOTICE of Appearance by Hayden A. Holbrook on behalf of Thomas House, National
                            Pitching Association, Inc. (Holbrook, Hayden) (Entered: 03/31/2020)
  04/01/2020             83 ORDER for proceedings held before Magistrate Judge Colin H. Lindsay: Telephonic
                            Status Conference held on 3/31/2020. Telephonic Status Conference set for 7/22/2020 at
                            10:00 AM before Magistrate Judge Colin H. Lindsay. cc: Counsel (SMJ) (Entered:
                            04/01/2020)
  04/08/2020             84 RESPONSE to Motion re 80 MOTION for Reconsideration re 78 Order on Motion for
                            Partial Summary Judgment, filed by Thomas House, National Pitching Association, Inc..
                            (Valenti, Michael) (Entered: 04/08/2020)
  04/22/2020             85 REPLY to Response to Motion re 80 MOTION for Reconsideration re 78 Order on
                            Motion for Partial Summary Judgment, filed by Joe Newton, Joseph A. Newton, Player's
                            Dugout, Inc.. (Rosene, Peter) (Entered: 04/22/2020)
  07/09/2020             86 ORDER Signed by Judge Rebecca Grady Jennings on 7/8/2020 denying 80 Motion for
                            Reconsideration. cc: Counsel(JM) (Entered: 07/09/2020)
  07/21/2020             87 TEXT ORDER by Magistrate Judge Colin H. Lindsay on 7/21/2020. For the telephonic
                            conference scheduled for 7/22/2020 at 10:00 a.m., counsel shall connect by dialing 1-
                            888-808-6929, and entering access code 2773744.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel (TLB) (Entered: 07/21/2020)
  07/24/2020             88 ORDER for proceedings held before Magistrate Judge Colin H. Lindsay: Telephone
                            Conference held on 7/22/2020. The parties shall file a joint motion for a trial date or a
                            joint motion requesting specific further discovery prior to trial on or before 8/21/2020. cc:
                            counsel (JM) (Entered: 07/24/2020)
  08/26/2020             89 TEXT ORDER by Magistrate Judge Colin H. Lindsay on 8/26/2020. Upon joint request
                            and agreement of counsel, the deadline to file a joint motion for a trial date or a joint
                            motion requesting specific further discovery prior to trial is extended to 9/21/2020 re 88
                            Order.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          17                                          17/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky  Filed: 11/30/2022
                                                                   Western CM/ECF-DC      Page: 20
                             cc:counsel (TLB) (Entered: 08/26/2020)
  09/21/2020             90 Joint STATUS REPORT and Motion to Conduct Trial Depositions of Witnesses Who Are
                            Unable to be Supoenaed at Trial (Attachments: # 1 Proposed Order) by Thomas House,
                            National Pitching Association, Inc.. (Valenti, Michael) (Entered: 09/21/2020)
  09/21/2020                   Joint MOTION to Conduct Trial Depositions, by Plaintiffs Thomas House and National
                               Pitching Association, Inc. (*see DN 90 to view PDF) (SMJ) (Entered: 09/22/2020)
  09/28/2020             91 ORDER Signed by Magistrate Judge Colin H. Lindsay on 9/28/2020. The Parties' Joint
                            Motion and Status Report (DN 90 ) is DENIED. The Parties shall complete all trial
                            depositions on or before 11/25/2020. Pretrial Conference set for 2/10/2021 at 1:30 PM in
                            Louisville Courtroom before Judge Rebecca Grady Jennings (*see order for pretrial filing
                            requirements). Jury Trial set for 3/15/2021 at 9:30 AM in Louisville Courtroom before
                            Judge Rebecca Grady Jennings. cc: Counsel, Jury Admin. (SMJ) (Entered: 09/28/2020)
  11/13/2020             92 NOTICE of Appearance by Peter J. Rosene on behalf of Joe Newton, Joe Newton, Joe
                            Newton, Joe Newton, Joseph A. Newton, Joseph A. Newton, Joseph A. Newton, Joseph
                            A. Newton, Player's Dugout, Inc., Player's Dugout, Inc., Player's Dugout, Inc. (Rosene,
                            Peter) (Entered: 11/13/2020)
  01/12/2021             93 Joint MOTION to Continue Pretrial Conference by Plaintiffs Thomas House, National
                            Pitching Association, Inc. (Attachments: # 1 Proposed Order) (Valenti, Michael)
                            (Entered: 01/12/2021)
  01/15/2021             94 TEXT ORDER by Judge Rebecca Grady Jennings on 1/15/2021; re 93 Joint MOTION to
                            Continue Pretrial Conference filed by Thomas House, National Pitching Association,
                            Inc. --- all pretrial deadlines in this case is now HELD IN ABEYANCE. Counsel shall be
                            prepared to discuss DE 93 and an estimate of time to try this case. By agreement of
                            counsel, Status Conference set for 1/20/2021 at 11:00 AM in VideoConference via Zoom
                            before Judge Rebecca Grady Jennings. The Court's Deputy will forward to counsel
                            instructions for the Zoom Conference.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel (ARM) (Entered: 01/15/2021)
  01/22/2021             95 MEMORANDUM OF CONFERENCE & AMENDED TRIAL ORDER for proceedings
                            held before Judge Rebecca Grady Jennings: Status Conference via Zoom held on
                            1/20/2021. Final Pretrial Conference set for 9/21/2021 at 1:00 PM in Louisville
                            Courtroom before Judge Rebecca Grady Jennings (*see order for pretrial filing
                            requirements). The pretrial scheduled for 2/10/2021 is remanded. Jury Trial set for
                            10/25/2021 at 9:30 AM in Louisville Courtroom before Judge Rebecca Grady Jennings.
                            The jury trial scheduled for 3/15/2021 is remanded. The joint motion to continue the jury
                            trial and pretrial conference (DE 93 ) is GRANTED. (Court Reporter: April Dowell) cc:
                            Counsel, Jury Admin. (SMJ) (Entered: 01/22/2021)
  08/31/2021             96 TEXT ORDER by Judge Rebecca Grady Jennings on 8/31/2021; counsel jointly
                            requesting an extension to file proposed jury instructions, the request is GRANTED, and
                            the proposed jury instructions shall be filed on or before September 3, 2021.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel (ARM) (Entered: 08/31/2021)
  08/31/2021             97 MOTION in Limine by Defendants Joe Newton, Joseph A. Newton, Player's Dugout,
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          18                                          18/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky   Filed:  11/30/2022
                                                                     Western CM/ECF-DC    Page: 21
                             Inc., Counter Claimants Joe Newton, Joe Newton, Joseph A. Newton, Joseph A. Newton,
                             Player's Dugout, Inc., Player's Dugout, Inc., Intervenor Plaintiffs Joe Newton, Joseph A.
                             Newton (Rosene, Peter) (Additional attachment(s) added on 9/2/2021: # 1 Proposed
                             Order) (SMJ). (Entered: 08/31/2021)
  08/31/2021             98 MOTION in Limine by Defendants Joe Newton, Joseph A. Newton, Player's Dugout,
                            Inc., Counter Claimants Joe Newton, Joe Newton, Joseph A. Newton, Joseph A. Newton,
                            Player's Dugout, Inc., Player's Dugout, Inc., Intervenor Plaintiffs Joe Newton, Joseph A.
                            Newton (Rosene, Peter) (Additional attachment(s) added on 9/2/2021: # 1 Proposed
                            Order) (SMJ). (Entered: 08/31/2021)
  08/31/2021             99 Proposed Voir Dire by Joe Newton, Joseph A. Newton, Player's Dugout, Inc.. (Rosene,
                            Peter) (Entered: 08/31/2021)
  08/31/2021           100 DEPOSITION of Bill Schopp taken on November 20, 2020 by Joe Newton, Joseph A.
                           Newton, Player's Dugout, Inc.. (Attachments: # 1 Exhibit Schopp Dep) (Rosene, Peter)
                           (Entered: 08/31/2021)
  08/31/2021           101 DEPOSITION of Mark Sheehan taken on August 22, 2018 by Joe Newton, Joseph A.
                           Newton, Player's Dugout, Inc.. (Attachments: # 1 Exhibit Sheehan Dep.) (Rosene, Peter)
                           (Entered: 08/31/2021)
  08/31/2021           102 Witness List for Trial by Joe Newton, Joseph A. Newton, Player's Dugout, Inc.. (Rosene,
                           Peter) (Entered: 08/31/2021)
  08/31/2021           103 Exhibit List for Trial by Joe Newton, Joseph A. Newton, Player's Dugout, Inc... (Rosene,
                           Peter) (Entered: 08/31/2021)
  08/31/2021           104 TRIAL BRIEF by Joe Newton, Joseph A. Newton, Player's Dugout, Inc.. (Rosene, Peter)
                           (Entered: 08/31/2021)
  08/31/2021           105 Witness List by Thomas House, National Pitching Association, Inc.. (Attachments: # 1
                           Exhibit Categories of Testimony) (Valenti, Michael) (Entered: 08/31/2021)
  08/31/2021           106 Proposed Voir Dire by Thomas House, National Pitching Association, Inc.. (Valenti,
                           Michael) (Entered: 08/31/2021)
  08/31/2021           107 MOTION in Limine by Plaintiffs Thomas House, National Pitching Association, Inc.
                           (Attachments: # 1 Exhibit A - Joseph A. Newton Deposition Pages, # 2 Errata B - Joseph
                           B. Newton Deposition Pages) (Valenti, Michael) (Additional attachment(s) added on
                           9/2/2021: # 3 Proposed Order) (SMJ). (Entered: 08/31/2021)
  08/31/2021           108 MOTION for Ruling on Objections Asserted in Deposition of Bill Schopp by Plaintiffs
                           Thomas House, National Pitching Association, Inc. (Valenti, Michael) (Additional
                           attachment(s) added on 9/2/2021: # 1 Proposed Order) (SMJ). (Entered: 08/31/2021)
  08/31/2021           109 Exhibit List by Thomas House, National Pitching Association, Inc... (Valenti, Michael)
                           (Entered: 08/31/2021)
  08/31/2021           110 TRIAL BRIEF by Thomas House, National Pitching Association, Inc.. (Valenti, Michael)
                           (Entered: 08/31/2021)
  09/01/2021           111 Proposed Order re 97 MOTION in Limine by Joe Newton, Joseph A. Newton, Player's
                           Dugout, Inc.. (Rosene, Peter) (Entered: 09/01/2021)
  09/01/2021           112 Proposed Order re 98 MOTION in Limine by Joe Newton, Joseph A. Newton, Player's
                           Dugout, Inc.. (Rosene, Peter) (Entered: 09/01/2021)
  09/01/2021           113 TEXT ORDER by Judge Rebecca Grady Jennings on 9/1/2021; due to the Court's
                           criminal trial schedule, the final pretrial conference will need to be reset. Final Pretrial
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          19                                              19/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky    Filed: 11/30/2022
                                                                     Western CM/ECF-DC Page: 22
                             Conference is reset for 9/21/2021 at 12:00 PM in Courtroom 3 Louisville before Judge
                             Rebecca Grady Jennings.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel (ARM) (Entered: 09/01/2021)
  09/01/2021           114 Proposed Order re 107 MOTION in Limine by Thomas House, National Pitching
                           Association, Inc.. (Valenti, Michael) (Entered: 09/01/2021)
  09/01/2021           115 Proposed Order re 108 MOTION for Ruling on Objections Asserted in Deposition of Bill
                           Schopp by Thomas House, National Pitching Association, Inc.. (Valenti, Michael)
                           (Entered: 09/01/2021)
  09/03/2021           116 Proposed Jury Instructions by Thomas House, National Pitching Association, Inc..
                           (Valenti, Michael) (Entered: 09/03/2021)
  09/07/2021           117 Objection to 109 Exhibit List filed by Joe Newton, Joseph A. Newton, Player's Dugout,
                           Inc.. (Rosene, Peter) (Entered: 09/07/2021)
  09/07/2021           118 Objection to 105 Plaintiffs' Identified Remote Witnesses filed by Joe Newton, Joseph A.
                           Newton, Player's Dugout, Inc. (Rosene, Peter) Modified on 9/8/2021, added text to
                           clarify (SMJ). (Entered: 09/07/2021)
  09/07/2021           119 RESPONSE to Motion re 107 MOTION in Limine Excluding Testimony filed by Joe
                           Newton, Joseph A. Newton, Player's Dugout, Inc.. (Rosene, Peter) (Entered: 09/07/2021)
  09/07/2021           120 RESPONSE to Motion re 108 MOTION for Ruling on Objections Asserted in Deposition
                           of Bill Schopp Testimony filed by Joe Newton, Joseph A. Newton, Player's Dugout, Inc..
                           (Rosene, Peter) (Entered: 09/07/2021)
  09/07/2021           121 Objection to 105 Plaintiffs' Designation of Schopp/Sheehan Testimony filed by Joe
                           Newton, Joseph A. Newton, Player's Dugout, Inc. (Rosene, Peter) Modified on 9/8/2021,
                           text added to clarify (SMJ). (Entered: 09/07/2021)
  09/07/2021           122 RESPONSE to Motion re 97 MOTION in Limine filed by Thomas House, National
                           Pitching Association, Inc.. (Valenti, Michael) (Entered: 09/07/2021)
  09/07/2021           123 RESPONSE to Motion re 98 MOTION in Limine filed by Thomas House, National
                           Pitching Association, Inc.. (Valenti, Michael) (Entered: 09/07/2021)
  09/27/2021           124 MEMORANDUM OF CONFERENCE AND ORDER for proceedings held before Judge
                           Rebecca Grady Jennings: In-Person Final Pretrial Conference held on 9/21/2021. The
                           jury trial shall remain as scheduled for 10/25/2021 at 9:30 a.m. A joint statement that will
                           be read to the jury shall be emailed to the Court's Deputy on 10/18/2021. Jury Notebooks
                           may be picked up through the Court's Jury Administrator by calling in advance 502-625-
                           3525 to arrange a pick-up time. Counsel shall have discussions with one another
                           regarding the remote witnesses and the demonstrative exhibits as discussed during this
                           final pretrial conference by 10/1/2021 and shall file a response as to the disagreements by
                           the close of business on 10/8/2021. (Court Reporter: April Dowell) cc: Counsel, Jury
                           Admin. (SMJ) (Entered: 09/27/2021)
  10/06/2021           125 Response to Objections re 118 Objection to Remote Witnesses and Report of
                           Disagreements filed by Thomas House, National Pitching Association, Inc.. (Valenti,
                           Michael) (Entered: 10/06/2021)
  10/06/2021           126 Response to Objections re 117 Objection to Plaintiffs' Exhibit List filed by Thomas
                           House, National Pitching Association, Inc.. (Valenti, Michael) (Entered: 10/06/2021)
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          20                                          20/27
11/29/22, 12:14 PM        Case: 22-5843 Document: 22Kentucky     Filed: 11/30/2022
                                                                    Western CM/ECF-DC Page: 23
  10/06/2021           127 Objection to 125 Response to Objections filed by Joe Newton, Joseph A. Newton,
                           Player's Dugout, Inc.. (Paul, Bruce) (Entered: 10/06/2021)
  10/20/2021           128 MEMORANDUM OPINION AND ORDER Signed by Judge Rebecca Grady Jennings
                           on 10/20/2021. The Motion in Limine to Prevent Testimony Regarding Plaintiff House's
                           Work with Professional Athletes (DE 97 ) is DENIED. The Motion in Limine to Prevent
                           Unsupported Allegations of Injuries (DE 98 ) is DENIED. The Motion in Limine to
                           Exclude Certain Testimony of Newton Defendants relating to Alleged Copying of
                           Velocity Plus Program (DE 107 ) is DENIED. The Motion in Limine for Ruling on
                           Objections Asserted in Deposition of Bill Schopp (DE 108 ) is DENIED. Defendants'
                           Objection to Plaintiffs' Exhibit List for Trial (DE 117 ) is GRANTED in part and
                           DENIED in part as set forth above. Defendants' Objection to Plaintiffs' Identified Remote
                           Witnesses (DE 118 ) and Supplemental Objection (DE 127 ) is DENIED. Defendants'
                           Response to Plaintiffs' Designation of Schopp and Sheehan Testimony that the Court
                           construes as an Objection (DE 121 ) is GRANTED in part and DENIED in part as set
                           forth above. cc: Counsel (SMJ) (Entered: 10/20/2021)
  10/22/2021           129 TEXT ORDER by Judge Rebecca Grady Jennings on 10/22/2021; due to illness of
                           counsel, the jury trial scheduled for 10/25/21 is REMANDED. Jury Trial is reset for
                           11/15/2021 at 09:30 AM in Louisville Courtroom before Judge Rebecca Grady Jennings.

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached.

                               cc:counsel, Jury Clerk. (ARM) (Entered: 10/22/2021)
  11/15/2021           130 Proceedings held before Judge Rebecca Grady Jennings: Jury Trial held on 11/15/2021.
                           Jury Trial continued to 11/16/2021 at 9:30 AM in Louisville Courtroom before Judge
                           Rebecca Grady Jennings. (Court Reporter: April Dowell) (SMJ) (Entered: 11/16/2021)
  11/15/2021           131 Jury List. (SMJ) (Entered: 11/16/2021)
  11/16/2021           132 Proceedings held before Judge Rebecca Grady Jennings: Jury Trial held on 11/16/2021.
                           Jury Trial continued to 11/17/2021 at 9:00 AM in Louisville Courtroom before Judge
                           Rebecca Grady Jennings. (Court Reporter: April Dowell) (SMJ) (Entered: 11/17/2021)
  11/17/2021           133 Proceedings held before Judge Rebecca Grady Jennings: Jury Trial held on 11/17/2021.
                           Jury Trial continued to 11/18/2021 at 9:00 AM in Louisville Courtroom before Judge
                           Rebecca Grady Jennings. (Court Reporter: April Dowell) (SMJ) (Entered: 11/18/2021)
  11/18/2021           134 Proceedings held before Judge Rebecca Grady Jennings: Jury Trial held on 11/18/2021.
                           Jury Trial continued to 11/19/2021 at 9:00 AM in Louisville Courtroom before Judge
                           Rebecca Grady Jennings. (Court Reporter: April Dowell) (SMJ) (Entered: 11/18/2021)
  11/19/2021           135 Proceedings held before Judge Rebecca Grady Jennings: Jury Trial held on 11/19/2021.
                           Jury Trial continued to 11/22/2021 at 9:00 AM in Louisville Courtroom before Judge
                           Rebecca Grady Jennings. (Court Reporter: April Dowell) (SMJ) (Entered: 11/22/2021)
  11/22/2021           136 STIPULATION Regarding Defendants' Trial Exhibit No. 121, by Plaintiffs Thomas
                           House, National Pitching Association, Inc., Defendants Joe Newton, Joseph A. Newton,
                           Player's Dugout, Inc. (Attachments: # 1 Proposed Order) (SMJ) (Entered: 11/22/2021)
  11/22/2021           137 Proposed Jury Instructions by Joe Newton, Joseph A. Newton, Player's Dugout, Inc..
                           (Attachments: # 1 Exhibit Proposed Instruction) (Wheat, Jack) (Entered: 11/22/2021)
  11/22/2021           138 Proceedings held before Judge Rebecca Grady Jennings: Jury Trial held on 11/22/2021.
                           Jury Trial continued to 11/23/2021 at 9:30 AM in Louisville Courtroom before Judge
                           Rebecca Grady Jennings. (Court Reporter: April Dowell) (SMJ) (Entered: 11/23/2021)

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          21                                          21/27
11/29/22, 12:14 PM        Case: 22-5843 Document: 22Kentucky   Filed:  11/30/2022
                                                                   Western CM/ECF-DC Page: 24
  11/23/2021           140 Proceedings held before Judge Rebecca Grady Jennings Jury Trial held on 11/23/2021
                           Jury Trial continued to 11/24/2021 at 9:00 AM in Louisville Courtroom before Judge
                           Rebecca Grady Jennings (Court Reporter April Dowell) (SMJ) (Entered 11/24/2021)
  11/24/2021           139 AGREED ORDER Signed by Judge Rebecca Grady Jennings on 11/23/2021 re 136
                           Stipulation. The attached Defendants' Exhibit No. 121, consisting of the monthly Velocity
                           Player Royalty Summary Reports for the months beginning August 2015 through June
                           2016 shall be added to Defendants' Exhibit List for Trial (DE 103 ) and admitted into
                           evidence. cc: Counsel (SMJ) (Entered: 11/24/2021)
  11/24/2021           141 Jury Instructions. (Attachments: # 1 Verdict Forms) (SMJ) (Entered: 11/29/2021)
  11/24/2021           142 JURY VERDICT. (SMJ) (Entered: 11/29/2021)
  11/24/2021           143 Jury's Answers to Interrogatories (SMJ) (Entered 11/29/2021)
  11/24/2021           144 SEALED DOCUMENT: Unredacted Verdict re 142 Jury Verdict. (SMJ) (Entered:
                           11/29/2021)
  11/24/2021                   Proceedings held before Judge Rebecca Grady Jennings Jury Trial completed on
                               11/24/2021. (Court Reporter: April Dowell) (SMJ) (Entered: 11/30/2021)
  11/24/2021           148 STIPULATION Regarding Exhibits to Schopp Testimony by Thomas House, National
                           Pitching Association, Inc., Joe Newton, Joseph A. Newton, Player's Dugout, Inc. (SMJ)
                           (Entered: 12/02/2021)
  11/29/2021           145 ORDER (EBOC) by Judge Rebecca Grady Jennings on 11/24/2021 The jury having been
                           sequestered by the Court during the lunch hour on Wednesday, 11/24/2021, IT IS
                           HEREBY ORDERED that the Clerk of the Court purchase lunch for the jury, the amount
                           totaling $45.95. cc: Counsel, KYWD-Finance (SMJ) (Entered: 11/29/2021)
  11/29/2021           146 ORDER (EBOC) by Judge Rebecca Grady Jennings on 11/24/2021. The jury having been
                           sequestered by the Court during the dinner hour on Wednesday, 11/24/2021, IT IS
                           HEREBY ORDERED that the Clerk of the Court purchase dinner for the jury, the
                           amount totaling $102.12 ($92.12 and $10.00 tip). cc: Counsel, KYWD-Finance (SMJ)
                           (Entered: 11/29/2021)
  11/30/2021           147 ORDER ON JURY TRIAL signed by Judge Rebecca Grady Jennings on 11/30/2021
                           Counsel shall tender a joint proposed judgment consistent with the verdicts, agreed to by
                           the parties as to form only, no later than Friday, 12/10/2021 Counsel shall tender an
                           agreed order for post-trial and post-judgment briefing, no later than Friday, 12/10/2021.
                           cc Counsel (SMJ) (Entered 11/30/2021)
  12/10/2021           149 Proposed Agreed Order and Joint Motion Regarding Court's Order on Jury Trial
                           (Attachments: # 1 Proposed Order Proposed Judgment, # 2 Proposed Order Proposed
                           Agreed Order re: Post-Trial and Post-Judgment Briefing) by Thomas House, National
                           Pitching Association, Inc.. (Valenti, Michael) (Entered: 12/10/2021)
  12/13/2021           150 TEXT ORDER by Judge Rebecca Grady Jennings on 12/13/2021; the Court has reviewed
                           DE 149 and will grant the motion. The Court will issue the judgment in this case and
                           agreed order tendered on or after 1/5/22

                                  This Notice of Electronic Filing is the Official ORDER for this entry. No document is
                                                                          attached

                               cc:counsel (ARM) (Entered: 12/13/2021)
  12/13/2021           151 FILING OF OFFICIAL TRANSCRIPT of Jury Trial, Volume 1, held on 11/15/21, before
                           Judge Rebecca Grady Jennings. Court Reporter April R. Dowell, Email:
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          22                                          22/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky     Filed: 11/30/2022
                                                                      Western CM/ECF-DC  Page: 25
                             april_dowell@kywd.uscourts.gov. Transcript may be viewed at the court public terminal
                             or purchased through the Court Reporter before the deadline for Release of Transcript
                             Restriction. After that date it may be obtained through PACER. Redaction Request due
                             1/3/2022. Redacted Transcript Deadline set for 1/13/2022. Release of Transcript
                             Restriction set for 3/14/2022. (Dowell, April) (Entered: 12/13/2021)
  12/13/2021           152 Notice of Filing Official Transcript re 151 Transcript - Court Official,,. Please review the
                           complete Notice for instructions. (Dowell, April) (Entered: 12/13/2021)
  12/16/2021           153 FILING OF OFFICIAL TRANSCRIPT of Jury Trial, Volume 2, held on 11/16/2021,
                           before Judge Rebecca Grady Jennings. Court Reporter April R. Dowell, Email:
                           april_dowell@kywd.uscourts.gov. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           1/6/2022. Redacted Transcript Deadline set for 1/18/2022. Release of Transcript
                           Restriction set for 3/16/2022. (Dowell, April) (Entered: 12/16/2021)
  12/16/2021           154 Notice of Filing Official Transcript re 153 Transcript - Court Official,,. Please review the
                           complete Notice for instructions. (Dowell, April) (Entered: 12/16/2021)
  12/20/2021           155 FILING OF OFFICIAL TRANSCRIPT of Jury Trial, Volume 3, held on 11/17/21, before
                           Judge Rebecca Grady Jennings. Court Reporter April R. Dowell, Email:
                           april_dowell@kywd.uscourts.gov. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           1/10/2022. Redacted Transcript Deadline set for 1/20/2022. Release of Transcript
                           Restriction set for 3/21/2022. (Dowell, April) (Entered: 12/20/2021)
  12/20/2021           156 Notice of Filing Official Transcript re 155 Transcript - Court Official,,. Please review the
                           complete Notice for instructions. (Dowell, April) (Entered: 12/20/2021)
  12/23/2021           157 FILING OF OFFICIAL TRANSCRIPT of Jury Trial, Volume 4, held on 11/18/21, before
                           Judge Rebecca Grady Jennings. Court Reporter April R. Dowell, Email:
                           april_dowell@kywd.uscourts.gov. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           1/13/2022. Redacted Transcript Deadline set for 1/24/2022. Release of Transcript
                           Restriction set for 3/23/2022. (Dowell, April) (Entered: 12/23/2021)
  12/23/2021           158 Notice of Filing Official Transcript re 157 Transcript - Court Official,,. Please review the
                           complete Notice for instructions. (Dowell, April) (Entered: 12/23/2021)
  01/03/2022           159 FILING OF OFFICIAL TRANSCRIPT of Jury Trial, Volume 5, held on 11/19/21, before
                           Judge Rebecca Grady Jennings. Court Reporter April R. Dowell, Email:
                           april_dowell@kywd.uscourts.gov. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           1/24/2022. Redacted Transcript Deadline set for 2/3/2022. Release of Transcript
                           Restriction set for 4/4/2022. (Dowell, April) (Entered: 01/03/2022)
  01/03/2022           160 Notice of Filing Official Transcript re 159 Transcript - Court Official,,. Please review the
                           complete Notice for instructions. (Dowell, April) (Entered: 01/03/2022)
  01/06/2022           161 FILING OF OFFICIAL TRANSCRIPT of Jury Trial, Volume 6, held on 11/22/21, before
                           Judge Rebecca Grady Jennings. Court Reporter April R. Dowell, Email:
                           april_dowell@kywd.uscourts.gov. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          23                                         23/27
11/29/22, 12:14 PM          Case: 22-5843 Document: 22Kentucky    Filed: 11/30/2022
                                                                     Western CM/ECF-DC   Page: 26
                             1/27/2022. Redacted Transcript Deadline set for 2/7/2022. Release of Transcript
                             Restriction set for 4/6/2022. (Dowell, April) (Entered: 01/06/2022)
  01/09/2022           162 FILING OF OFFICIAL TRANSCRIPT of Jury Trial, Volume 7, held on 11/23/21, before
                           Judge Rebecca Grady Jennings. Court Reporter April R. Dowell, Email:
                           april_dowell@kywd.uscourts.gov. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           1/31/2022. Redacted Transcript Deadline set for 2/9/2022. Release of Transcript
                           Restriction set for 4/11/2022. (Dowell, April) (Entered: 01/09/2022)
  01/12/2022           163 AGREED ORDER signed by Judge Rebecca Grady Jennings on 1/12/2022. The parties
                           shall have twenty-eight (28) days from the date of entry of Judgment on 1/12/2022, to file
                           any and all post-trial and post-judgment motions in this matter. The page limitation for
                           motion and response memoranda shall be enlarged to forty (40) pages for any and all
                           such post-trial and post-judgment motions and responses. cc: Counsel (SMJ) (Entered:
                           01/12/2022)
  01/12/2022           164 JUDGMENT signed by Judge Rebecca Grady Jennings on 1/12/2022. There being no
                           just cause for delay, this is a final judgment. cc: Counsel (SMJ) (Entered: 01/12/2022)
  01/12/2022           165 NOTICE of Determination re: Trademark re 164 Judgment. cc: Counsel,
                           Patent/Trademark Office (Attachments: # 1 Judgment) (SMJ) (Entered: 01/12/2022)
  01/18/2022           166 FILING OF OFFICIAL TRANSCRIPT of Jury Trial, Volume 8, held on 11/24/21, before
                           Judge Rebecca Grady Jennings. Court Reporter April R. Dowell, Email:
                           april_dowell@kywd.uscourts.gov. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Redaction Request due
                           2/8/2022. Redacted Transcript Deadline set for 2/18/2022. Release of Transcript
                           Restriction set for 4/18/2022. (Dowell, April) (Entered: 01/18/2022)
  01/19/2022           167 Notice of Filing Official Transcript re 161 Transcript - Court Official,, 159 Transcript -
                           Court Official,, 153 Transcript - Court Official,, 166 Transcript - Court Official,, 162
                           Transcript - Court Official,, 151 Transcript - Court Official,, 155 Transcript - Court
                           Official,, 157 Transcript - Court Official,,. Please review the complete Notice for
                           instructions. (Dowell, April) (Entered: 01/19/2022)
  01/31/2022           168 EXHIBIT INVENTORY from Jury Trial by Court Reporter April Dowell. (Exhibits are
                           stored in the Exhibit Room/Vault.) (RLK) (Entered: 02/02/2022)
  02/09/2022           169 MOTION to Supplement Trial Record re 162 Transcript - Court Official,, by Defendants
                           Joe Newton, Joseph A. Newton, Player's Dugout, Inc., Counter Claimants Joe Newton,
                           Joe Newton, Joseph A. Newton, Joseph A. Newton, Player's Dugout, Inc., Player's
                           Dugout, Inc., Intervenor Plaintiffs Joe Newton, Joseph A. Newton (Attachments: # 1
                           Exhibit Schopp Deposition Transcript, # 2 Proposed Order) (Rosene, Peter) (Entered:
                           02/09/2022)
  02/09/2022           170 MOTION for Judgment as a Matter of Law by Defendants Joe Newton, Joseph A.
                           Newton, Player's Dugout, Inc., Counter Claimants Joe Newton, Joe Newton, Joseph A.
                           Newton, Joseph A. Newton, Player's Dugout, Inc., Player's Dugout, Inc., Intervenor
                           Plaintiffs Joe Newton, Joseph A. Newton (Attachments: # 1 Memorandum in Support
                           Memorandum in Support, # 2 Exhibit Exhibit 1 - Plaintiffs' Rule 26 Disclosures, # 3
                           Exhibit Exhibit 2 - Plaintiffs' Response to Interrogatories, # 4 Exhibit Exhibit 3 -
                           Plaintiffs' Discovery Requests, # 5 Proposed Order Proposed Order Granting Motion)
                           (Rosene, Peter). Added MOTION for New Trial on 2/10/2022 (SMJ). (Entered:
                           02/09/2022)

https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          24                                            24/27
11/29/22, 12:14 PM        Case: 22-5843 Document: 22Kentucky    Filed:  11/30/2022
                                                                    Western CM/ECF-DC  Page: 27
  02/09/2022           171 MOTION for Attorney Fees by Defendants Joe Newton, Joseph A. Newton, Player's
                           Dugout, Inc., Counter Claimants Joe Newton, Joe Newton, Joseph A. Newton, Joseph A.
                           Newton, Player's Dugout, Inc., Player's Dugout, Inc., Intervenor Plaintiffs Joe Newton,
                           Joseph A. Newton (Attachments: # 1 Memorandum in Support Memorandum in Support
                           of Fees, # 2 Affidavit Declaration of Jack Wheat, # 3 Exhibit Exhibit 1 - Timekeeper
                           Report, # 4 Exhibit Exhibit 2 - AIPLA, # 5 Proposed Order Proposed Order Granting
                           Motion) (Rosene, Peter) (Entered: 02/09/2022)
  02/09/2022           172 MOTION for Attorney Fees by Plaintiffs Thomas House, National Pitching Association,
                           Inc. (Attachments: # 1 Memorandum in Support, # 2 Exhibit Plaintiffs' relevant Trial
                           Exhibits, # 3 Exhibit Throw Smart, LLC Secretary of State Filings, # 4 Affidavit
                           Declaration of Michael A. Valenti, # 5 Proposed Order) (Valenti, Michael) (Entered:
                           02/09/2022)
  02/10/2022           173 MOTION for Extension of Time to File Bill of Costs by Plaintiffs Thomas House,
                           National Pitching Association, Inc. (Attachments: # 1 Proposed Order) (Valenti, Michael)
                           (Entered: 02/10/2022)
  02/11/2022           174 RESPONSE to Motion re 173 MOTION for Extension of Time to File Bill of Costs and
                           Cross-Motion to Extend filed by Joe Newton, Joseph A. Newton, Player's Dugout, Inc..
                           (Attachments: # 1 Proposed Order) (Wheat, Jack) (Entered: 02/11/2022)
  02/14/2022           175 ORDER Signed by Judge Rebecca Grady Jennings on 2/14/2022 granting 173 Motion for
                           Extension of Time to File Bill of Costs. Plaintiffs shall have up to 30 days after ruling on
                           170 motion to file their Bill of Costs pursuant to Fed. R. Civ. P. 54 and LR 54.3 cc:
                           Counsel (DLW) (Entered: 02/14/2022)
  02/14/2022           176 ORDER GRANTING DEFENDANTS' MOTION FOR EXTENSION signed by Judge
                           Rebecca Grady Jennings on 2/14/2022 re 174 Response to Motion and Cross-Motion.
                           The parties will have thirty (30) days after the Court rules upon Defendants' Motion for
                           Renewed Judgment as a Matter of Law or for New Trial (DE 170 ) to file any Bill of
                           Costs in this proceeding. cc: Counsel (SMJ) (Entered: 02/14/2022)
  03/02/2022           177 RESPONSE to Motion re 172 MOTION for Attorney Fees filed by Joe Newton, Joseph
                           A. Newton, Player's Dugout, Inc.. (Attachments: # 1 Exhibit Exhibit 1 - House Dep.
                           Excerpt, # 2 Proposed Order Proposed Order Overruling Fee Petition) (Rosene, Peter)
                           (Entered: 03/02/2022)
  03/02/2022           178 RESPONSE to Motion re 171 MOTION for Attorney Fees filed by Thomas House,
                           National Pitching Association, Inc.. (Valenti, Michael) (Entered: 03/02/2022)
  03/02/2022           179 RESPONSE to Motion re 170 MOTION for Judgment as a Matter of Law MOTION for
                           New Trial filed by Thomas House, National Pitching Association, Inc.. (Attachments: # 1
                           Exhibit A - Letter dated July 27, 2021, # 2 Exhibit B - Email dated November 21, 2021)
                           (Valenti, Michael) (Entered: 03/02/2022)
  03/16/2022           180 REPLY to Response to Motion re 172 MOTION for Attorney Fees filed by Thomas
                           House, National Pitching Association, Inc.. (Attachments: # 1 Affidavit Declaration of
                           Michael A. Valenti) (Valenti, Michael) (Entered: 03/16/2022)
  03/16/2022           181 REPLY to Response to Motion re 170 MOTION for Judgment as a Matter of Law
                           MOTION for New Trial filed by Joe Newton, Joseph A. Newton, Player's Dugout, Inc..
                           (Attachments: # 1 Exhibit Plaintiffs' Requests for Production) (Rosene, Peter) (Entered:
                           03/16/2022)
  03/16/2022           182 REPLY to Response to Motion re 171 MOTION for Attorney Fees filed by Joe Newton,
                           Joseph A. Newton, Player's Dugout, Inc.. (Attachments: # 1 Exhibit Defendants'
                           Discovery Requests and Plaintiffs' Responses) (Rosene, Peter) (Entered: 03/16/2022)
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          25                                          25/27
11/29/22, 12:14 PM        Case: 22-5843 Document: 22Kentucky       Filed: 11/30/2022
                                                                      Western CM/ECF-DC Page: 28
  03/30/2022           183 ORDER Signed by Judge Rebecca Grady Jennings on 3/29/2022 granting 169 MOTION
                           to Supplement Trial Record re 162 Transcript - Court Official. The highlighted portions
                           of the transcript submitted with the motion shall constitute part of the official record of
                           the trial of this action. cc: Counsel (SMJ) (Entered: 03/30/2022)
  08/22/2022           184 MEMORANDUM OPINION AND ORDER Signed by Judge Rebecca Grady Jennings
                           on 8/22/2022. Defendants' Motion for Renewed Judgment as a Matter of Law or for New
                           Trial (DE 170 ) is DENIED. Defendants' Motion for Attorney Fees (DE 171 ) is
                           GRANTED in part. Plaintiffs' Motion for Attorney Fees (DE 172 ) is GRANTED. cc:
                           Counsel (SMJ) (Entered: 08/22/2022)
  09/20/2022           185 NOTICE OF APPEAL as to 184 Order on Motion for Judgment as a Matter of Law,,
                           Order on Motion for Attorney Fees,,,, Order on Motion for New Trial, 164 Judgment by
                           Joe Newton, Joseph A. Newton, Player's Dugout, Inc.. Filing fee $ 505, receipt number
                           AKYWDC-3662687. (Rosene, Peter) (Entered: 09/20/2022)
  09/21/2022           186 BILL OF COSTS Objections due by 10/5/2022. (Attachments: # 1 Bill of Costs) by
                           Thomas House, National Pitching Association, Inc.. (Valenti, Michael) (Entered:
                           09/21/2022)
  09/21/2022           187 BILL OF COSTS Objections due by 10/5/2022. (Attachments: # 1 Exhibit Invoices for
                           Costs) by Joe Newton, Joseph A. Newton, Player's Dugout, Inc. (Rosene, Peter) (Main
                           Document 187 replaced on 9/22/2022, pdf flattened) (SMJ). (Entered: 09/21/2022)
  09/21/2022           188 USCA Case Number 22-5843 for 185 Notice of Appeal, filed by Joseph A. Newton,
                           Player's Dugout, Inc., Joe Newton. (Case Manager: Sharday S. Swain) (JM) (Entered:
                           09/22/2022)
  10/05/2022           189 Objection to 187 Bill of Costs filed by Thomas House, National Pitching Association,
                           Inc.. (Valenti, Michael) (Entered: 10/05/2022)
  10/13/2022           190 NOTICE of Appearance by Burt Anthony Stinson on behalf of Joe Newton, Joe Newton,
                           Joe Newton, Joe Newton, Joseph A. Newton, Joseph A. Newton, Joseph A. Newton,
                           Joseph A. Newton, Player's Dugout, Inc., Player's Dugout, Inc., Player's Dugout, Inc.
                           (Stinson, Burt) (Entered: 10/13/2022)
  10/13/2022           191 REPLY re 189 Objection to Bill of Costs filed by Joe Newton, Joseph A. Newton,
                           Player's Dugout, Inc.. (Stinson, Burt) (Entered: 10/13/2022)
  11/22/2022           192 MEMORANDUM OPINION AND ORDER signed by Judge Rebecca Grady Jennings
                           on 11/21/2022. Defendants' Bill of Costs (DE 187 ) is GRANTED in part and DENIED
                           in part. Plaintiffs' Objections (DE 189 ) to Defendants' Bill of Costs are SUSTAINED in
                           part and OVERRULED in part. Defendants SHALL pay to Plaintiffs their costs, in the
                           net amount of $814.95. Payment to Plaintiffs shall be forwarded to counsel of record
                           within thirty days of the entry of this Order. cc: Counsel (SMJ) (Entered: 11/22/2022)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                               11/29/2022 11:24:53
                                   PACER
                                                    kjlouisville    Client Code:
                                   Login:
                                                    Docket          Search           3:16-cv-00594-RGJ-
                                   Description:
                                                    Report          Criteria:        CHL
                                   Billable         25              Cost:            2.50
                                   Pages:
https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          26                                        26/27
11/29/22, 12:14 PM          Case: 22-5843            Document: 22Kentucky
                                                                      Filed:  11/30/2022
                                                                          Western CM/ECF-DC   Page: 29




https://ecf.kywd.uscourts.gov/cgi-bin/DktRpt.pl?775622167550107-L_1_1-1
                                                                          27                             27/27
 Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 30




Plaintiffs’ Exhibit 28




                            28
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 31
 Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 32




Plaintiffs’ Exhibit 47




                            30
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 33




                           31
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 34




                           32
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 35




                           33
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 36




                           34
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 37




                           35
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 38




                           36
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 39




                           37
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 40




       Defendants’
       Exhibit 17D




                           38
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 41
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 42
               Case: 22-5843                               Document: 22                    Filed: 11/30/2022                Page: 43
   PLAYERS DUGOUT INC
Form 1120 (2015)                                                                                                                                                     Page 2
 Schedule C           Dividends and Special Deductions (see instructions)                                          (a) Dividends
                                                                                                                                            (b) %
                                                                                                                                                       (c) Special deductions
                                                                                                                      received                                (a) × (b)

  1     Dividends from less-than-20%-owned domestic corporations (other than debt-financed
        stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                              70
  2     Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
        stock) . . . . . . . . . . . . . . . . . . . . . . . .                                                                              80
                                                                                                                                             see
                                                                                                                                        instructions
  3     Dividends on debt-financed stock of domestic and foreign corporations .                .   .   .   .


  4     Dividends on certain preferred stock of less-than-20%-owned public utilities               .   .   .                                42

  5     Dividends on certain preferred stock of 20%-or-more-owned public utilities .               .   .   .                                48

  6     Dividends from less-than-20%-owned foreign corporations and certain FSCs                   .   .   .                                70

  7     Dividends from 20%-or-more-owned foreign corporations and certain FSCs                     .   .   .                                80

  8     Dividends from wholly owned foreign subsidiaries           .   .   .   .   .   .   .   .   .   .   .                                100

  9     Total. Add lines 1 through 8. See instructions for limitation          .   .   .   .   .   .   .   .
 10     Dividends from domestic corporations received by a small business investment
        company operating under the Small Business Investment Act of 1958 . . . . .                                                         100

 11     Dividends from affiliated group members .          .   .   .   .   .   .   .   .   .   .   .   .   .                                100

 12     Dividends from certain FSCs        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .                                100

 13     Dividends from foreign corporations not included on lines 3, 6, 7, 8, 11, or 12            .   .   .


 14     Income from controlled foreign corporations under subpart F (attach Form(s) 5471)                  .


 15     Foreign dividend gross-up      .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .


 16     IC-DISC and former DISC dividends not included on lines 1, 2, or 3             .   .   .   .   .   .


 17     Other dividends    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .


 18     Deduction for dividends paid on certain preferred stock of public utilities            .   .   .   .


 19     Total dividends. Add lines 1 through 17. Enter here and on page 1, line 4 .                .   .       a


 20     Total special deductions. Add lines 9, 10, 11, 12, and 18. Enter here and on page 1, line 29b .                 .   .   .   .   .    .   a

QNA                                                                                                                                                      Form 1120 (2015)




                                                                                   41
               Case: 22-5843                                Document: 22                    Filed: 11/30/2022                    Page: 44
   PLAYERS DUGOUT INC
Form 1120 (2015)                                                                                                                                                                Page 3
 Schedule J             Tax Computation and Payment (see instructions)
Part I–Tax Computation
  1       Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) .                   .   .   .       a

  2       Income tax. Check if a qualified personal service corporation (see instructions)  . . . .                      .   .   .       a               2                   7237
  3       Alternative minimum tax (attach Form 4626) . . . . . . . . . . . . . . .                                       .   .   .   .       .           3
  4       Add lines 2 and 3 . . . . . . . .                 .   .   .   .   .   .   .   .   .   .   .   .   .    . .     .   .   .   .       .           4                   7237
  5a      Foreign tax credit (attach Form 1118) . .         .   .   .   .   .   .   .   .   .   .   .   .       5a
   b      Credit from Form 8834 (see instructions) .        .   .   .   .   .   .   .   .   .   .   .   .       5b
      c   General business credit (attach Form 3800) . . .              .   .   .   .   .   .   .   .   .       5c
      d   Credit for prior year minimum tax (attach Form 8827)          .   .   .   .   .   .   .   .   .       5d
      e   Bond credits from Form 8912 . . . . . . .                     .   .   .   .   .   .   .   .   .       5e
  6       Total credits. Add lines 5a through 5e        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .           6
  7       Subtract line 6 from line 4 . . . .           .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .           7                   7237
  8       Personal holding company tax (attach Schedule PH (Form 1120)) .               .   .   .   .   .   .    . .     .   .   .   .       .           8
  9a      Recapture of investment credit (attach Form 4255) . . . . .                   .   .   .   .   .       9a
      b   Recapture of low-income housing credit (attach Form 8611)             .   .   .   .   .   .   .       9b
      c   Interest due under the look-back method—completed long-term contracts (attach
          Form 8697) . . . . . . . . . . . . . . . . . . . . . .                                                9c
      d   Interest due under the look-back method—income forecast method (attach Form
          8866) . . . . . . . . . . . . . . . . . . . . . . .                                                   9d
      e   Alternative tax on qualifying shipping activities (attach Form 8902) . . . . .                        9e
      f   Other (see instructions—attach statement)         .   .   .   .   .   .   .   .   .   .   .   .       9f
 10       Total. Add lines 9a through 9f . . . . . . . . . . . .                            .   .   .   .   .   .    .   .   .   .   .       .       10
 11       Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31 .            .   .   .   .   .   .    .   .   .   .   .       .       11                      7237
Part II–Payments and Refundable Credits
 12       2014 overpayment credited to 2015         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .       12
 13       2015 estimated tax payments . .           .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .       13                      3500
 14       2015 refund applied for on Form 4466 .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .       14 (                              )
 15       Combine lines 12, 13, and 14 . . .            .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .       15                      3500
 16       Tax deposited with Form 7004 . . .            .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .       16                      6000
 17       Withholding (see instructions) . . . .            .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .       17
 18       Total payments. Add lines 15, 16, and 17          .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .       .       18                      9500
 19       Refundable credits from:
   a      Form 2439 . . . . .           .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    19a
   b      Form 4136 . . . . . . . . . .                     .   .   .   .   .   .   .   .   .   .   .   .    19b
   c      Form 8827, line 8c    . . . . . . .               .   .   .   .   .   .   .   .   .   .   .   .    19c
   d      Other (attach statement—see instructions).        .   .   .   .   .   .   .   .   .   .   .   .    19d
 20       Total credits. Add lines 19a through 19d .        .   .   .   .   .   .   .   .   .   .   .   .   . . .        .   .   .   .       .       20
 21       Total payments and credits. Add lines 18 and 20. Enter here and on page 1, line 32 .                  .    .   .   .   .   .       .       21                      9500
 Schedule K             Other Information (see instructions)
  1       Check accounting method: a            Cash            b   x Accrual           c       Other (specify) a                                                         Yes     No
  2       See the instructions and enter the:
      a   Business activity code no. a 713900
      b   Business activity a BASEBALL SOFTBALL
   c      Product or service a FACILITIES                   INSTRUCTI
  3       Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group?                .   .   .   .       .   .   .       .   .   .             X
          If “Yes,” enter name and EIN of the parent corporation a


  4       At the end of the tax year:
      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
          organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
          corporation’s stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G) . . . . . .                                                X
      b   Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
          classes of the corporation’s stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G) .                                   X
QNA                                                                                                                                                                  Form 1120 (2015)




                                                                                    42
               Case: 22-5843                                Document: 22                Filed: 11/30/2022                Page: 45
   PLAYERS DUGOUT INC
Form 1120 (2015)                                                                                                                                                    Page 4
 Schedule K              Other Information continued (see instructions)
                                                                                                                                                              Yes     No

  5       At the end of the tax year, did the corporation:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of
          any foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions.                   X
          If “Yes,” complete (i) through (iv) below.
                                                                                           (ii) Employer               (iii) Country of               (iv) Percentage
                               (i) Name of Corporation                                 Identification Number                                          Owned in Voting
                                                                                                (if any)                Incorporation                      Stock




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
        (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions.                 X
        If “Yes,” complete (i) through (iv) below.
                                                                                           (ii) Employer               (iii) Country of               (iv) Maximum
                                  (i) Name of Entity                                   Identification Number                                      Percentage Owned in
                                                                                                (if any)                 Organization             Profit, Loss, or Capital




  6       During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
          excess of the corporation’s current and accumulated earnings and profits? (See sections 301 and 316.) . . . . . . .                                           X
          If "Yes," file Form 5452, Corporate Report of Nondividend Distributions.
          If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
  7       At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of (a) the total voting power of all
          classes of the corporation’s stock entitled to vote or (b) the total value of all classes of the corporation’s stock?    . . . .                              X
          For rules of attribution, see section 318. If “Yes,” enter:
          (i) Percentage owned a                        and (ii) Owner’s country a
          (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
          Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached a
  8       Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . a
          If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
  9       Enter the amount of tax-exempt interest received or accrued during the tax year a $
 10       Enter the number of shareholders at the end of the tax year (if 100 or fewer) a              1
 11       If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here           .   .   .   .   .   a

          If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
          or the election will not be valid.
 12       Enter the available NOL carryover from prior tax years (do not reduce it by any deduction on line 29a.) a $
 13       Are the corporation’s total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the
          tax year less than $250,000?     . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    X
          If “Yes,” the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash distributions
          and the book value of property distributions (other than cash) made during the tax year a $
 14       Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement (see instructions)?              .   .   .    .                X
          If “Yes,” complete and attach Schedule UTP.
 15a      Did the corporation make any payments in 2015 that would require it to file Form(s) 1099? . . . . . . .                         .   .   .    .        X
   b      If “Yes,” did or will the corporation file required Forms 1099? . . . . . . . . . . . . . . . .                                 .   .   .    .        X
 16       During this tax year, did the corporation have an 80% or more change in ownership, including a change due to redemption of its
          own stock?      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           X
 17       During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
          of its assets in a taxable, non-taxable, or tax deferred transaction? . . . . . . . . . . . . . . . . . .                                                     X
 18       Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
          market value of more than $1 million? . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   X
 QNA                                                                                                                                                  Form 1120 (2015)


                                                                                 43
               Case: 22-5843                                      Document: 22          Filed: 11/30/2022                      Page: 46
   PLAYERS DUGOUT INC
Form 1120 (2015)                                                                                                                                                        Page 5
Schedule L                 Balance Sheets per Books                             Beginning of tax year                                      End of tax year
                                    Assets                                (a)                             (b)                        (c)                         (d)
  1       Cash     .   .    .   .   .   .   .   .   .    .    .   .                                             34228                                                  53163
  2a      Trade notes and accounts receivable .               .   .
    b     Less allowance for bad debts . . .                  .   .   (                 )                                (                           )
  3       Inventories . . . . . . . . .                       .   .
  4       U.S. government obligations      . . .              .   .
  5       Tax-exempt securities (see instructions)            .   .
  6       Other current assets (attach statement)             .   .
  7       Loans to shareholders . . . . .                     .   .
  8       Mortgage and real estate loans . . .                .   .
  9       Other investments (attach statement) .              .   .
 10a      Buildings and other depreciable assets              .   .        111025                                                      111797
    b     Less accumulated depreciation . . .                 .   .   (   102761 )                               8264 (               106693 )                          5104
 11a      Depletable assets . . . . . . .                     .   .
    b     Less accumulated depletion . . . .                  .   .   (                 )                                (                           )
 12       Land (net of any amortization) . . .                .   .
 13a      Intangible assets (amortizable only)   .            .   .              1200                                                       1200
    b     Less accumulated amortization . . .                 .   .   (         1200 )                                   (                 1200 )
 14       Other assets (attach statement) . . .               .   .                                              8892                                                    7690
 15       Total assets    . . . . . . . .                     .   .                                             51384                                                   65957
              Liabilities and Shareholders’ Equity
 16       Accounts payable . . . . . . . . .
 17       Mortgages, notes, bonds payable in less than 1 year
 18       Other current liabilities (attach statement) . .                                                      11576                                                   19130
 19       Loans from shareholders . . . . . . .                                                                  6925                                                     425
 20       Mortgages, notes, bonds payable in 1 year or more                                                     11838
 21       Other liabilities (attach statement) . . . .                                                           5000                                                    5000
 22       Capital stock: a Preferred stock . . . .
                             b Common stock . . . .                              1000                            1000                      1000                          1000
 23       Additional paid-in capital . . . . . . .
 24       Retained earnings—Appropriated (attach statement)
 25       Retained earnings—Unappropriated . . .                                                                17545                                                   42902
 26       Adjustments to shareholders’ equity (attach statement)
 27       Less cost of treasury stock . . . . . .                               2500 )      (                                                            (             2500 )
 28       Total liabilities and shareholders’ equity . .                       51384                                                                                    65957
Schedule M-1               Reconciliation of Income (Loss) per Books With Income per Return
                           Note: The corporation may be required to file Schedule M-3 (see instructions).
  1       Net income (loss) per books .         .   .    .    .   .              24757          7      Income recorded on books this year
  2       Federal income tax per books          .   .    .    .   .               8517                 not included on this return (itemize):
  3       Excess of capital losses over capital gains             .                                    Tax-exempt interest $
  4       Income subject to tax not recorded on books
          this year (itemize):
                                                                                                8     Deductions on this return not charged
  5       Expenses recorded on books this year not                                                    against book income this year (itemize):
          deducted on this return (itemize):                                                        a Depreciation . . $
      a   Depreciation . . . . $                                                                    b Charitable contributions $
      b   Charitable contributions . $
      c   Travel and entertainment . $                  6643
           SEE STMT                                      8328
                                                 14971 9 Add lines 7 and 8 . . . . . .
  6       Add lines 1 through 5 .       .   .   .48245 10 Income (page 1, line 28)—line 6 less line 9
                                                    .    .    .   .                                                                                                    48245
Schedule M-2 Analysis of Unappropriated Retained Earnings per Books (Line 25, Schedule L)
 1  Balance at beginning of year  . . . . .      17545 5 Distributions: a Cash . . . .
 2  Net income (loss) per books . . . . . .      24757                    b Stock . . . .
  3       Other increases (itemize):                                                                                 c Property        .   .   .
           SEE STMT                                     600                                     6      Other decreases (itemize):
                                                                                   600          7      Add lines 5 and 6 . . . . . .
  4       Add lines 1, 2, and 3 .       .   .   .   .    .    .   .              42902          8      Balance at end of year (line 4 less line 7)                     42902
QNA                                                                                                                                                          Form 1120 (2015)

                                                                                  44
             Case: 22-5843 Document: 22    Filed: 11/30/2022   Page: 47
 1120 SUPPORTING STATEMENTS FOR

**** SCHEDULE of Deductions - Taxes and Licenses:

Description
______________________________ Amount
                               ___________
TAXES-LOCAL                             685
TAXES-PAYROLL                         11452
TAXES PROPERTY                          434
TAXES STATE INCOME                     2126
KY CORP TAX
LICENSE                                  15
                               -----------
                                      14712


**** SCHEDULE of Other Deductions:

Description
_________________________________________ Amount
                                          ___________
CREDIT CARD PROCESSING EXPENSE                    2281
VELOCITY PER PROGRAM PMTS TO ACADEMYS ETC        89129
ACCOUNTING EXPENSE                                2750
CLEANING & JANITORIAL EXPENSE                      769
SMALL EQUIPMENT EXPENSE                            447
INSURANCE EXPENSE                                14313
MEMBERSHIP DUES                                   1199
SUPPLIES EXPENSE                                 17969
OFFICE SUPPLIES                                   3141
TRAVEL                                           21069
UTILITIES                                        12054
BANK CHARGES                                        33
AUTO EXPENSES                                     3452
LEGAL AND PROFESSIONAL FEES                       4289
WEB HOSTING                                        499
PAYPAL FEES                                      11381
CONSULTING EXP                                   50000
ROYALTIES                                         9750
SOFTWARE SUPPORT VELOCITY                        46150
VELOCITY PROGRAM SUPPLIES BALLS ETC               3874
VELOCITY PROGRAM WRITING EXP                      5000
SHIPPING AND POSTAGE EXPENSES                    11795
MEALS AND ENTERTAINMENT                           6643
TELEPHONE                                          854
MISC EXP                                            53
                                          -----------
                                               318894


**** SCHEDULE L - Other Assets:

Description
______________________________ Beginning
                               ___________ Ending
                                           ___________
DEPOSITS                              7690        7690
PREPAID TAXES                         1202
                               ----------- -----------
                                      8892        7690




                                      45
             Case: 22-5843 Document: 22     Filed: 11/30/2022   Page: 48
 1120 SUPPORTING STATEMENTS FOR

**** SCHEDULE L - Other Current Liabilities:

Description
______________________________ Beginning
                               ___________ Ending
                                           ___________
CITI BANK CC                          -479
PAYROLL TAXES PAYABLE                 5283        11465
CITY ACCRUED TAXES                     264          668
FEDERAL ACCRUED TAXES                              3815
STATE ACCRUED TAXES                                -149
DISCOVER CARD                         6508         3331
                               ----------- -----------
                                     11576        19130


**** SCHEDULE L - Other Liabilities:

Description
___________________________________ Beginning
                                    ___________ Ending
                                                ___________
LEASE DEPOSIT FROM ETOWN GYMNASTICS        5000        5000
                                    ----------- -----------
                                           5000        5000


**** Schedule M-1 - Expenses Recorded on Books:

Description
______________________________ Amount
                               ___________
NONDEDUCT INS MED ETC                 7273
NONDEDUCTIBLE MEALS                   1055
                               -----------
                                      8328


**** SCHEDULE of Schedule M2 - Other Increases:

Description
__________________________________________ Amount
                                           ___________
PRIOR YR PREPAID TAX AND RE WAS 600 HIGHER         600
                                           -----------
                                                   600




                                       46
                               Case: 22-5843                Document: 22                    Filed: 11/30/2022                     Page: 49

Form   1125-E                                               Compensation of Officers
(Rev. December 2013)                                                                                                                                    OMB No. 1545-2225
                                            a Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
Department of the Treasury
                              a Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
Internal Revenue Service
Name                                                                                                                                          Employer identification number
   PLAYERS DUGOUT INC
Note. Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                (b) Social security number         (c) Percent of        Percent of stock owned            (f) Amount of
                      (a) Name of officer                                                        time devoted to
                                                                     (see instructions)               business       (d) Common       (e) Preferred        compensation



   1 JOSEPH           NEWTON                                                                         75.00 % 100.00%                              %                 56350

                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %


                                                                                                                 %                %               %

   2     Total compensation of officers .           .   .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .    .   .   .   .   .      2                  56350

   3     Compensation of officers claimed on Form 1125-A or elsewhere on return                              .   .   .    .   .   .   .   .      3

   4     Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
         appropriate line of your tax return . . . . . . . . . . . . . . . . . . . . . .                                                         4                  56350
For Paperwork Reduction Act Notice, see separate instructions.                                                                                    Form 1125-E (Rev. 12-2013)
QNA


                                                                                    47
                                  Case: 22-5843                      Document: 22                 Filed: 11/30/2022                       Page: 50
SCHEDULE G                                    Information on Certain Persons Owning the
(Form 1120)
(Rev. December 2011)
                                                      Corporation’s Voting Stock                                                                                  OMB No. 1545-0123
                                                                               a Attach to Form 1120.
Department of the Treasury
Internal Revenue Service                                                 a See instructions on page 2.
Name                                                                                                                                 Employer identification number (EIN)


 PLAYERS DUGOUT INC
 Part I        Certain Entities Owning the Corporation’s Voting Stock. (Form 1120, Schedule K, Question 4a). Complete
               columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated
               as a partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or
               indirectly, 50% or more of the total voting power of all classes of the corporation’s stock entitled to vote (see
               instructions).
                                                (ii) Employer Identification
             (i) Name of Entity                                                   (iii) Type of Entity           (iv) Country of Organization       (v) Percentage Owned in Voting Stock
                                                       Number (if any)




 Part II       Certain Individuals and Estates Owning the Corporation’s Voting Stock. (Form 1120, Schedule K,
               Question 4b). Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or
               more, or owns, directly or indirectly, 50% or more of the total voting power of all classes of the corporation’s
               stock entitled to vote (see instructions).
                                                                                                         (ii) Identifying Number      (iii) Country of         (iv) Percentage Owned
                                  (i) Name of Individual or Estate                                                                   Citizenship (see
                                                                                                                   (if any)            instructions)                in Voting Stock


 JOSEPH NEWTON                                                                                                                     United States              100.0000%




For Paperwork Reduction Act Notice,                                                       48                                                       Schedule G (Form 1120) (Rev. 12-2011)
see the Instructions for Form 1120.
QNA
                                   Case: 22-5843                  Document: 22                        Filed: 11/30/2022                      Page: 51
                                                           Depreciation and Amortization
Form   4562                                                 (Including Information on Listed Property)
                                                                                                                                                                    OMB No. 1545-0172


                                                                                                                                                                     2015
                                                                               a Attach to your tax return.
Department of the Treasury                                                                                                                                          Attachment
Internal Revenue Service (99)
                                   a Information about Form 4562 and its separate instructions is at www.irs.gov/form4562.                                          Sequence No. 179
Name(s) shown on return                                                        Business or activity to which this form relates                         1 1 Identifying number
 PLAYERS DUGOUT INC                                                            CORPORATION
 Part I        Election To Expense Certain Property Under Section 179
               Note: If you have any listed property, complete Part V before you complete Part I.
   1   Maximum amount (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                                          1           500000
   2   Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . .                                                            2              772
   3   Threshold cost of section 179 property before reduction in limitation (see instructions) . . . . . .                                                     3          2000000
   4   Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . .                                                     4
   5   Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
       separately, see instructions . . . . . . . . . . . . . . . . . . . . . . . . .                                                                           5            500000
   6                       (a) Description of property                                    (b) Cost (business use only)                   (c) Elected cost
        TVS                                                                                                         772                                  772

  7 Listed property. Enter the amount from line 29 . . . . . . . . .                    7
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7              . . . . . .                                               8                   772
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . .                                                                  9                   772
 10 Carryover of disallowed deduction from line 13 of your 2014 Form 4562 . . . . . . . . . . .                                                                10
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 (see instructions)                                         11            500000
 12 Section 179 expense deduction. Add lines 9 and 10, but do not enter more than line 11 . . . . .                                                            12               772
 13 Carryover of disallowed deduction to 2016. Add lines 9 and 10, less line 12 a                13
Note: Do not use Part II or Part III below for listed property. Instead, use Part V.
 Part II       Special Depreciation Allowance and Other Depreciation (Do not include listed property.) (See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service
    during the tax year (see instructions) . . . . . . . . . . . . . . . . . . . . . .                                                                         14
 15 Property subject to section 168(f)(1) election .                       .     .    .   .   .   .   .   .     .   .    .   .   .   .   .   .   .   .   .     15
 16 Other depreciation (including ACRS) . . .                              .     .    .   .   .   .   .   .     .   .    .   .   .   .   .   .   .   .   .     16
 Part III MACRS Depreciation (Do not include listed property.) (See instructions.)
                                                            Section A
 17 MACRS deductions for assets placed in service in tax years beginning before 2015 . . . . . . .         17                                                                    3160
 18 If you are electing to group any assets placed in service during the tax year into one or more general
    asset accounts, check here . . . . . . . . . . . . . . . . . . . . . . a
              Section B—Assets Placed in Service During 2015 Tax Year Using the General Depreciation System
                                   (b) Month and year    (c) Basis for depreciation
                                                                                          (d) Recovery
  (a) Classification of property        placed in         (business/investment use                            (e) Convention              (f) Method           (g) Depreciation deduction
                                                                                              period
                                         service           only—see instructions)
 19a 3-year property
   b 5-year property
   c 7-year property
   d 10-year property
   e 15-year property
   f 20-year property
   g 25-year property                                                                      25 yrs.                                           S/L
   h Residential rental                                                                   27.5 yrs.                 MM                       S/L
      property                                                                            27.5 yrs.                 MM                       S/L
    i Nonresidential real                                                                  39 yrs.                  MM                       S/L
      property                                                                                                      MM                       S/L
             Section C—Assets Placed in Service During 2015 Tax Year Using the Alternative Depreciation System
 20a Class life                                                                           S/L
   b 12-year                                              12 yrs.                         S/L
   c 40-year                                              40 yrs.       MM                S/L
 Part IV Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . .                                                                         21
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
    here and on the appropriate lines of your return. Partnerships and S corporations—see instructions .                                                       22                3932
 23 For assets shown above and placed in service during the current year, enter the
    portion of the basis attributable to section 263A costs   . . . . . . .            23
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                         Form 4562 (2015)
!"#
                                                                                              49
                       Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 52
                STATEMENT OF DEPRECIATION FOR:                                SCHEDULE: 1-1

                    [         [ Cost [         [        [       [        [      [Life [        [ ADS [ Next 
       Description  [ Date [ or other [        [ Bonus [        [ Accum [Method [ or [Deprec [ Deprec [ Year's 


        of Property  [Acquired [ Basis [Sec 179 [ Deprec [ Basis [ Deprec [Used [Rate [for 2015 [ for 2015 [ Deprec 

DESK 1              [11/09/99[ 283 [           [        [ 283 [ 283 [MACRS [ 5.0 [             [          [         

SWIVEL CHAIR 2      [11/09/99[ 107 [           [        [ 107 [ 107 [MACRS [ 5.0 [             [          [         

REFRIGERATOR        [11/15/99[ 423 [           [        [ 423 [ 423 [MACRS [ 5.0 [             [          [         

OUTSIDE P O SIGN    [11/15/99[ 3000 [          [        [ 3000 [ 3000 [MACRS [ 5.0 [           [          [         

RCA 19 IN TV VCR    [11/15/99[ 211 [           [        [ 211 [ 211 [MACRS [ 3.0 [             [          [         

RCA 19 IN TV 1      [11/15/99[ 147 [           [        [ 147 [ 147 [MACRS [ 3.0 [             [          [         

TOKEN MACHINE       [11/16/99[ 1266 [          [        [ 1266 [ 1266 [MACRS [ 5.0 [           [          [         

CAGES NETS FUNCTIO  [11/25/99[ 47836 [         [        [ 47836 [ 47836 [MACRS [ 5.0 [         [          [         

CASH REGISTER       [11/29/99[ 439 [           [        [ 439 [ 439 [MACRS [ 5.0 [             [          [         

COMPUTER IBM DIREC  [09/30/02[ 3633 [          [        [ 3633 [ 3633 [MACRS [ 5.0 [           [          [         

RICHO OFFICE COPIE  [01/16/04[ 1500 [ 750 [             [ 750 [ 1500 [MACRS [ 5.0 [            [          [         

PORTABLE CABINETS   [03/24/06[ 2980 [          [        [ 2980 [ 2980 [MACRS [ 7.0 [           [          [         

EQUIPMENT           [11/13/06[ 682 [           [        [ 682 [ 682 [MACRS [ 5.0 [             [          [         

UMBRELLA TABLES CH  [05/01/10[ 582 [           [        [ 582 [ 415 [MACRS [ 7.0 [          71 [       71 [      71 

TABLE CHAIRS W UMB  [06/10/10[ 738 [           [        [ 738 [ 527 [MACRS [ 7.0 [          90 [       90 [      90 

CUB CADET FOR FIEL  [12/15/10[ 6126 [          [        [ 6126 [ 3863 [MACRS [ 7.0 [       750 [      750 [    750 

2010 MERCURY MILAN  [11/29/11[ 10595 [ 10595 [          [       [ 10595 [MACRS [ 5.0 [         [          [         

DELL COMPUTERS      [01/08/13[ 2198 [ 2198 [            [       [ 2198 [MACRS [ 5.0 [          [          [         

F150 2002           [06/20/13[ 16714 [ 5000 [           [ 11714 [ 11091 [MACRS [ 5.0 [ 2249 [         623 [   1349 

XMARK LAWN MOWER    [10/08/13[ 11565 [ 11565 [          [       [ 11565 [MACRS [ 7.0 [         [          [         

TVS                 [09/25/15[ 772 [ 772 [              [       [        [SL    [ 5.0 [    772 [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         

                    [         [        [       [        [       [        [      [     [        [          [         


                    [         [        [       [        [       [        [      [     [        [          [         


TOTALS:              [         [ 111797 [ 30880 [        [ 80917 [ 102761 [      [     [ 3932 [ 1534 [         2260 
 QNA                                                    50
                 Case: 22-5843 Document: 22                 Filed: 11/30/2022 Page: 53
           STATEMENT OF AMORTIZATION FOR:                                 SCHEDULE: 1-1


                         [ Date         [            [        [         [             [                          
                         [ Amortization [Amortizable [        [  Code   [Amortization [Amortization Amortization 
    Description of Costs [ Begins       [ Amount [Accumulated [ Section [ Period

           [ This Year  Next Year 
ORGANIZATIONAL COSTS[09/01/99 [
                                               1200 [  1200 [SEC 248    [ 15.0 [
                                      
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          

TOTALS:                   [              [      1200 [  1200 [           [
           [                          
QNA                                                    51
                      Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 54
     STATEMENT OF STATE DEPRECIATION FOR:                                    SCHEDULE: 1-1

                   [         [ Cost [         [        [       [        [      [Life [        [ ADS [ Next 
       Description [ Date [ or other [        [ Bonus [        [ Accum [Method [ or [Deprec [ Deprec [ Year's 


        of Property [Acquired [ Basis [Sec 179 [ Deprec [ Basis [ Deprec [Used [Rate [for 2015 [ for 2015 [ Deprec 

DESK 1             [11/09/99[ 283 [           [        [ 283 [ 283 [MACRS [ 5.0 [             [          [         

SWIVEL CHAIR 2     [11/09/99[ 107 [           [        [ 107 [ 107 [MACRS [ 5.0 [             [          [         

REFRIGERATOR       [11/15/99[ 423 [           [        [ 423 [ 423 [MACRS [ 5.0 [             [          [         

OUTSIDE P O SIGN   [11/15/99[ 3000 [          [        [ 3000 [ 3000 [MACRS [ 5.0 [           [          [         

RCA 19 IN TV VCR   [11/15/99[ 211 [           [        [ 211 [ 211 [MACRS [ 3.0 [             [          [         

RCA 19 IN TV 1     [11/15/99[ 147 [           [        [ 147 [ 147 [MACRS [ 3.0 [             [          [         

TOKEN MACHINE      [11/16/99[ 1266 [          [        [ 1266 [ 1266 [MACRS [ 5.0 [           [          [         

CAGES NETS FUNCTIO [11/25/99[ 47836 [         [        [ 47836 [ 47836 [MACRS [ 5.0 [         [          [         

CASH REGISTER      [11/29/99[ 439 [           [        [ 439 [ 439 [MACRS [ 5.0 [             [          [         

COMPUTER IBM DIREC [09/30/02[ 3633 [          [        [ 3633 [ 3633 [MACRS [ 5.0 [           [          [         

RICHO OFFICE COPIE [01/16/04[ 1500 [ 750 [             [ 750 [ 750 [MACRS [ 5.0 [             [          [         

PORTABLE CABINETS  [03/24/06[ 2980 [          [        [ 2980 [ 2980 [MACRS [ 7.0 [           [          [         

EQUIPMENT          [11/13/06[ 682 [           [        [ 682 [ 682 [MACRS [ 5.0 [             [          [         

UMBRELLA TABLES CH [05/01/10[ 582 [           [        [ 582 [ 415 [MACRS [ 7.0 [          71 [          [      71 

TABLE CHAIRS W UMB [06/10/10[ 738 [           [        [ 738 [ 527 [MACRS [ 7.0 [          90 [          [      90 

CUB CADET FOR FIEL [12/15/10[ 6126 [          [        [ 6126 [ 3863 [MACRS [ 7.0 [       750 [          [    750 

2010 MERCURY MILAN [11/29/11[ 10595 [ 10595 [          [       [ 10595 [MACRS [ 5.0 [         [          [         

DELL COMPUTERS     [01/08/13[ 2198 [ 2198 [            [       [ 2198 [MACRS [ 5.0 [          [          [         

F150 2002          [06/20/13[ 16714 [ 5000 [           [ 11714 [ 11091 [MACRS [ 5.0 [ 2249 [             [   1349 

XMARK LAWN MOWER   [10/08/13[ 11565 [ 11565 [          [       [ 11565 [MACRS [ 7.0 [         [          [         

TVS                [09/25/15[ 772 [ 772 [              [       [        [SL    [ 5.0 [    772 [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         

                   [         [        [       [        [       [        [      [     [        [          [         


                   [         [        [       [        [       [        [      [     [        [          [         


TOTALS:             [         [ 111797 [ 30880 [        [ 80917 [ 102011 [      [     [ 3932 [            [   2260 
 QNA                                                    52
                 Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 55
      STATEMENT OF STATE AMORTIZATION FOR:                 SCHEDULE: 1-1


                         [ Date         [            [        [         [             [                          
                         [ Amortization [Amortizable [        [  Code   [Amortization [Amortization Amortization 
    Description of Costs [ Begins       [ Amount [Accumulated [ Section [ Period

           [ This Year  Next Year 
ORGANIZATIONAL COSTS[09/01/99 [
                                               1200 [  1200 [SEC 248    [ 15.0 [
                                      
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          

TOTALS:                   [              [      1200 [  1200 [           [
           [                          
QNA                                                    53
                                 Case: 22-5843                       Document: 22                     Filed: 11/30/2022                   Page: 56
                                     Application for Automatic Extension of Time To File Certain
Form    7004
(Rev. December 2012)
                                       Business Income Tax, Information, and Other Returns                                                                          OMB No. 1545-0233
                                                                 a
                                                         File a separate application for each return.
Department of the Treasury
                                  a Information about Form 7004 and its separate instructions is at www.irs.gov/form7004.
Internal Revenue Service
                        Name                                                                                                                      Identifying number


                        PLAYERS DUGOUT INC
Print                   Number, street, and room or suite no. (If P.O. box, see instructions.)
or
Type                    PO BOX 406
                        City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country’s practice for entering
                        postal code)).

                        ELIZABETHTOWN, KY 42702
Note. File request for extension by the due date of the return for which the extension is granted. See instructions before completing this form.
 Part I      Automatic 5-Month Extension
   1a Enter the form code for the return that this application is for (see below) .                                   .   .   .   .   .   .   .    .   .   .    .   .   .   .
Application                                              Form          Application                                                                                              Form
Is For:                                                  Code          Is For:                                                                                                  Code
Form 1065                                                                            09           Form 1041 (estate other than a bankruptcy estate)                                 04
Form 8804                                                                            31           Form 1041 (trust)                                                                 05
 Part II         Automatic 6-Month Extension
    b Enter the form code for the return that this application is for (see below) .                                   .   .   .   .   .   .   .    .   .   .    .   .   .   .            1 2
Application                                              Form          Application                                                                                              Form
Is For:                                                  Code          Is For:                                                                                                  Code
Form 706-GS(D)                                                                       01           Form 1120-ND (section 4951 taxes)                                                 20
Form 706-GS(T)                                                                       02           Form 1120-PC                                                                      21
Form 1041 (bankruptcy estate only)                                                   03           Form 1120-POL                                                                     22
Form 1041-N                                                                          06           Form 1120-REIT                                                                    23
Form 1041-QFT                                                                        07           Form 1120-RIC                                                                     24
Form 1042                                                                            08           Form 1120S                                                                        25
Form 1065-B                                                                          10           Form 1120-SF                                                                      26
Form 1066                                                                            11           Form 3520-A                                                                       27
Form 1120                                                                            12           Form 8612                                                                         28
Form 1120-C                                                                          34           Form 8613                                                                         29
Form 1120-F                                                                          15           Form 8725                                                                         30
Form 1120-FSC                                                                        16           Form 8831                                                                         32
Form 1120-H                                                                          17           Form 8876                                                                         33
Form 1120-L                                                                          18           Form 8924                                                                         35
Form 1120-ND                                                                         19           Form 8928                                                                         36

   2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
          check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
   3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
          check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
          If checked, attach a statement, listing the name, address, and Employer Identification Number (EIN) for each member
          covered by this application.
Part III         All Filers Must Complete This Part
   4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here .                                                   a
   5a     The application is for calendar year 20 15 , or tax year beginning                  , 20   , and ending                                                                    , 20

       b Short tax year. If this tax year is less than 12 months, check the reason:                                       Initial return       Final return
            Change in accounting period             Consolidated return to be filed                                       Other (see instructions-attach explanation)

   6      Tentative total tax .          .   .   .   .   .   .       .   .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .        6                    9000 00

   7      Total payments and credits (see instructions) .                        .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .        7                    9500 00

   8      Balance due. Subtract line 7 from line 6 (see instructions) .                           .   .   .   .   .   .   .   .   .   .   .   .        8
For Privacy Act and Paperwork Reduction Act Notice, see separate Instructions.                                                                                 Form 7004 (Rev. 12-2012)
 QNA

                                                                                              54
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 57
                                 Case: 22-5843                     Document: 22                Filed: 11/30/2022                      Page: 58
Form 720 (2015)                                                                                                                                                   Page 2
Commonwealth of Kentucky
DEPARTMENT OF REVENUE



                                                             PART III—TAXABLE INCOME COMPUTATION
 1. Federal taxable income (Form 1120,                                                      14. Federal work opportunity credit ....... 14                           00
    line 28) ................................................ 1               48245 00 15. Depreciation adjustment ................... 15                            00
ADDITIONS:                                                                                  16. Other (attach Schedule O-720) .......... 16                          00
 2. Interest income (state and local                                                        17. Revenue Agent Report (RAR) ............ 17                           00
    obligations) ......................................... 2                           00   18. Net income (line 11 less lines 12
 3. State taxes based on net/gross                                                              through 17) .......................................... 18     50345 00
    income ................................................ 3                  2100 00      19. Current net operating loss
 4. Depreciation adjustment ................... 4                                      00       adjustment (mandatory nexus only).. 19                               00
 5. Deductions attributable to nontaxable
                                                                                            20. Kentucky net income (add lines 18
    income ................................................. 5                         00
 6. Related party expenses (attach
                                                                                                and 19) ................................................ 20   50345 00
                                                                                            21. Taxable net income
    Schedule RPC) .................................... 6                               00
 7. Dividend paid deduction (REIT) ........ 7                                          00       (attach Schedule A if applicable) ...... 21                   50345 00
 8. Domestic production activities                                                          22. Net operating loss deduction
    deduction............................................ 8                         00          (NOLD) ................................................ 22           00
 9. Other (attach Schedule O-720) .......... 9                                      00      23. Taxable net income after NOLD
10. Revenue Agent Report (RAR) ............ 10                                      00          (line 21 less line 22) ........................... 23         50345 00
11. Total (add lines 1 through 10) ........... 11                             50345 00      24. Kentucky domestic production
SUBTRACTIONS:                                                                                   activities deduction (KDPAD) ............ 24                         00
12. Interest income (U.S. obligations) .... 12                                         00   25. Taxable net income after KDPAD
13. Dividend income ................................ 13                                00       (line 23 less line 24) ........................... 25         50345 00
                                  PART IV—EXPLANATION OF FINAL RETURN AND/OR SHORT–PERIOD RETURN
          Ceased operations in Kentucky                                                        Change in ﬁling status
          Change of ownership                                                                  Merger
          Successor to previous business                                                       Other _________________________________________________

                                                  PART V—EXPLANATION OF AMENDED RETURN CHANGES




 OFFICER INFORMATION (Failure to Provide Requested Information May Result in a Penalty)
 Attach a schedule listing the name, home address and Social Security number of the vice president, secretary and treasurer.
 Has the attached ofﬁcer information changed from the last return ﬁled?                                   Yes                  x   No
 President’s Name JOSEPH                   NEWTON                                                President’s Home Address 3867                 MUNFORDVILLE RD
 President’s Social Security Number           XXX-XX-XXXX                                        SONORA KY 42776-
 Date Became President                        /               /
 I, the undersigned, declare under the penalties of perjury, that I have examined this return, including all accompanying schedules and statements,
 and to the best of my knowledge and belief, it is true, correct and complete.
 ✍              Signature of principal ofﬁcer or chief accounting ofﬁcer                                                Date
         JOSEPH NEWTON
                Printed name of principal ofﬁcer or chief accounting ofﬁcer
         ACCOUNTING AND TAX PROFESS
                Name of person or ﬁrm preparing return                                                            SSN, PTIN or FEIN



  Federal Form 1120, all pages and any supporting schedules must be attached.                May the DOR discuss this return with the preparer?
                                                                                              Yes
                                                                                             x         No

                           Make check payable to:                                            Email Address:
                                                                                                                TAXPRO@BBTEL.COM
                          Kentucky State Treasurer
                                                                                             Telephone No.:     (270)982-5200
               Mail to:           REFUNDS OR NO TAX DUE                           Kentucky Department of Revenue, Frankfort, KY 40618-0010


                                           PAYMENTS                              Kentucky Department of Revenue, Frankfort, KY 40620-0020
                                                                              www.revenue.ky.gov
  1038
                                                                                        56
                            Case: 22-5843              Document: 22              Filed: 11/30/2022             Page: 59
Form 720 (2015)                                                                                                                                  Page 3
Commonwealth of Kentucky
DEPARTMENT OF REVENUE


                                   SCHEDULE Q—KENTUCKY CORPORATION/LLET QUESTIONNAIRE
IMPORTANT: Questions 4—15 must be completed by all corporations.                 8. Did the corporation at any time during the taxable year do
If this is the corporation’s initial return or if the corporation did not           business in Kentucky and own 80 percent or more of the voting
ﬁle a return under the same name and same federal I.D. number for                   stock of another corporation doing business in Kentucky?
the preceding year, questions 1, 2 and 3 must be answered. Failure                   Yes   x No. If yes, list name, address and federal I.D. number
to do so may result in a request for a delinquent return.                           of each entity. _____________________________________________
                                                                                    ____________________________________________________________
 1.    Indicate whether: (a)  new business; (b)  successor                        ____________________________________________________________
       to previously existing business which was organized as:
                                                                                  9. Was 80 percent or more of the corporation's voting stock owned
       (1)  corporation; (2)  partnership; (3)  sole proprietorship;
                                                                                     by any corporation doing business in Kentucky at any time of the
       or (4)  other ____________________________________________
                                                                                     year?  Yes    x No. If yes, list name, address and federal I.D.
       If successor to previously existing business, give name,                      number of each entity. ______________________________________
       address and federal I.D. number of the previous business                      ____________________________________________________________
       organization. ____________________________________________                    ____________________________________________________________
      __________________________________________________________
                                                                                 10. The federal tax return attached to this Kentucky tax return is:
 2. List the following Kentucky account numbers. Enter N/A for                        a pro forma federal tax return  x a copy of the federal tax
    any number not applicable.                                                       return ﬁled with the Internal Revenue Service
    Employer Withholding ___________________________________                     11. Is the entity ﬁling this Kentucky tax return or any entity included
    Sales and Use Tax Permit _________________________________                       in the tax return organized as a limited cooperative association
    Consumer Use Tax _______________________________________                         as provided by KRS Chapter 272A?  Yes           x No. If yes, and
    Unemployment Insurance ________________________________                          this is a nexus consolidated return, enter each limited cooperative
    Coal Severance and/or Processing Tax _____________________                       association’s name, address and federal I.D. number included in
 3. If a foreign corporation, enter the date qualiﬁed to do business                 the return: __________________________________________________
    in Kentucky. __ __ / __ __ / __ __                                               ____________________________________________________________
                                                                                     ____________________________________________________________

 4. The corporation’s books are in care of: (name and address)                   12. Is the entity ﬁling this Kentucky tax return or any entity included
    __________________________________________________________
     ACCTG AND TAX PROS                                                              in this tax return organized as a statutory trust or a series
    __________________________________________________________
     790 N DIXIE AVE STE 400                                                         statutory trust as provided by KRS Chapter 386A?  Yes       x No
    __________________________________________________________
     ELIZABETHTOWN KY 42701-                                                         If yes, is the entity ﬁling this Kentucky tax return or any entity
                                                                                     included in this tax return a series within a statutory trust?
 5. Are disregarded entities included in this return?                                          x No
                                                                                      Yes 
     Yes  x No. If yes, list name, address and federal I.D. number
    of each entity. ____________________________________________                     If yes, for each series within a statutory trust, enter the name,
    __________________________________________________________                       address and federal I.D. number of the statutory trust registered
    __________________________________________________________                       with the Kentucky Secretary of State: _________________________
    __________________________________________________________                       ____________________________________________________________
    __________________________________________________________                       ____________________________________________________________
    __________________________________________________________                       ____________________________________________________________
    __________________________________________________________                                                                          xaccrual basis,
                                                                                 13. Was this return prepared on: (a)  cash basis, (b) 
    __________________________________________________________                       (c)  other _________________________________________________
    __________________________________________________________
    __________________________________________________________                   14. Did the corporation ﬁle a Kentucky tangible personal property tax
    __________________________________________________________                       return for January 1, 2016?  x Yes  No
 6. (a) Was the corporation a partner or member in a pass-through                    If yes, list name and federal I.D. number of entity(ies) ﬁling
    entity doing business in Kentucky?  Yes    x No. If yes, list                  return(s): ___________________________________________________
    name and federal I.D. number of the pass-through entity(ies).                    ____________________________________________________________
                                                                                        XX-XXXXXXX    PLAYERS DUGOUT

    __________________________________________________________                       ____________________________________________________________
    __________________________________________________________                       ____________________________________________________________
    __________________________________________________________                       ____________________________________________________________
    __________________________________________________________                       ____________________________________________________________
    __________________________________________________________                       ____________________________________________________________
    __________________________________________________________
    __________________________________________________________
                                                                                 15. Is the corporation currently under audit by the Internal Revenue
    __________________________________________________________
                                                                                     Service?  Yes x     No
    __________________________________________________________
                                                                                     If yes, enter years under audit ________________________________
 6. (b) Was the corporation doing business in Kentucky other than
    through its interest held in a pass-through entity doing business                If the Internal Revenue Service has made ﬁnal and unappealable
    in Kentucky?  Yes      x No                                                    adjustments to the corporation’s taxable income which have not
                                                                                     been reported to the department, check here  and ﬁle an amended
 7. Are related party costs as deﬁned in KRS 141.205(1)(l) included
                                                                                     return. See 2015 Kentucky Corporation Income Tax and LLET Return
    in this return?  Yes    x No. If yes, attach Schedule RPC,                     instructions for information regarding amended returns. Attach a
    Related Party Costs Disclosure Statement, and enter any related
                                                                                     copy of the ﬁnal determination to each amended return.
    party cost additions on Part III, Line 6.




1038                                                                        57
                                 Case: 22-5843                      Document: 22                     Filed: 11/30/2022         Page: 60
SCHEDULE LLET                                                                                                                               Taxable Year Ending
  41A720LLET (10-15)                                                                                                                           _1 2_ / _1 5_
 Commonwealth of Kentucky                                                                                                                        Mo.    Yr.
 DEPARTMENT OF REVENUE
                                                                LIMITED LIABILITY ENTITY TAX                                      Member of a Combined Group
➤ See instructions.
                                                                                    KRS 141.0401
➤ Attach to Form 720, 720S, 725 or 765.                                                                                          ____ Reason Code
 Name of Corporation or Limited Liability                                                        Federal Identiﬁcation            Kentucky Corporation/LLET
 Pass-through Entity                                                                                   Number                         Account Number
  PLAYERS DUGOUT INC

 Check this box and complete Schedule LLET-C, Limited Liability Entity Tax—Continuation Sheet, if the corporation or limited
     liability pass-through entity ﬁling this tax return is a partner or member of a limited liability pass-through entity or general
     partnership (organized or formed as a general partnership after January 1, 2006) doing business in Kentucky. Enter the total
     amounts from Schedule LLET-C in Section A of this schedule.

Section A—Computation of Gross Receipts and Gross Proﬁts
                                                                                                                            Column A             Column B
                                                                                                                            Kentucky               Total

1. Gross receipts .................................................................................................     1              00                      00
2. Returns and allowances .................................................................................             2              00                      00
3. Gross receipts after returns and allowances
   (line 1 less line 2 or amount from Schedule LLET-C) ...................................                              3              00                      00
4. Cost of goods sold (attach Schedule COGS) ................................................                           4              00                      00
5. Gross proﬁts (line 3 less line 4 or amount from Schedule LLET-C) ............                                        5              00                      00
Section B—Computation of Gross Receipts LLET

1. If gross receipts from all sources (Column B, line 3) are $3,000,000
   or less, STOP and enter $175 on Section D, line 1 .......................................                            1

2. If gross receipts from all sources (Column B, line 3) are greater than
   $3,000,000 but less than $6,000,000, enter the following:

                                                   [
   (Column A, line 3 x 0.00095) – $2,850 x ($6,000,000 – Column A, line 3)
                                                              $3,000,000                                          ]
   but in no case shall the result be less than zero ..........................................                         2              00
3. If gross receipts from all sources (Column B, line 3) are $6,000,000
   or greater, enter the following: Column A, line 3 x 0.00095 .......................                                  3              00
4. Enter the amount from line 2 or line 3..........................................................                     4              00
Section C—Computation of Gross Proﬁts LLET

1. If gross proﬁts from all sources (Column B, line 5) are $3,000,000
   or less, STOP and enter $175 on Section D, line 1 .......................................                            1

2. If gross proﬁts from all sources (Column B, line 5) are greater than
   $3,000,000 but less than $6,000,000, enter the following:

                                                [
   (Column A, line 5 x 0.0075) – $22,500 x ($6,000,000 – Column A, line 5)
                                                                $3,000,000                                       ]
   but in no case shall the result be less than zero............................................                        2              00
3. If gross proﬁts from all sources (Column B, line 5) are $6,000,000
   or greater, enter the following: Column A, line 5 x 0.0075 ........................                                  3              00
4. Enter the amount from line 2 or line 3..........................................................                     4              00
Section D—Computation of LLET
1. Enter the lesser of Section B, line 4 or Section C, line 4, or a minimum
   of $175 on this line and on Form 720 or 720S, Part I, line 1; or Form 725
   or 765, Part II, line 1 ..........................................................................................   1         175 00
                       Mark the applicable Receipts Method box on Form 720, 720S, 725 or 765, page 1, Item B.
                                                                                             58
1038
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 61
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 62




        Defendants’
        Exhibit 17E




                           60
                              Case: 22-5843                 Document: 22           Filed: 11/30/2022                    Page: 63
                                                                                                                                                   OMB No. 1545-0123
Form   8879-S                      IRS e-file Signature Authorization for Form 1120S

Department of the Treasury
                                                        a Don’t send to the IRS. Keep for your records.
                                   a Information about Form 8879-S and its instructions is at www.irs.gov/form8879s.                                  2016
Internal Revenue Service   For calendar year 2016, or tax year beginning              , 2016, and ending                         , 20         .
Name of corporation                                                                                                Employer identification number
 PLAYERS DUGOUT INC
 Part I       Tax Return Information (Whole dollars only)
  1      Gross receipts or sales less returns and allowances (Form 1120S, line 1c)               .   .     .   .    .   .    .     .     .        1             335382
  2      Gross profit (Form 1120S, line 3) . . . . . . . . . . . . . .                           .   .     .   .    .   .    .     .     .        2             335382
  3      Ordinary business income (loss) (Form 1120S, line 21) . . . . . . .                     .   .     .   .    .   .    .     .     .        3              23757
  4      Net rental real estate income (loss) (Form 1120S, Schedule K, line 2) . .               .   .     .   .    .   .    .     .     .        4
  5      Income (loss) reconciliation (Form 1120S, Schedule K, line 18) . . . .                  .   .     .   . 23757
                                                                                                                    .   .    .     .     .        5
 Part II      Declaration and Signature Authorization of Officer (Be sure to get a copy of the corporation’s return)

Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
2016 electronic income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true,
correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.



Officer’s PIN: check one box only

       X     I authorize      ACCOUNTING AND TAX PROFESSIONALS                             to enter my PIN              1 6 6 1 3                     as my signature
                                                     ERO firm name                                                      don’t enter all zeros
             on the corporation’s 2016 electronically filed income tax return.
             As an officer of the corporation, I will enter my PIN as my signature on the corporation’s 2016 electronically filed income tax
             return.

Officer’s signature a                                                                 Date a                            Title aPRESIDENT

Part III      Certification and Authentication

ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                            6 1 6 5 8 1 4 0 3 2 1
                                                                                                                                        don’t enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the 2016 electronically filed income tax return for the
corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
Returns.


ERO’s signature a                                                                                          Date a           04/17/2017


                                            ERO Must Retain This Form — See Instructions
                                     Don’t Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                                                                                                 Form 8879-S (2016)




 QNA                                                                         61
                                                                           Case: 22-5843                     Document: 22                    Filed: 11/30/2022                      Page: 64
                                                                                      U.S. Income Tax Return for an S Corporation
                                                 1120S
                                                                                                                                                                                                             OMB No. 1545-0123
Form

                                                                                                                                                                                                               2016
                                                                                                a Do not file this form unless the corporation has filed or is
                                                                                                     attaching Form 2553 to elect to be an S corporation.
Department of the Treasury                                                a Information about Form 1120S and its separate instructions is at www.irs.gov/form1120s.
Internal Revenue Service
For calendar year 2016 or tax year beginning                                                                                                     , 2016, ending                                              , 20
A S election effective date                                                                Name                                                                                               D Employer identification number
                                                 01/01/2016                  TYPE           PLAYERS DUGOUT INC
B Business activity code                                                                   Number, street, and room or suite no. If a P.O. box, see instructions.                             E Date incorporated
  number (see instructions)                                                  OR
                                                                                            PO BOX 406                                                                                               05/03/1999
                                                                             PRINT
                                                  713900                                   City or town, state or province, country, and ZIP or foreign postal code                           F Total assets (see instructions)

C Check if Sch. M-3 attached                                                                ELIZABETHTOWN, KY 42702                                                                          $                           63378
G Is the corporation electing to be an S corporation beginning with this tax year? x Yes    No     If “Yes,” attach Form 2553 if not already filed
H Check if: (1)     Final return (2)     Name change      (3)     Address change    (4)  Amended return    (5)     S election termination or revocation
I Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . .                        a            3
Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
                                                  1a    Gross receipts or sales .   . . . . . . . . . . . . . .                  1a              335382
                                                   b Returns and allowances         . . . . . . . . . . . . . .                  1b
                                                    c   Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . .                      1c                                                           335382
 Income




                                                  2     Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . .                        2
                                                  3     Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . .                     3                                                           335382
                                                  4     Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . .                 4
                                                  5     Other income (loss) (see instructions—attach statement) . . . . . . . . . . . . .                  5
                                                  6     Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . a                       6                                                           335382
                                                  7     Compensation of officers (see instructions—attach Form 1125-E) . . . . . . . . . .                 7                                                           114566
 Deductions (see instructions for limitations)




                                                  8     Salaries and wages (less employment credits) . . . . . . . . . . . . . . . .                       8                                                             5125
                                                  9     Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . .                              9                                                             1198
                                                 10     Bad debts      . . . . . . . . . . . . . . . . . . . . . . . . . . .                              10
                                                 11     Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   11                                                             61200
                                                 12     Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . .                              12                                                             10516
                                                 13     Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  13                                                                27
                                                 14     Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . .         14                                                              2260
                                                 15     Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . .                    15
                                                 16     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 16                                                                7894
                                                 17     Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . .                      17
                                                 18     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . .                             18
                                                 19     Other deductions (attach statement) . . . . . . . . . . . . . . . . . . .                         19                                                           108839
                                                 20     Total deductions. Add lines 7 through 19        . . . . . . . . . . . . . . . . a                 20                                                           311625
                                                 21     Ordinary business income (loss). Subtract line 20 from line 6 . . . . . . . . . . .               21                                                            23757
                                                 22 a   Excess net passive income or LIFO recapture tax (see instructions) . . 22a
                                                    b   Tax from Schedule D (Form 1120S) . . . . . . . . . . . 22b
 Tax and Payments




                                                    c   Add lines 22a and 22b (see instructions for additional taxes) . . . . . . . . . . . .            22c
                                                 23 a   2016 estimated tax payments and 2015 overpayment credited to 2016 23a
                                                    b   Tax deposited with Form 7004 . . . . . . . . . . . . 23b
                                                    c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . 23c
                                                    d   Add lines 23a through 23c       . . . . . . . . . . . . . . . . . . . . . .                      23d
                                                 24     Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . a            24
                                                 25     Amount owed. If line 23d is smaller than the total of lines 22c and 24, enter amount owed . .     25
                                                 26     Overpayment. If line 23d is larger than the total of lines 22c and 24, enter amount overpaid . .  26
                                                 27     Enter amount from line 26 Credited to 2017 estimated tax a                            Refunded a  27
                                                        Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                        correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
                                                                                                                                                                                              May the IRS discuss this return
Sign                                                                                                                                                                                          with the preparer shown below
                                                         F




                                                                                                                                                F




                                                                                                                                                  PRESIDENT
Here                                                         Signature of officer                                                Date               Title
                                                                                                                                                                                              (see instructions)?   x Yes         No
                                                             Print/Type preparer's name                         Preparer's signature                                   Date                                    PTIN
Paid                                                                Check      if
         KRYSTAL WILLIAMS                                04/17/2017 self-employed P00568423
Preparer
Use Only Firm's name
                     a  ACCOUNTING AND TAX PROFESSIONALS            Firm's EIN a
                                                             Firm's address a       790 N DIXIE AVE SUITE 400 ELIZABETHTOWN KY 42701                                                          Phone no.      270-982-5200
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                Form 1120S (2016)
QNA


                                                                                                                                     62
                   Case: 22-5843                             Document: 22                 Filed: 11/30/2022                  Page: 65
          PLAYERS DUGOUT INC
Form 1120S (2016)                                                                                                                                                    Page 2
Schedule B            Other Information (see instructions)
  1      Check accounting method:       a    Cash      b X Accrual                                                                                              Yes No
                                        c    Other (specify) a
  2      See the instructions and enter the:
         a Business activity a BASEBALL SOFTBALL                b Product or service a FACILITIES INSTRUCTI
  3      At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
         nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation . .                                          X
  4      At the end of the tax year, did the corporation:
      a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
        foreign or domestic corporation? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v)
        below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                   X
                                                                                                                                 (v) If Percentage in (iv) is 100%, Enter the
                                      (ii) Employer Identification Number    (iii) Country of      (iv) Percentage of Stock
            (i) Name of Corporation                                                                                                Date (if any) a Qualified Subchapter S
                                                     (if any)                 Incorporation                 Owned
                                                                                                                                        Subsidiary Election Was Made




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
        capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
        trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . .                                            X
                                      (ii) Employer Identification Number                              (iv) Country of           (v) Maximum Percentage Owned in Profit,
               (i) Name of Entity                                           (iii) Type of Entity
                                                     (if any)                                           Organization                        Loss, or Capital




  5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . .                                       .            X
      If “Yes,” complete lines (i) and (ii) below.
      (i)   Total shares of restricted stock. . . . . . . . . . a
      (ii) Total shares of non-restricted stock . . . . . . . . a
    b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?                                .            X
         If “Yes,” complete lines (i) and (ii) below.
         (i)   Total shares of stock outstanding at the end of the tax year a
         (ii) Total shares of stock outstanding if all instruments were executed a
  6      Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
         information on any reportable transaction?     . . . . . . . . . . . . . . . . . . . . . . . .                                                                 X
  7      Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . a
         If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
         Instruments.

  8      If the corporation: (a) was a C corporation before it elected to be an S corporation or the corporation acquired an
         asset with a basis determined by reference to the basis of the asset (or the basis of any other property) in
         the hands of a C corporation and (b) has net unrealized built-in gain in excess of the net recognized built-in gain
         from prior years, enter the net unrealized built-in gain reduced by net recognized built-in gain from prior years (see
         instructions) . . . . . . . . . . . . . . . a $
  9      Enter the accumulated earnings and profits of the corporation at the end of the tax year.       $             42902
 10     Does the corporation satisfy both of the following conditions?
      a The corporation’s total receipts (see instructions) for the tax year were less than $250,000 .                   .   .   .   .   .   .   .   .     .
      b The corporation’s total assets at the end of the tax year were less than $250,000      . . .                     .   .   .   .   .   .   .   .     .            X
        If “Yes,” the corporation is not required to complete Schedules L and M-1.
 11   During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
      terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . .                                                                X
      If “Yes,” enter the amount of principal reduction $
 12   During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If “Yes,” see instructions .                                         X
 13 a Did the corporation make any payments in 2016 that would require it to file Form(s) 1099? . . . . . . . . . .                                                     X
    b If “Yes,” did the corporation file or will it file required Forms 1099? . . . . . . . . . . . . . . . . .
QNA                                                                                                                                                      Form 1120S (2016)




                                                                                  63
                                     Case: 22-5843                    Document: 22            Filed: 11/30/2022                    Page: 66
                            PLAYERS DUGOUT INC
Form 1120S (2016)                                                                                                                                                  Page 3
Schedule K                           Shareholders’ Pro Rata Share Items                                                                             Total amount
                              1   Ordinary business income (loss) (page 1, line 21) . . . . . . . . . . . . . .                              1                23757
                              2   Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . .                            2
                              3a  Other gross rental income (loss) . . . . . . . . . .                  3a
                                b Expenses from other rental activities (attach statement)        . .   3b
                                c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . .                         3c
    Income (Loss)




                              4   Interest income . . . . . . . . . . . . . . . . . . . . . . . .                                            4
                              5   Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . .                                     5a
                                              b Qualified dividends . . . . . . . . . .                 5b
                              6   Royalties . . . . . . . . . . . . . . . . . . . . . . . . . .                                              6
                              7   Net short-term capital gain (loss) (attach Schedule D (Form 1120S)) . . . . . . . .                        7
                              8 a Net long-term capital gain (loss) (attach Schedule D (Form 1120S)) . . . . . . . .                        8a
                                b Collectibles (28%) gain (loss) . . . . . . . . . . .                  8b
                                c Unrecaptured section 1250 gain (attach statement) . . . .             8c
                              9   Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . .                               9
                             10   Other income (loss) (see instructions) . . Type a                                                         10
                             11   Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . .                                  11
     Deductions




                             12a Charitable contributions . . . . . . . . . . . . . . . . . . . . .                                        12a
                               b Investment interest expense . . . . . . . . . . . . . . . . . . . .                                       12b
                               c Section 59(e)(2) expenditures (1) Type a                                          (2) Amount a            12c(2)
                               d Other deductions (see instructions) . . .           Type a                                                12d
                             13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . .                                13a
                               b Low-income housing credit (other) . . . . . . . . . . . . . . . . . .                                     13b
      Credits




                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . .          13c
                               d Other rental real estate credits (see instructions) Type a                                                13d
                               e Other rental credits (see instructions) . . . Type a                                                      13e
                               f    Biofuel producer credit (attach Form 6478)    .   . . . .      .   .   .   .   .   .   .   .   .   .   13f
                               g    Other credits (see instructions) . . . .      .   Type a                                               13g
                             14a    Name of country or U.S. possession a
                               b Gross income from all sources . . . . . . . . . . . . . . . .                                 .   .   .   14b
                               c Gross income sourced at shareholder level . . . . . . . . . . . .                             .   .   .   14c
                                 Foreign gross income sourced at corporate level
                               d Passive category      . . . . . . . . . . . . . . . . . . . .                                 .   .   .   14d
     Foreign Transactions




                               e General category      . . . . . . . . . . . . . . . . . . . .                                 .   .   .   14e
                               f Other (attach statement) . . . . . . . . . . . . . . . . . .                                  .   .   .   14f
                                 Deductions allocated and apportioned at shareholder level
                               g Interest expense . . . . . . . . . . . . . . . . . . . . .                                    .   .   .   14g
                               h Other . . . . . . . . . . . . . . . . . . . . . . . .                                         .   .   .   14h
                                 Deductions allocated and apportioned at corporate level to foreign source income
                               i Passive category      . . . . . . . . . . . . . . . . . . . .                                 .   .   .    14i
                               j General category      . . . . . . . . . . . . . . . . . . . .                                 .   .   .    14j
                               k Other (attach statement) . . . . . . . . . . . . . . . . . .                                  .   .   .   14k
                                 Other information
                               l Total foreign taxes (check one): a       Paid         Accrued . . . . . . .                   .   .   .    14l
                               m Reduction in taxes available for credit (attach statement) . . . . . . . .                    .   .   .   14m
                               n Other foreign tax information (attach statement)
                             15a Post-1986 depreciation adjustment . . . . . . . . . . . . . . .                               .   .   .   15a                 -610
 Minimum Tax
 (AMT) Items




                               b Adjusted gain or loss . . . . . . . . . . . . . . . . . . .                                   .   .   .   15b
  Alternative




                               c Depletion (other than oil and gas)    . . . . . . . . . . . . . . .                           .   .   .   15c
                               d Oil, gas, and geothermal properties—gross income . . . . . . . . . .                          .   .   .   15d
                               e Oil, gas, and geothermal properties—deductions . . . . . . . . . . .                          .   .   .   15e
                               f Other AMT items (attach statement) . . . . . . . . . . . . . . .                              .   .   .   15f
 Items Affecting




                             16a Tax-exempt interest income . . . . . . . . . . . . . . . . .                                  .   .   .   16a
   Shareholder




                               b Other tax-exempt income . . . . . . . . . . . . . . . . . .                                   .   .   .   16b
      Basis




                               c Nondeductible expenses . . . . . . . . . . . . . . . . . .                                    .   .   .   16c
                               d Distributions (attach statement if required) (see instructions) . . . . . . .                 .   .   .   16d
                               e Repayment of loans from shareholders . . . . . . . . . . . . . .                              .   .   .   16e
QNA                                                                                                                                                    Form 1120S (2016)


                                                                                         64
                                            Case: 22-5843 Document: 22                           Filed: 11/30/2022                         Page: 67
                                           PLAYERS DUGOUT INC
Form 1120S (2016)                                                                                                                                                                    Page 4
Schedule K
  ciliation Information               Shareholders’ Pro Rata Share Items (continued)                                                                            Total amount
                             17a    Investment income . . . . . . . . . . . . . . .                           .      .     .   .   .   .   .   .         17a
               Other


                               b    Investment expenses . . . . . . . . . . . . . .                           .      .     .   .   .   .   .   .         17b
                               c    Dividend distributions paid from accumulated earnings and profits         .      .     .   .   .   .   .   .         17c
                               d    Other items and amounts (attach statement)
  Recon-




                             18     Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right
                                    column. From the result, subtract the sum of the amounts on lines 11 through 12d and 14l                             18                    23757
Schedule L                            Balance Sheets per Books                               Beginning of tax year                                        End of tax year
                                                  Assets                               (a)                           (b)                           (c)                        (d)
  1                       Cash . . . . . . . . . . . .                      .                                              53163                                                    52844
  2a                      Trade notes and accounts receivable . .           .
    b                     Less allowance for bad debts . . . . .            .      (                  )                                (                        )
  3                       Inventories     . . . . . . . . . .               .
  4                       U.S. government obligations . . . . .             .
  5                       Tax-exempt securities (see instructions) .        .
  6                       Other current assets (attach statement) . .       .
  7                       Loans to shareholders . . . . . . .               .
  8                       Mortgage and real estate loans . . . .            .
  9                       Other investments (attach statement) . .          .
 10a                      Buildings and other depreciable assets . .        .           111797                                                      111797
    b                     Less accumulated depreciation . . . .             .      (    106693)                                5104 (               108953)                         2844
 11a                      Depletable assets . . . . . . . .                 .
    b                     Less accumulated depletion . . . . .              .      (                  )                                (                        )
 12                       Land (net of any amortization) . . . . .          .
 13a                      Intangible assets (amortizable only) . . .        .                 1200
    b                     Less accumulated amortization . . . .             .      (          1200)                                    (                        )
 14                       Other assets (attach statement) . . . .           .                                               7690                                                     7690
 15                       Total assets . . . . . . . . . .                  .                                              65957                                                    63378
                                 Liabilities and Shareholders’ Equity
 16                       Accounts payable . . . . . . . . .
 17                       Mortgages, notes, bonds payable in less than 1 year
 18                       Other current liabilities (attach statement) . .                                                 19130                                                     2437
 19                       Loans from shareholders . . . . . . .                                                              425                                                      425
 20                       Mortgages, notes, bonds payable in 1 year or more
 21                       Other liabilities (attach statement) . . . .                                                         5000                                                  5000
 22                       Capital stock . . . . . . . . . . .                                                                  1000                                                  1000
 23                       Additional paid-in capital . . . . . . .
 24                       Retained earnings . . . . . . . . .                                                              42902                                                    57016
 25                       Adjustments to shareholders’ equity (attach statement)
 26                       Less cost of treasury stock . . . . . .                                         (                 2500)                                   (            2500)
 27                       Total liabilities and shareholders’ equity      . .                                              65957                                                63378
QNA                                                                                                                                                                     Form 1120S (2016)




                                                                                        65
                            Case: 22-5843 Document: 22                             Filed: 11/30/2022                      Page: 68
                           PLAYERS DUGOUT INC
Form 1120S (2016)                                                                                                                                                     Page 5
Schedule M-1             Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                         Note: The corporation may be required to file Schedule M-3 (see instructions)
  1       Net income (loss) per books       .   .   .   .   .   .             14114 5 Income recorded on books this year not included
  2       Income included on Schedule K, lines 1, 2, 3c, 4,                                   on Schedule K, lines 1 through 10 (itemize):
          5a, 6, 7, 8a, 9, and 10, not recorded on books this                               a Tax-exempt interest $
          year (itemize)
  3       Expenses recorded on books this year not                                        6 Deductions included on Schedule K,
          included on Schedule K, lines 1 through 12 and                                      lines 1 through 12 and 14l, not charged
          14l (itemize):                                                                      against book income this year (itemize):
      a   Depreciation $                                                                    a Depreciation $
      b   Travel and entertainment $      3583
           SEE STMT                                         6060               9643 7 Add lines 5 and 6 . . . . .
  4       Add lines 1 through 3     .   .   .   .   .   .   .   .             23757 8 Income (loss) (Schedule K, line 18). Line 4 less line 7                      23757
Schedule M-2             Analysis of Accumulated Adjustments Account, Other Adjustments Account, and Shareholders’
                         Undistributed Taxable Income Previously Taxed (see instructions)
                                                                        (a) Accumulated                 (b) Other adjustments                 (c) Shareholders’ undistributed
                                                                      adjustments account                      account                       taxable income previously taxed

  1       Balance at beginning of tax year . . . . .
  2       Ordinary income from page 1, line 21 . . .                               23757
  3       Other additions . . . . . . . . . .                                      42902
  4       Loss from page 1, line 21 . . . . . . .                 (                       )
  5       Other reductions . . . . . . . . . .                    (                  9643 ) (                                          )
  6       Combine lines 1 through 5 . . . . . . .                                  57016
  7       Distributions other than dividend distributions
  8       Balance at end of tax year. Subtract line 7 from line 6                  57016
QNA                                                                                                                                                     Form 1120S (2016)




                                                                            66
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 69
                                   Case: 22-5843                  Document: 22                Filed: 11/30/2022                 Page: 70
Schedule K-1 (Form 1120S) 2016                                                                                                                                        Page 2
This list identifies the codes used on Schedule K-1 for all shareholders and provides summarized reporting information for shareholders who file Form 1040.
For detailed reporting and filing information, see the separate Shareholder’s Instructions for Schedule K-1 and the instructions for your income tax return.
                                                                                                Code                                      Report on



                                                                                                                                      }
 1.  Ordinary business income (loss). Determine whether the income (loss) is                     N   Credit for employer social
     passive or nonpassive and enter on your return as follows:                                      security and Medicare taxes
                                            Report on                                            O   Backup withholding                   See the Shareholder’s Instructions
     Passive loss                           See the Shareholder’s Instructions                   P   Other credits
     Passive income                         Schedule E, line 28, column (g)




                                                                                                                                      }
                                                                                             14. Foreign transactions
     Nonpassive loss                        Schedule E, line 28, column (h)                      A Name of country or U.S.
     Nonpassive income                      Schedule E, line 28, column (j)                          possession
 2. Net rental real estate income (loss)    See the Shareholder’s Instructions                   B Gross income from all sources            Form 1116, Part I
 3. Other net rental income (loss)                                                               C Gross income sourced at
     Net income                             Schedule E, line 28, column (g)                           shareholder level
     Net loss                               See the Shareholder’s Instructions                   Foreign gross income sourced at corporate level
 4. Interest income
 5a. Ordinary dividends
 5b. Qualified dividends
                                            Form 1040, line 8a
                                            Form 1040, line 9a
                                            Form 1040, line 9b
                                                                                                 D Passive category
                                                                                                 E
                                                                                                 F
                                                                                                     General category
                                                                                                     Other
                                                                                                                                      }     Form 1116, Part I

                                                                                                 Deductions allocated and apportioned at shareholder level
 6. Royalties                               Schedule E, line 4                                   G   Interest expense                    Form 1116, Part I
 7. Net short-term capital gain (loss)      Schedule D, line 5                                   H Other                                 Form 1116, Part I
 8a. Net long-term capital gain (loss)      Schedule D, line 12                                  Deductions allocated and apportioned at corporate level to foreign source
 8b. Collectibles (28%) gain (loss)         28% Rate Gain Worksheet, line 4                      income


                                                                                                                                      }
                                            (Schedule D instructions)                            I   Passive category
                                                                                                 J   General category                       Form 1116, Part I
 8c. Unrecaptured section 1250 gain                See the Shareholder’s Instructions
                                                                                                 K   Other
 9. Net section 1231 gain (loss)                   See the Shareholder’s Instructions
                                                                                                 Other information
10. Other income (loss)                                                                          L   Total foreign taxes paid            Form 1116, Part II
     Code                                                                                        M Total foreign taxes accrued           Form 1116, Part II
    A Other portfolio income (loss)                See the Shareholder’s Instructions            N Reduction in taxes available for
      B    Involuntary conversions                 See the Shareholder’s Instructions                credit                              Form 1116, line 12
      C    Sec. 1256 contracts & straddles         Form 6781, line 1                             O Foreign trading gross receipts        Form 8873
      D    Mining exploration costs recapture      See Pub. 535                                  P Extraterritorial income exclusion     Form 8873
      E    Other income (loss)                     See the Shareholder’s Instructions            Q Other foreign transactions            See the Shareholder’s Instructions




                                                                                                                                     }
11. Section 179 deduction                    See the Shareholder’s Instructions              15. Alternative minimum tax (AMT) items




                                                }
                                                                                                 A Post-1986 depreciation adjustment        See the
12. Other deductions
                                                                                                 B Adjusted gain or loss
    A Cash contributions (50%)                                                                                                              Shareholder’s
                                                                                                 C Depletion (other than oil & gas)
    B Cash contributions (30%)                                                                                                              Instructions and
                                                                                                 D Oil, gas, & geothermal—gross income
    C Noncash contributions (50%)                                                                                                           the Instructions for
                                                                                                 E   Oil, gas, & geothermal—deductions
    D Noncash contributions (30%)                 See the Shareholder’s                                                                     Form 6251
                                                                                                 F   Other AMT items
    E   Capital gain property to a 50%            Instructions
        organization (30%)                                                                   16. Items affecting shareholder basis




                                                                                                                                     }
    F   Capital gain property (20%)                                                              A Tax-exempt interest income            Form 1040, line 8b
    G   Contributions (100%)                                                                     B Other tax-exempt income
    H   Investment interest expense          Form 4952, line 1                                   C Nondeductible expenses
                                                                                                                                            See the Shareholder’s
    I   Deductions—royalty income            Schedule E, line 19                                 D Distributions
                                                                                                                                            Instructions
    J   Section 59(e)(2) expenditures        See the Shareholder’s Instructions                  E   Repayment of loans from
    K Deductions—portfolio (2% floor)        Schedule A, line 23                                     shareholders
    L Deductions—portfolio (other)           Schedule A, line 28                             17. Other information
    M Preproductive period expenses          See the Shareholder’s Instructions                  A Investment income                     Form 4952, line 4a
    N Commercial revitalization deduction                                                        B Investment expenses                   Form 4952, line 5
        from rental real estate activities   See Form 8582 instructions                          C Qualified rehabilitation expenditures
    O Reforestation expense deduction        See the Shareholder’s Instructions                      (other than rental real estate)     See the Shareholder’s Instructions
    P Domestic production activities                                                             D Basis of energy property              See the Shareholder’s Instructions
        information                          See Form 8903 instructions                          E   Recapture of low-income housing
    Q Qualified production activities income Form 8903, line 7b                                      credit (section 42(j)(5))           Form 8611, line 8




                                                    }
    R Employer’s Form W-2 wages              Form 8903, line 17                                  F   Recapture of low-income housing
    S Other deductions                       See the Shareholder’s Instructions                      credit (other)                      Form 8611, line 8
13. Credits                                                                                      G   Recapture of investment credit      See Form 4255




                                                                                                                                     }
    A Low-income housing credit (section                                                         H   Recapture of other credits          See the Shareholder’s Instructions
        42(j)(5)) from pre-2008 buildings                                                        I   Look-back interest—completed
    B Low-income housing credit (other) from                                                         long-term contracts                 See Form 8697
           pre-2008 buildings                                                                   J    Look-back interest—income forecast
      C    Low-income housing credit (section                                                        method                              See Form 8866
                                                          See the Shareholder’s
           42(j)(5)) from post-2007 buildings                                                   K    Dispositions of property with
                                                          Instructions
      D    Low-income housing credit (other)                                                         section 179 deductions
           from post-2007 buildings                                                              L   Recapture of section 179
      E    Qualified rehabilitation expenditures                                                     deduction
           (rental real estate)                                                                 M    Section 453(l)(3) information
      F    Other rental real estate credits                                                     N    Section 453A(c) information
      G    Other rental credits                                                                 O    Section 1260(b) information




                                                    }
                                                                                                                                           See the Shareholder’s
      H    Undistributed capital gains credit      Form 1040, line 73, box a                     P   Interest allocable to production
                                                                                                                                           Instructions
       I   Biofuel producer credit                                                                   expenditures
      J    Work opportunity credit                                                              Q    CCF nonqualified withdrawals
      K    Disabled access credit                         See the Shareholder’s                 R    Depletion information—oil and gas
      L    Empowerment zone employment                    Instructions                           S   Reserved
           credit                                                                                T   Section 108(i) information
      M    Credit for increasing research                                                       U    Net investment income
           activities                                                                            V   Other information




 QNA                                                                                    68
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 71
                                   Case: 22-5843                  Document: 22                Filed: 11/30/2022                 Page: 72
Schedule K-1 (Form 1120S) 2016                                                                                                                                        Page 2
This list identifies the codes used on Schedule K-1 for all shareholders and provides summarized reporting information for shareholders who file Form 1040.
For detailed reporting and filing information, see the separate Shareholder’s Instructions for Schedule K-1 and the instructions for your income tax return.
                                                                                                Code                                      Report on



                                                                                                                                      }
 1.  Ordinary business income (loss). Determine whether the income (loss) is                     N   Credit for employer social
     passive or nonpassive and enter on your return as follows:                                      security and Medicare taxes
                                            Report on                                            O   Backup withholding                   See the Shareholder’s Instructions
     Passive loss                           See the Shareholder’s Instructions                   P   Other credits
     Passive income                         Schedule E, line 28, column (g)




                                                                                                                                      }
                                                                                             14. Foreign transactions
     Nonpassive loss                        Schedule E, line 28, column (h)                      A Name of country or U.S.
     Nonpassive income                      Schedule E, line 28, column (j)                          possession
 2. Net rental real estate income (loss)    See the Shareholder’s Instructions                   B Gross income from all sources            Form 1116, Part I
 3. Other net rental income (loss)                                                               C Gross income sourced at
     Net income                             Schedule E, line 28, column (g)                           shareholder level
     Net loss                               See the Shareholder’s Instructions                   Foreign gross income sourced at corporate level
 4. Interest income
 5a. Ordinary dividends
 5b. Qualified dividends
                                            Form 1040, line 8a
                                            Form 1040, line 9a
                                            Form 1040, line 9b
                                                                                                 D Passive category
                                                                                                 E
                                                                                                 F
                                                                                                     General category
                                                                                                     Other
                                                                                                                                      }     Form 1116, Part I

                                                                                                 Deductions allocated and apportioned at shareholder level
 6. Royalties                               Schedule E, line 4                                   G   Interest expense                    Form 1116, Part I
 7. Net short-term capital gain (loss)      Schedule D, line 5                                   H Other                                 Form 1116, Part I
 8a. Net long-term capital gain (loss)      Schedule D, line 12                                  Deductions allocated and apportioned at corporate level to foreign source
 8b. Collectibles (28%) gain (loss)         28% Rate Gain Worksheet, line 4                      income


                                                                                                                                      }
                                            (Schedule D instructions)                            I   Passive category
                                                                                                 J   General category                       Form 1116, Part I
 8c. Unrecaptured section 1250 gain                See the Shareholder’s Instructions
                                                                                                 K   Other
 9. Net section 1231 gain (loss)                   See the Shareholder’s Instructions
                                                                                                 Other information
10. Other income (loss)                                                                          L   Total foreign taxes paid            Form 1116, Part II
     Code                                                                                        M Total foreign taxes accrued           Form 1116, Part II
    A Other portfolio income (loss)                See the Shareholder’s Instructions            N Reduction in taxes available for
      B    Involuntary conversions                 See the Shareholder’s Instructions                credit                              Form 1116, line 12
      C    Sec. 1256 contracts & straddles         Form 6781, line 1                             O Foreign trading gross receipts        Form 8873
      D    Mining exploration costs recapture      See Pub. 535                                  P Extraterritorial income exclusion     Form 8873
      E    Other income (loss)                     See the Shareholder’s Instructions            Q Other foreign transactions            See the Shareholder’s Instructions




                                                                                                                                     }
11. Section 179 deduction                    See the Shareholder’s Instructions              15. Alternative minimum tax (AMT) items




                                                }
                                                                                                 A Post-1986 depreciation adjustment        See the
12. Other deductions
                                                                                                 B Adjusted gain or loss
    A Cash contributions (50%)                                                                                                              Shareholder’s
                                                                                                 C Depletion (other than oil & gas)
    B Cash contributions (30%)                                                                                                              Instructions and
                                                                                                 D Oil, gas, & geothermal—gross income
    C Noncash contributions (50%)                                                                                                           the Instructions for
                                                                                                 E   Oil, gas, & geothermal—deductions
    D Noncash contributions (30%)                 See the Shareholder’s                                                                     Form 6251
                                                                                                 F   Other AMT items
    E   Capital gain property to a 50%            Instructions
        organization (30%)                                                                   16. Items affecting shareholder basis




                                                                                                                                     }
    F   Capital gain property (20%)                                                              A Tax-exempt interest income            Form 1040, line 8b
    G   Contributions (100%)                                                                     B Other tax-exempt income
    H   Investment interest expense          Form 4952, line 1                                   C Nondeductible expenses
                                                                                                                                            See the Shareholder’s
    I   Deductions—royalty income            Schedule E, line 19                                 D Distributions
                                                                                                                                            Instructions
    J   Section 59(e)(2) expenditures        See the Shareholder’s Instructions                  E   Repayment of loans from
    K Deductions—portfolio (2% floor)        Schedule A, line 23                                     shareholders
    L Deductions—portfolio (other)           Schedule A, line 28                             17. Other information
    M Preproductive period expenses          See the Shareholder’s Instructions                  A Investment income                     Form 4952, line 4a
    N Commercial revitalization deduction                                                        B Investment expenses                   Form 4952, line 5
        from rental real estate activities   See Form 8582 instructions                          C Qualified rehabilitation expenditures
    O Reforestation expense deduction        See the Shareholder’s Instructions                      (other than rental real estate)     See the Shareholder’s Instructions
    P Domestic production activities                                                             D Basis of energy property              See the Shareholder’s Instructions
        information                          See Form 8903 instructions                          E   Recapture of low-income housing
    Q Qualified production activities income Form 8903, line 7b                                      credit (section 42(j)(5))           Form 8611, line 8




                                                    }
    R Employer’s Form W-2 wages              Form 8903, line 17                                  F   Recapture of low-income housing
    S Other deductions                       See the Shareholder’s Instructions                      credit (other)                      Form 8611, line 8
13. Credits                                                                                      G   Recapture of investment credit      See Form 4255




                                                                                                                                     }
    A Low-income housing credit (section                                                         H   Recapture of other credits          See the Shareholder’s Instructions
        42(j)(5)) from pre-2008 buildings                                                        I   Look-back interest—completed
    B Low-income housing credit (other) from                                                         long-term contracts                 See Form 8697
           pre-2008 buildings                                                                   J    Look-back interest—income forecast
      C    Low-income housing credit (section                                                        method                              See Form 8866
                                                          See the Shareholder’s
           42(j)(5)) from post-2007 buildings                                                   K    Dispositions of property with
                                                          Instructions
      D    Low-income housing credit (other)                                                         section 179 deductions
           from post-2007 buildings                                                              L   Recapture of section 179
      E    Qualified rehabilitation expenditures                                                     deduction
           (rental real estate)                                                                 M    Section 453(l)(3) information
      F    Other rental real estate credits                                                     N    Section 453A(c) information
      G    Other rental credits                                                                 O    Section 1260(b) information




                                                    }
                                                                                                                                           See the Shareholder’s
      H    Undistributed capital gains credit      Form 1040, line 73, box a                     P   Interest allocable to production
                                                                                                                                           Instructions
       I   Biofuel producer credit                                                                   expenditures
      J    Work opportunity credit                                                              Q    CCF nonqualified withdrawals
      K    Disabled access credit                         See the Shareholder’s                 R    Depletion information—oil and gas
      L    Empowerment zone employment                    Instructions                           S   Reserved
           credit                                                                                T   Section 108(i) information
      M    Credit for increasing research                                                       U    Net investment income
           activities                                                                            V   Other information




 QNA                                                                                    70
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 73
                                   Case: 22-5843                  Document: 22                Filed: 11/30/2022                 Page: 74
Schedule K-1 (Form 1120S) 2016                                                                                                                                        Page 2
This list identifies the codes used on Schedule K-1 for all shareholders and provides summarized reporting information for shareholders who file Form 1040.
For detailed reporting and filing information, see the separate Shareholder’s Instructions for Schedule K-1 and the instructions for your income tax return.
                                                                                                Code                                      Report on



                                                                                                                                      }
 1.  Ordinary business income (loss). Determine whether the income (loss) is                     N   Credit for employer social
     passive or nonpassive and enter on your return as follows:                                      security and Medicare taxes
                                            Report on                                            O   Backup withholding                   See the Shareholder’s Instructions
     Passive loss                           See the Shareholder’s Instructions                   P   Other credits
     Passive income                         Schedule E, line 28, column (g)




                                                                                                                                      }
                                                                                             14. Foreign transactions
     Nonpassive loss                        Schedule E, line 28, column (h)                      A Name of country or U.S.
     Nonpassive income                      Schedule E, line 28, column (j)                          possession
 2. Net rental real estate income (loss)    See the Shareholder’s Instructions                   B Gross income from all sources            Form 1116, Part I
 3. Other net rental income (loss)                                                               C Gross income sourced at
     Net income                             Schedule E, line 28, column (g)                           shareholder level
     Net loss                               See the Shareholder’s Instructions                   Foreign gross income sourced at corporate level
 4. Interest income
 5a. Ordinary dividends
 5b. Qualified dividends
                                            Form 1040, line 8a
                                            Form 1040, line 9a
                                            Form 1040, line 9b
                                                                                                 D Passive category
                                                                                                 E
                                                                                                 F
                                                                                                     General category
                                                                                                     Other
                                                                                                                                      }     Form 1116, Part I

                                                                                                 Deductions allocated and apportioned at shareholder level
 6. Royalties                               Schedule E, line 4                                   G   Interest expense                    Form 1116, Part I
 7. Net short-term capital gain (loss)      Schedule D, line 5                                   H Other                                 Form 1116, Part I
 8a. Net long-term capital gain (loss)      Schedule D, line 12                                  Deductions allocated and apportioned at corporate level to foreign source
 8b. Collectibles (28%) gain (loss)         28% Rate Gain Worksheet, line 4                      income


                                                                                                                                      }
                                            (Schedule D instructions)                            I   Passive category
                                                                                                 J   General category                       Form 1116, Part I
 8c. Unrecaptured section 1250 gain                See the Shareholder’s Instructions
                                                                                                 K   Other
 9. Net section 1231 gain (loss)                   See the Shareholder’s Instructions
                                                                                                 Other information
10. Other income (loss)                                                                          L   Total foreign taxes paid            Form 1116, Part II
     Code                                                                                        M Total foreign taxes accrued           Form 1116, Part II
    A Other portfolio income (loss)                See the Shareholder’s Instructions            N Reduction in taxes available for
      B    Involuntary conversions                 See the Shareholder’s Instructions                credit                              Form 1116, line 12
      C    Sec. 1256 contracts & straddles         Form 6781, line 1                             O Foreign trading gross receipts        Form 8873
      D    Mining exploration costs recapture      See Pub. 535                                  P Extraterritorial income exclusion     Form 8873
      E    Other income (loss)                     See the Shareholder’s Instructions            Q Other foreign transactions            See the Shareholder’s Instructions




                                                                                                                                     }
11. Section 179 deduction                    See the Shareholder’s Instructions              15. Alternative minimum tax (AMT) items




                                                }
                                                                                                 A Post-1986 depreciation adjustment        See the
12. Other deductions
                                                                                                 B Adjusted gain or loss
    A Cash contributions (50%)                                                                                                              Shareholder’s
                                                                                                 C Depletion (other than oil & gas)
    B Cash contributions (30%)                                                                                                              Instructions and
                                                                                                 D Oil, gas, & geothermal—gross income
    C Noncash contributions (50%)                                                                                                           the Instructions for
                                                                                                 E   Oil, gas, & geothermal—deductions
    D Noncash contributions (30%)                 See the Shareholder’s                                                                     Form 6251
                                                                                                 F   Other AMT items
    E   Capital gain property to a 50%            Instructions
        organization (30%)                                                                   16. Items affecting shareholder basis




                                                                                                                                     }
    F   Capital gain property (20%)                                                              A Tax-exempt interest income            Form 1040, line 8b
    G   Contributions (100%)                                                                     B Other tax-exempt income
    H   Investment interest expense          Form 4952, line 1                                   C Nondeductible expenses
                                                                                                                                            See the Shareholder’s
    I   Deductions—royalty income            Schedule E, line 19                                 D Distributions
                                                                                                                                            Instructions
    J   Section 59(e)(2) expenditures        See the Shareholder’s Instructions                  E   Repayment of loans from
    K Deductions—portfolio (2% floor)        Schedule A, line 23                                     shareholders
    L Deductions—portfolio (other)           Schedule A, line 28                             17. Other information
    M Preproductive period expenses          See the Shareholder’s Instructions                  A Investment income                     Form 4952, line 4a
    N Commercial revitalization deduction                                                        B Investment expenses                   Form 4952, line 5
        from rental real estate activities   See Form 8582 instructions                          C Qualified rehabilitation expenditures
    O Reforestation expense deduction        See the Shareholder’s Instructions                      (other than rental real estate)     See the Shareholder’s Instructions
    P Domestic production activities                                                             D Basis of energy property              See the Shareholder’s Instructions
        information                          See Form 8903 instructions                          E   Recapture of low-income housing
    Q Qualified production activities income Form 8903, line 7b                                      credit (section 42(j)(5))           Form 8611, line 8




                                                    }
    R Employer’s Form W-2 wages              Form 8903, line 17                                  F   Recapture of low-income housing
    S Other deductions                       See the Shareholder’s Instructions                      credit (other)                      Form 8611, line 8
13. Credits                                                                                      G   Recapture of investment credit      See Form 4255




                                                                                                                                     }
    A Low-income housing credit (section                                                         H   Recapture of other credits          See the Shareholder’s Instructions
        42(j)(5)) from pre-2008 buildings                                                        I   Look-back interest—completed
    B Low-income housing credit (other) from                                                         long-term contracts                 See Form 8697
           pre-2008 buildings                                                                   J    Look-back interest—income forecast
      C    Low-income housing credit (section                                                        method                              See Form 8866
                                                          See the Shareholder’s
           42(j)(5)) from post-2007 buildings                                                   K    Dispositions of property with
                                                          Instructions
      D    Low-income housing credit (other)                                                         section 179 deductions
           from post-2007 buildings                                                              L   Recapture of section 179
      E    Qualified rehabilitation expenditures                                                     deduction
           (rental real estate)                                                                 M    Section 453(l)(3) information
      F    Other rental real estate credits                                                     N    Section 453A(c) information
      G    Other rental credits                                                                 O    Section 1260(b) information




                                                    }
                                                                                                                                           See the Shareholder’s
      H    Undistributed capital gains credit      Form 1040, line 73, box a                     P   Interest allocable to production
                                                                                                                                           Instructions
       I   Biofuel producer credit                                                                   expenditures
      J    Work opportunity credit                                                              Q    CCF nonqualified withdrawals
      K    Disabled access credit                         See the Shareholder’s                 R    Depletion information—oil and gas
      L    Empowerment zone employment                    Instructions                           S   Reserved
           credit                                                                                T   Section 108(i) information
      M    Credit for increasing research                                                       U    Net investment income
           activities                                                                            V   Other information




 QNA                                                                                    72
                                   Case: 22-5843                  Document: 22                   Filed: 11/30/2022                Page: 75

Form   4562                                                Depreciation and Amortization
                                                            (Including Information on Listed Property)
                                                                                                                                                        OMB No. 1545-0172


                                                                                                                                                         2016
                                                                            a Attach to your tax return.
Department of the Treasury                                                                                                                              Attachment
                                   a Information about Form 4562 and its separate instructions is at www.irs.gov/form4562.                              Sequence No. 179
Internal Revenue Service (99)
Name(s) shown on return                                                     Business or activity to which this form relates                 S 1 Identifying number
PLAYERS DUGOUT INC                                                          S-CORPORATION
 Part I        Election To Expense Certain Property Under Section 179
               Note: If you have any listed property, complete Part V before you complete Part I.
   1   Maximum amount (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                              1
   2   Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . .                                                2
   3   Threshold cost of section 179 property before reduction in limitation (see instructions) . . . . . .                                         3
   4   Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . .                                         4
   5   Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
       separately, see instructions . . . . . . . . . . . . . . . . . . . . . . . . .                                                               5
   6                       (a) Description of property                                (b) Cost (business use only)            (c) Elected cost




  7 Listed property. Enter the amount from line 29 . . . . . . . . .                    7
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7              . . . . . .      8
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . .                         9
 10 Carryover of disallowed deduction from line 13 of your 2015 Form 4562 . . . . . . . . . . .                        10
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 (see instructions) 11
 12 Section 179 expense deduction. Add lines 9 and 10, but don’t enter more than line 11 . . . . . .                   12
 13 Carryover of disallowed deduction to 2017. Add lines 9 and 10, less line 12 a                13
Note: Don’t use Part II or Part III below for listed property. Instead, use Part V.
 Part II Special Depreciation Allowance and Other Depreciation (Don’t include listed property.) (See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service
     during the tax year (see instructions) . . . . . . . . . . . . . . . . . . . . . .                                14
 15 Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . .                             15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . .                                    16
 Part III MACRS Depreciation (Don’t include listed property.) (See instructions.)
                                                                  Section A
 17 MACRS deductions for assets placed in service in tax years beginning before 2016 . . . . . . .                     17 2260
 18 If you are electing to group any assets placed in service during the tax year into one or more general
    asset accounts, check here . . . . . . . . . . . . . . . . . . . . . . a
              Section B—Assets Placed in Service During 2016 Tax Year Using the General Depreciation System
                                   (b) Month and year    (c) Basis for depreciation
                                                                                      (d) Recovery
  (a) Classification of property        placed in         (business/investment use                      (e) Convention         (f) Method          (g) Depreciation deduction
                                                                                          period
                                         service           only—see instructions)
 19a 3-year property
   b 5-year property
   c 7-year property
   d 10-year property
   e 15-year property
   f 20-year property
   g 25-year property                                                                  25 yrs.                                    S/L
   h Residential rental                                                               27.5 yrs.              MM                   S/L
      property                                                                        27.5 yrs.              MM                   S/L
    i Nonresidential real                                                              39 yrs.               MM                   S/L
      property                                                                                               MM                   S/L
             Section C—Assets Placed in Service During 2016 Tax Year Using the Alternative Depreciation System
 20a Class life                                                                           S/L
   b 12-year                                              12 yrs.                         S/L
   c 40-year                                              40 yrs.       MM                S/L
 Part IV Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . .                                                             21
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
    here and on the appropriate lines of your return. Partnerships and S corporations—see instructions .                                           22                2260
 23 For assets shown above and placed in service during the current year, enter the
    portion of the basis attributable to section 263A costs   . . . . . . .            23
For Paperwork Reduction Act Notice, see separate instructions.                                                                                             Form 4562 (2016)
 QNA                                                                                      73
              Case: 22-5843 Document: 22 Filed: 11/30/2022   Page: 76
         1120S SUPPORTING STATEMENTS FOR

PLAYERS DUGOUT INC

PO BOX 406
ELIZABETHTOWN, KY 42702


**** Schedule of Other Deductions:

Description
______________________________ Amount
                               ___________
AUTO EXPENSE                           9297
PAYPAL FEES                              35
SOFTWARE SUPPORT EXPENSE              12380
VELOCITY PER PROGRAM PMTS             23449
SUPPLIES                               7304
WEB HOSTING EXPENSE                     239
CREDIT CARD PROCESSING FEE             1305
MISC EXPENSE                            241
ACCOUNTING                             2900
CLEANING & JANITORIAL EXPENSE           845
MEALS AND ENTERTAINMENT                3583
INSURANCE PREMIUMS                    14206
LEGAL AND PROFESSIONAL FEES            8568
MEMBERSHIP DUES                         225
OFFICE SUPPLIES                        2676
POSTAGE                                5496
TRAVEL                                 2546
UTILITIES                             13261
BANK CHARGES                             33
CAMP EXPENSE                            250
                               -----------
                                    108839


**** Schedule L - Other Assets:

Description
______________________________ Beginning
                               ___________ Ending
                                           ___________
DEPOSITS                              7690        7690
                               ----------- -----------
                                      7690        7690


**** Schedule L - Other Current Liabilities:

Description
______________________________ Beginning
                               ___________ Ending
                                           ___________
PAYROLL LIABILITIES                  19130        2437
                               ----------- -----------
                                     19130        2437


**** Schedule L - Other Liabilities:

Description
___________________________________ Beginning
                                    ___________ Ending
                                                ___________
LEASE DEPOSIT FROM ETOWN GYMNASTICS        5000        5000
                                    ----------- -----------
                                           5000        5000




                                        74
              Case: 22-5843 Document: 22 Filed: 11/30/2022   Page: 77
         1120S SUPPORTING STATEMENTS FOR

PLAYERS DUGOUT INC

PO BOX 406
ELIZABETHTOWN, KY 42702


**** Schedule M-1 - Expenses Recorded on Books:

Description
______________________________ Amount
                               ___________
NONDEDUCTIBLE EXPENSES                6060
                               -----------
                                      6060


**** Schedule M-2 - Other Additions - Column A:

Description
______________________________ Amount
                               ___________
ACCUMULATED EP                        42902
                               -----------
                                      42902


**** Schedule M-2 - Other Reductions - Column A:

Description
______________________________ Amount
                               ___________
NONDEDUCTIBLE EXPENSES                6060
NONDEDUCTIBLE MEALS                   3583
                               -----------
                                      9643




                                        75
             Case: 22-5843 Document: 22   Filed: 11/30/2022   Page: 78
           1120S SUPPORTING NOTES FOR

PLAYERS DUGOUT INC

PO BOX 406
ELIZABETHTOWN, KY 42702


**** Schedule of Deductions - Taxes and Licenses:

Description
______________________________ Amount
                               ___________
LICENSE AND FEES EXPENSE                 40
KY INCOME TAX                           175
PAYROLL TAXES                          9965
PROPERTY TAX                            336
                               -----------
                                      10516


**** Schedule of Deductions - Interest:

Description
______________________________ Amount
                               ___________
CREDIT CARD FINANCE CHARGE              27
                               -----------
                                        27




                                     76
                      Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 79
               STATEMENT OF DEPRECIATION FOR:                             SCHEDULE: S-1

                   [        [ Cost [         [       [       [        [      [Life [       [ ADS [ Next 
       Description [ Date [ or other [       [ Bonus [       [ Accum [Method [ or [Deprec [ Deprec [ Year's 

       of Property [
                    Acquired[ Basis [Sec 179 [ Deprec [ Basis [ Deprec [Used [Rate [        [       [ Deprec 

DESK 1             [11/09/99[ 283 [          [       [ 283 [ 283 [MACRS [ 5.0 [            [       [         

SWIVEL CHAIR 2     [11/09/99[ 107 [          [       [ 107 [ 107 [MACRS [ 5.0 [            [       [         

REFRIGERATOR       [11/15/99[ 423 [          [       [ 423 [ 423 [MACRS [ 5.0 [            [       [         

OUTSIDE P O SIGN   [11/15/99[ 3000 [         [       [ 3000 [ 3000 [MACRS [ 5.0 [          [       [         

RCA 19 IN TV VCR   [11/15/99[ 211 [          [       [ 211 [ 211 [MACRS [ 3.0 [            [       [         

RCA 19 IN TV 1     [11/15/99[ 147 [          [       [ 147 [ 147 [MACRS [ 3.0 [            [       [         

TOKEN MACHINE      [11/16/99[ 1266 [         [       [ 1266 [ 1266 [MACRS [ 5.0 [          [       [         

CAGES NETS FUNCTIO [11/25/99[ 47836 [        [       [ 47836 [ 47836 [MACRS [ 5.0 [        [       [         

CASH REGISTER      [11/29/99[ 439 [          [       [ 439 [ 439 [MACRS [ 5.0 [            [       [         

COMPUTER IBM DIREC [09/30/02[ 3633 [         [       [ 3633 [ 3633 [MACRS [ 5.0 [          [       [         

RICHO OFFICE COPIE [01/16/04[ 1500 [ 750 [           [ 750 [ 1500 [MACRS [ 5.0 [           [       [         

PORTABLE CABINETS  [03/24/06[ 2980 [         [       [ 2980 [ 2980 [MACRS [ 7.0 [          [       [         

EQUIPMENT          [11/13/06[ 682 [          [       [ 682 [ 682 [MACRS [ 5.0 [            [       [         

UMBRELLA TABLES CH [05/01/10[ 582 [          [       [ 582 [ 486 [MACRS [ 7.0 [         71 [    71 [      25 

TABLE CHAIRS W UMB [06/10/10[ 738 [          [       [ 738 [ 617 [MACRS [ 7.0 [         90 [    90 [      31 

CUB VADET FOR FIEL [12/15/10[ 6126 [         [       [ 6126 [ 4613 [MACRS [ 7.0 [      750 [   750 [    376 

2010 MERCURY MILAN [11/29/11[ 10595 [        [       [ 10595 [ 10595 [MACRS [ 5.0 [        [   610 [         

DELL COMPUTERS     [01/08/13[ 2198 [ 2198 [          [       [ 2198 [MACRS [ 5.0 [         [       [         

F150 2002          [06/20/13[ 16714 [ 5000 [         [ 11714 [ 13340 [MACRS [ 5.0 [ 1349 [ 1349 [      1349 

XMARK LAWN MOWER   [10/08/13[ 11565 [ 11565 [        [       [ 11565 [MACRS [ 7.0 [        [       [         

TVS                [09/25/15[ 772 [ 772 [            [       [ 772 [SL       [ 5.0 [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         


                   [        [        [       [       [       [        [      [     [       [       [         


TOTALS:             [        [ 111797 [ 20285 [       [ 91512 [ 106693 [      [     [ 2260 [ 2870 [     1781 
 QNA                                                 77
                      Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 80
     STATEMENT OF STATE DEPRECIATION FOR:                                   SCHEDULE: S-1

                   [        [ Cost [         [       [       [        [      [Life [       [ ADS [ Next 
       Description [ Date [ or other [       [ Bonus [       [ Accum [Method [ or [Deprec [ Deprec [ Year's 

       of Property [
                    Acquired[ Basis [Sec 179 [ Deprec [ Basis [ Deprec [Used [Rate [        [       [ Deprec 

DESK 1             [11/09/99[ 283 [          [       [ 283 [ 283 [MACRS [ 5.0 [            [       [         

SWIVEL CHAIR 2     [11/09/99[ 107 [          [       [ 107 [ 107 [MACRS [ 5.0 [            [       [         

REFRIGERATOR       [11/15/99[ 423 [          [       [ 423 [ 423 [MACRS [ 5.0 [            [       [         

OUTSIDE P O SIGN   [11/15/99[ 3000 [         [       [ 3000 [ 3000 [MACRS [ 5.0 [          [       [         

RCA 19 IN TV VCR   [11/15/99[ 211 [          [       [ 211 [ 211 [MACRS [ 3.0 [            [       [         

RCA 19 IN TV 1     [11/15/99[ 147 [          [       [ 147 [ 147 [MACRS [ 3.0 [            [       [         

TOKEN MACHINE      [11/16/99[ 1266 [         [       [ 1266 [ 1266 [MACRS [ 5.0 [          [       [         

CAGES NETS FUNCTIO [11/25/99[ 47836 [        [       [ 47836 [ 47836 [MACRS [ 5.0 [        [       [         

CASH REGISTER      [11/29/99[ 439 [          [       [ 439 [ 439 [MACRS [ 5.0 [            [       [         

COMPUTER IBM DIREC [09/30/02[ 3633 [         [       [ 3633 [         [MACRS [ 5.0 [       [       [         

RICHO OFFICE COPIE [01/16/04[ 1500 [ 750 [           [ 750 [          [MACRS [ 5.0 [       [       [         

PORTABLE CABINETS  [03/24/06[ 2980 [         [       [ 2980 [         [MACRS [ 7.0 [       [       [         

EQUIPMENT          [11/13/06[ 682 [          [       [ 682 [          [MACRS [ 5.0 [       [       [         

UMBRELLA TABLES CH [05/01/10[ 582 [          [       [ 582 [          [MACRS [ 7.0 [    71 [       [      36 

TABLE CHAIRS W UMB [06/10/10[ 738 [          [       [ 738 [          [MACRS [ 7.0 [    90 [       [      45 

CUB VADET FOR FIEL [12/15/10[ 6126 [         [       [ 6126 [         [MACRS [ 7.0 [   750 [       [    376 

2010 MERCURY MILAN [11/29/11[ 10595 [        [       [ 10595 [ 10595 [MACRS [ 5.0 [        [       [         

DELL COMPUTERS     [01/08/13[ 2198 [ 2198 [          [       [        [MACRS [ 5.0 [       [       [         

F150 2002          [06/20/13[ 16714 [ 5000 [         [ 11714 [        [MACRS [ 5.0 [ 1349 [        [   1349 

XMARK LAWN MOWER   [10/08/13[ 11565 [ 11565 [        [       [        [MACRS [ 7.0 [       [       [         

TVS                [09/25/15[ 772 [ 772 [            [       [        [SL    [ 5.0 [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         

                   [        [        [       [       [       [        [      [     [       [       [         


                   [        [        [       [       [       [        [      [     [       [       [         


TOTALS:             [        [ 111797 [ 20285 [       [ 91512 [ 64307 [       [     [ 2260 [        [   1806 
 QNA                                                 78
                                 Case: 22-5843                    Document: 22                  Filed: 11/30/2022                    Page: 81

Form   7004
(Rev. December 2016)
                                     Application for Automatic Extension of Time To File Certain
                                       Business Income Tax, Information, and Other Returns                                                                     OMB No. 1545-0233
                                                              a
                                                         File a separate application for each return.
Department of the Treasury
                                  a Information about Form 7004 and its separate instructions is at www.irs.gov/form7004.
Internal Revenue Service
                   Name                                                                                                                      Identifying number

Print                   PLAYERS DUGOUT INC
                   Number, street, and room or suite no. (If P.O. box, see instructions.)
or
                        PO BOX 406
Type               City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country’s practice for entering postal code)).

                        ELIZABETHTOWN, KY 42702
Note: File request for extension by the due date of the return for which the extension is granted. See instructions before completing this form.
 Part I      Automatic Extension for C Corporations With Tax Years Ending December 31. See instructions.
   1a Enter the form code for the return listed below that this application is for .                             .   .   .   .   .   .   .    .   .   .    .   .   .   .
Application                                             Form          Application                                                                                          Form
Is For:                                                 Code          Is For:                                                                                              Code
Form 1120                                                                     12            Form 1120-ND (section 4951 taxes)                                               20
Form 1120-C                                                                   34            Form 1120-PC                                                                    21
Form 1120-F                                                                   15            Form 1120-POL                                                                   22
Form 1120-FSC                                                                 16            Form 1120-REIT                                                                  23
Form 1120-H                                                                   17            Form 1120-RIC                                                                   24
Form 1120-L                                                                   18            Form 1120-SF                                                                    26
Form 1120-ND                                                                  19
 Part II         Automatic Extension for Certain Estates and Trusts. See instructions.
    b Enter the form code for the return listed below that this application is for .                             .   .   .   .   .   .   .    .   .   .    .   .   .   .
Application                                             Form          Application                                                                                          Form
Is For:                                                 Code          Is For:                                                                                              Code
Form 1041 (estate other than a bankruptcy estate)                             04            Form 1041 (trust)                                                               05
Part III         Automatic Extension for Entities Not Using Part I, II, or IV. See instructions.
    c Enter the form code for the return listed below that this application is for .                             .   .   .   .   .   .   .    .   .   .    .   .   .   .         2 5
Application                                             Form          Application                                                                                          Form
Is For:                                                 Code          Is For:                                                                                              Code
Form 706-GS(D)                                                                01            Form 1120-ND (section 4951 taxes)                                               20
Form 706-GS(T)                                                                02            Form 1120-PC                                                                    21
Form 1041 (bankruptcy estate only)                                            03            Form 1120-POL                                                                   22
Form 1041-N                                                                   06            Form 1120-REIT                                                                  23
Form 1041-QFT                                                                 07            Form 1120-RIC                                                                   24
Form 1042                                                                     08            Form 1120S                                                                      25
Form 1065                                                                     09            Form 1120-SF                                                                    26
Form 1065-B                                                                   10            Form 3520-A                                                                     27
Form 1066                                                                     11            Form 8612                                                                       28
Form 1120                                                                     12            Form 8613                                                                       29
Form 1120-C                                                                   34            Form 8725                                                                       30
Form 1120-F                                                                   15            Form 8804                                                                       31
Form 1120-FSC                                                                 16            Form 8831                                                                       32
Form 1120-H                                                                   17            Form 8876                                                                       33
Form 1120-L                                                                   18            Form 8924                                                                       35
Form 1120-ND                                                                  19            Form 8928                                                                       36
Part IV          Automatic Extension for C Corporations With Tax Years Ending June 30. See instructions.
    d Enter the form code for the return listed below that this application is for .                             .   .   .   .   .   .   .    .   .   .    .   .   .   .
Application                                             Form          Application                                                                                          Form
Is For:                                                 Code          Is For:                                                                                              Code
Form 1120                                                                     12            Form 1120-ND (section 4951 taxes)                                               20
Form 1120-C                                                                   34            Form 1120-PC                                                                    21
Form 1120-F                                                                   15            Form 1120-POL                                                                   22
Form 1120-FSC                                                                 16            Form 1120-REIT                                                                  23
Form 1120-H                                                                   17            Form 1120-RIC                                                                   24
Form 1120-L                                                                   18            Form 1120-SF                                                                    26
Form 1120-ND                                                                  19
For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                            Form 7004 (Rev. 12-2016)
QNA

                                                                                        79
                           Case: 22-5843                Document: 22                    Filed: 11/30/2022                   Page: 82
Form 7004 (Rev. 12-2016)                                                                                                                                 Page 2
 Part V       All Filers Must Complete This Part
  2     If the organization is a foreign corporation that does not have an office or place of business in the United States,
        check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
  3     If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
        check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
        If checked, attach a statement listing the name, address, and Employer Identification Number (EIN) for each member
        covered by this application.
  4   If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here . a
  5a The application is for calendar year 20 16 , or tax year beginning                   , 20      , and ending                 , 20
    b Short tax year. If this tax year is less than 12 months, check the reason:        Initial return        Final return
           Change in accounting period           Consolidated return to be filed        Other (see instructions—attach explanation)

  6     Tentative total tax .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   6

  7     Total payments and credits (see instructions) .             .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   7

  8     Balance due. Subtract line 7 from line 6 (see instructions) .               .   .   .   .   .   .   .   .   .   .   .   .   8
QNA                                                                                                                                     Form 7004 (Rev. 12-2016)




                                                                                80
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 83
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 84
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 85
                                   Case: 22-5843                     Document: 22                     Filed: 11/30/2022                       Page: 86
Form 720S (2016)                                                                                                                                                           Page 2
Commonwealth of Kentucky
DEPARTMENT OF REVENUE




                                                        PART III—ORDINARY INCOME (LOSS) COMPUTATION

   1. Federal ordinary income (loss) (see instructions) ............................................................................................ 1                 23757 00
  ADDITIONS
   2. State taxes based on net/gross income ................................................................................................................ 2               00
   3. Federal depreciation (do not include Section 179 expense deduction).......................................................... 3                                        00
   4. Related party expenses (attach Schedule RPC).............................................................................................................. 4           00
   5. Other (attach Schedule O-PTE) ........................................................................................................................... 5            00
   6. Total (add lines 1 through 5) .............................................................................................................................. 6   23757 00
  SUBTRACTIONS
   7. Federal work opportunity credit......................................................................................................................... 7             00
   8. Kentucky depreciation (do not include Section 179 expense deduction) ....................................................... 8                                         00
   9. Other (attach Schedule O-PTE) ........................................................................................................................... 9            00
  10. Kentucky ordinary income (loss) (line 6 less lines 7 through 9) ..................................................................... 10                         23757 00

                                    PART IV—EXPLANATION OF FINAL RETURN AND/OR SHORT–PERIOD RETURN

           Ceased operations in Kentucky                                                              Change in ﬁling status
           Change of ownership                                                                        Merger
           Successor to previous business                                                             Other _________________________________________________

                                                    PART V—EXPLANATION OF AMENDED RETURN CHANGES




 OFFICER INFORMATION (Failure to Provide Requested Information May Result in a Penalty)
 Attach a schedule listing the name, home address and Social Security number of the vice president, secretary and treasurer.
 Has the attached ofﬁcer information changed from the last return ﬁled?                                     x     Yes                       No
 President’s Name JOSEPH                     A NEWTON JR                                                President’s Home Address 3867                    MUNFORDVILLE RD
 President’s Social Security Number                                                                   SONORA, KY 42776
 Date Became President              0 4         /3 0            /1          9 9         9
 I, the undersigned, declare under the penalties of perjury, that I have examined this return, including all accompanying schedules and statements,
 and to the best of my knowledge and belief, it is true, correct and complete.

 ✍               Signature of principal ofﬁcer or chief accounting ofﬁcer                                                        Date

         JOSEPH NEWTON
                 Printed name of principal ofﬁcer or chief accounting ofﬁcer
         ACCOUNTING AND TAX PROFESSIONAL
                 Name of person or ﬁrm preparing return                                                                   SSN, PTIN or FEIN


    Federal Form 1120S, all pages                                                                   May the DOR discuss this return with the preparer?
                                                                                                     Yes
                                                                                                    x         No
    and any supporting schedules
    must be attached.                                                                               Email Address: TAXPRO@BBTEL.COM

                                                                                                    Telephone No.:      (270) 982-5200
    Make check payable to:
    Kentucky State Treasurer


      Mail to:             REFUNDS OR NO TAX DUE                             Kentucky Department of Revenue, P. O. Box 856905, Louisville, KY 40285


                                     PAYMENTS                               Kentucky Department of Revenue, P. O. Box 856910, Louisville, KY 40285


                                                                               www.revenue.ky.gov
                                                                                              84
 1038
                           Case: 22-5843            Document: 22            Filed: 11/30/2022              Page: 87
Form 720S (2016)                                                                                                                             Page 3
Commonwealth of Kentucky
DEPARTMENT OF REVENUE


                                SCHEDULE Q— KENTUCKY S CORPORATION QUESTIONNAIRE
IMPORTANT: Questions 4—12 must be completed by all                          6(b) Was the S corporation doing business in Kentucky other
S corporations. If this is the S corporation’s initial return or if              than through its interest held in a pass-through entity doing
the S corporation did not ﬁle a return under the same name                       business in Kentucky?  Yes     x No
and same federal I.D. number for the preceding year, questions
                                                                            7.   Are related party costs as deﬁned in KRS 141.205(1)(l) included
1, 2 and 3 must be answered. Failure to do so may result in a
request for a delinquent return.
                                                                                 in this return ?  Yes    x No. If yes, attach Schedule RPC,
                                                                                 Related Party Costs Disclosure Statement, and enter any
                                                                                 related party cost additions on Part I, Line 4.
 1. Indicate whether: (a)  new business; (b)  successor to
    previously existing business which was organized as:                    8.   Is the entity ﬁling this Kentucky tax return organized as a
    (1)  corporation; (2)  partnership; (3)  sole proprietorship;             limited cooperative association as provided by KRS Chapter
    or (4)  other __________________________________________                    272A?  Yes     x No
     If successor to previously existing business, give name,
                                                                            9.   Is the entity ﬁling this Kentucky tax return organized as a
     address and federal I.D. number of the previous business
                                                                                 statutory trust or a series statutory trust as provided by KRS
     organization.
                                                                                 Chapter 386A?  Yes       x No
      ______________________________________________________
      ______________________________________________________                     If yes, is the entity ﬁling this Kentucky tax return a series within
      ______________________________________________________                     a statutory trust?  Yes  No

 2. List the following Kentucky account numbers. Enter N/A for                   If yes, enter the name, address and federal I.D. number of
    any number not applicable.                                                   the statutory trust registered with the Kentucky Secretary of
                                                                                 State:
     Nonresident Income Tax Withholding ____________________                      ______________________________________________________
     Employer Withholding ________________________________                        ______________________________________________________
     Sales and Use Tax Permit ______________________________                      ______________________________________________________
     Consumer Use Tax ____________________________________                        ______________________________________________________
     Unemployment Insurance _____________________________                         ______________________________________________________
     Coal Severance and/or Processing Tax __________________                      ______________________________________________________
                                                                                  ______________________________________________________
 3. If a foreign S corporation, enter the date qualiﬁed to do
                                                                                                                                   x accrual
                                                                            10. Was this return prepared on: (a)  cash basis, (b) 
    business in Kentucky. __ __ / __ __ / __ __
                                                                                basis, (c)  other _____________________________________

                                                                            11. Did the S corporation file a Kentucky tangible personal
 4. The S corporation’s books are in care of: (name and                                                                  x Yes  No
                                                                                property tax return for January 1, 2017? 
    address)
     ______________________________________________________
      ACCOUNTING AND TAX PROS                                                    If yes, list the name and federal I.D. number of entity(ies) ﬁling
     ______________________________________________________
      790 N DIXIE SUITE 400                                                      return(s): ______________________________________________
                                                                                    XX-XXXXXXX      PLAYERS DUGOUT INC
                                                                                  ______________________________________________________
     ______________________________________________________
      ELIZABETHTOWN KY 42701-
                                                                                  ______________________________________________________
 5. Are disregarded entities included in this return?                             ______________________________________________________
     Yes  x No. If yes, list name, address and federal I.D.                     ______________________________________________________
    number of each entity.                                                        ______________________________________________________
     ______________________________________________________                       ______________________________________________________
     ______________________________________________________                       ______________________________________________________
     ______________________________________________________
     ______________________________________________________
     ______________________________________________________
     ______________________________________________________                 12. Is the S corporation currently under audit by the Internal
     ______________________________________________________                     Revenue Service?  Yes     x No
     ______________________________________________________                     If yes, enter years under audit ________________________
6(a) Was the S corporation a partner or member in a pass-through
                                                                                 If the Internal Revenue Service has made final and
     entity doing business in Kentucky?  Yes     x No. If yes,                 unappealable adjustments to the corporation’s
     list name and federal I.D. number of each pass-through
                                                                                 taxable income which have not been reported to the
     entity.
                                                                                 department, check here  and file an amended Form
      ______________________________________________________
                                                                                 720S for each year adjusted. Attach a copy of the ﬁnal
      ______________________________________________________
                                                                                 determination to each amended return.
      ______________________________________________________
      ______________________________________________________
      ______________________________________________________
                                                                       85
 1038
                               Case: 22-5843                 Document: 22                 Filed: 11/30/2022                  Page: 88
Form 720S (2016)                                                                                                                                         Page 4
Schedule K
Commonwealth of Kentucky
DEPARTMENT OF REVENUE


SCHEDULE K—SHAREHOLDERS’ SHARES OF INCOME, CREDITS, DEDUCTIONS, ETC.

SECTION I                                               Pro Rata Share Items                                                                   Total Amount

Income (Loss) and Deductions
 1. Kentucky ordinary income (loss) from trade or business activities
    (page 2, Part III, line 10) ...................................................................................................       1       23757 00
 2. Net income (loss) from rental real estate activities (attach federal Form 8825) ........                                              2                   00
 3. (a) Gross income from other rental activities ................. 3(a)                                                          00
    (b) Less expenses from other rental activities
        (attach schedule) ..........................................................            (b)                               00
    (c) Net income (loss) from other rental activities (line 3a less line 3b) .....................                                    3(c)                   00
 4. Portfolio income (loss):
    (a) Interest income .........................................................................................................      4(a)               00
    (b) Dividend income .......................................................................................................         (b)               00
    (c) Royalty income .........................................................................................................        (c)               00
    (d) Net short-term capital gain (loss) (attach federal Schedule D and Kentucky
        Schedule D, if applicable)..........................................................................................            (d)               00
    (e) Net long-term capital gain (loss) (attach federal Schedule D and Kentucky
        Schedule D, if applicable)..........................................................................................            (e)               00
    (f) Other portfolio income (loss) (attach schedule) .....................................................                            (f)              00
 5. Section 1231 net gain (loss) (other than due to casualty or theft) (attach federal
    Form 4797 and Kentucky Form 4797) ..............................................................................                      5               00
 6. Other income (loss) (attach schedule) ...........................................................................                     6               00
 7. Charitable contributions (attach schedule) and housing for homeless deduction
    (attach Schedule HH) .......................................................................................................          7               00
 8. IRC Section 179 expense deduction (attach federal Form 4562 and Kentucky
    Form 4562) .......................................................................................................................    8               00
 9. Deductions related to portfolio income (loss) (attach schedule) .................................                                     9               00
10. Other deductions (attach schedule) ...............................................................................                   10               00
Investment Interest
11. (a) Interest expense on investment debts .................................................................... 11(a)                                   00
    (b) (1) Investment income included on lines 4(a), 4(b), 4(c) and 4(f) above ............. (b)(1)                                                      00
    (b) (2) Investment expenses included on line 9 above ............................................... (b)(2)                                           00
Tax Credits
12. Kentucky Small Business Tax Credit (attach KEDFA notiﬁcation) ................................                                       12               00
13. Skills Training Investment Tax Credit (attach copy of certiﬁcation(s)) .........................                                     13               00
14. Certiﬁed Rehabilitation Tax Credit (attach copy of certiﬁcation(s)) ..............................                                   14               00
15. Kentucky Unemployment Tax Credit (attach Schedule UTC) .......................................                                       15               00
16. Recycling/Composting Equipment Tax Credit (attach Schedule RC) ...........................                                           16               00
17. Kentucky Investment Fund Tax Credit (attach KEDFA notiﬁcation) ............................                                          17               00
18. Coal Incentive Tax Credit (attach Schedule CI) ..............................................................                        18               00
19. Qualiﬁed Research Facility Tax Credit (attach Schedule QR) ........................................                                  19               00
20. GED Incentive Tax Credit (attach Form DAEL-31) ..........................................................                           20                00
21. Voluntary Environmental Remediation Tax Credit
    (attach Schedule VERB) ...................................................................................................          21                00
22. Biodiesel Tax Credit (attach Schedule BIO) ....................................................................                     22                00
23. Environmental Stewardship Tax Credit (attach Schedule KESA) .................................                                       23                00
                                                                                   86
1038
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 89
                Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 90
     Supporting Statements for Officer Information Client :
________________________________________________________________________________

     ________________
     Name and Address                             _________
                                                    SSN

     JOSEPH J NEWTON
     ELIZABETHTOWN KY 42701




     ADAM C NEWTON
     SONORA KY 42776




                                       88
                                 Case: 22-5843                      Document: 22                     Filed: 11/30/2022         Page: 91
SCHEDULE LLET                                                                                                                               Taxable Year Ending
  41A720LLET (10-16)                                                                                                                           _1 2_ / _1 6_
 Commonwealth of Kentucky                                                                                                                        Mo.    Yr.
 DEPARTMENT OF REVENUE
                                                                LIMITED LIABILITY ENTITY TAX                                      Member of a Combined Group
➤ See instructions.
                                                                                    KRS 141.0401
➤ Attach to Form 720, 720S, 725 or 765.                                                                                          ____ Reason Code
 Name of Corporation or Limited Liability                                                        Federal Identiﬁcation            Kentucky Corporation/LLET
 Pass-through Entity                                                                                   Number                         Account Number
  PLAYERS DUGOUT INC

 Check this box and complete Schedule LLET-C, Limited Liability Entity Tax—Continuation Sheet, if the corporation or limited
     liability pass-through entity ﬁling this tax return is a partner or member of a limited liability pass-through entity or general
     partnership (organized or formed as a general partnership after January 1, 2006) doing business in Kentucky. Enter the total
     amounts from Schedule LLET-C in Section A of this schedule.

Section A—Computation of Gross Receipts and Gross Proﬁts
                                                                                                                            Column A             Column B
                                                                                                                            Kentucky               Total

1. Gross receipts .................................................................................................     1              00                      00
2. Returns and allowances .................................................................................             2              00                      00
3. Gross receipts after returns and allowances
   (line 1 less line 2 or amount from Schedule LLET-C) ...................................                              3              00                      00
4. Cost of goods sold (attach Schedule COGS) ................................................                           4              00                      00
5. Gross proﬁts (line 3 less line 4 or amount from Schedule LLET-C) ............                                        5              00                      00
Section B—Computation of Gross Receipts LLET

1. If gross receipts from all sources (Column B, line 3) are $3,000,000
   or less, STOP and enter $175 on Section D, line 1 .......................................                            1

2. If gross receipts from all sources (Column B, line 3) are greater than
   $3,000,000 but less than $6,000,000, enter the following:

                                                   [
   (Column A, line 3 x 0.00095) – $2,850 x ($6,000,000 – Column A, line 3)
                                                              $3,000,000                                          ]
   but in no case shall the result be less than zero ..........................................                         2              00
3. If gross receipts from all sources (Column B, line 3) are $6,000,000
   or greater, enter the following: Column A, line 3 x 0.00095 .......................                                  3              00
4. Enter the amount from line 2 or line 3..........................................................                     4              00
Section C—Computation of Gross Proﬁts LLET

1. If gross proﬁts from all sources (Column B, line 5) are $3,000,000
   or less, STOP and enter $175 on Section D, line 1 .......................................                            1

2. If gross proﬁts from all sources (Column B, line 5) are greater than
   $3,000,000 but less than $6,000,000, enter the following:

                                                [
   (Column A, line 5 x 0.0075) – $22,500 x ($6,000,000 – Column A, line 5)
                                                                $3,000,000                                       ]
   but in no case shall the result be less than zero............................................                        2              00
3. If gross proﬁts from all sources (Column B, line 5) are $6,000,000
   or greater, enter the following: Column A, line 5 x 0.0075 ........................                                  3              00
4. Enter the amount from line 2 or line 3..........................................................                     4              00
Section D—Computation of LLET
1. Enter the lesser of Section B, line 4 or Section C, line 4, or a minimum
   of $175 on this line and on Form 720 or 720S, Part I, line 1; or Form 725
   or 765, Part II, line 1 ..........................................................................................   1         175 00
                       Mark the applicable Receipts Method box on Form 720, 720S, 725 or 765, page 1, Item B.
                                                                                             89
1038
                                          Case: 22-5843                            Document: 22                           Filed: 11/30/2022                              Page: 92
  (Form 720S)
  KENTUCKY
 SCHEDULE K-1                                                                                                                                                                                       2016
       41A720S(K-1)
 Commonwealth of Kentucky                                                                                                                                         SHAREHOLDER’S SHARE OF
 DEPARTMENT OF REVENUE
                                                                                                                                                              INCOME, CREDITS, DEDUCTIONS, ETC.
➤ See instructions.
Taxable period beginning _______________ , 201 ___, and ending _______________ , 201 ___.

Shareholder’s identifying                                                       S corporation’s FEIN                                                                        Kentucky Corporation/LLET
number ➤                                                                        ➤                                                                                           Account Number ➤


Shareholder’s name, address and ZIP code                                                                            S corporation’s name, address and ZIP code
                                                                                                                    Check if applicable:  Qualiﬁed investment pass-through entity
        ADAM NEWTON                                                                                                       PLAYERS DUGOUT INC
        300 PAR LANE                                                                                                      PO BOX 406
        ELIZABETHTOWN KY 42701                                                                                            ELIZABETHTOWN KY 42702-



A. Shareholder’s percentage of stock ownership for tax year ...............................................................................................➤                                     20.0000 %
B. (1) Resident shareholder's taxable percentage of pro rata share items .........................................................................➤                                                       100%
   (2) Nonresident shareholder’s taxable percentage of pro rata share items (see Schedule A, Section I, line 12) .................➤                                                                          %
C. What type of entity is this shareholder? X Individual  Estate  Trust  Single Member LLC
D. Check the box if nonresident shareholder’s income is reported on:
    Kentucky Nonresident Income Tax Withholding on Distributive Share Income Report
       and Composite Income Tax Return (Form 740NP-WH and Form PTE-WH)
E. Check if applicable:     (1)  Final K-1        (2)  Amended K-1

         IMPORTANT: Refer to Shareholder’s Instructions for Schedule K-1 before entering information from Schedule K-1 on your tax return.

                                                                          Pro Rata Share Items                                                                                                   Amount
Income (Loss)
 1.    Ordinary income (loss) from trade or business activities ..........................................................................................                                1       4751 00
 2.    Net income (loss) from rental real estate activities ....................................................................................................                          2                00
 3.    Net income (loss) from other rental activities ............................................................................................................                        3                00
 4.    Portfolio income (loss):
       (a) Interest ...................................................................................................................................................................   4(a)             00
       (b) Dividends ...............................................................................................................................................................       (b)             00
       (c) Royalties ................................................................................................................................................................      (c)             00
       (d) Net short-term capital gain (loss) ........................................................................................................................                     (d)             00
       (e) Net long-term capital gain (loss)..........................................................................................................................                     (e)             00
       (f) Other portfolio income (loss) (attach schedule)..................................................................................................                               (f)             00
 5.    Section 1231 net gain (loss) (other than due to casualty or theft) ............................................................................                                    5                00
 6.    Other income (loss) (attach schedule) .........................................................................................................................                    6                00
Deductions
 7.    Charitable contributions (attach schedule) and housing for homeless deduction (attach Schedule HH) ..............                                                                   7               00
 8.    IRC Section 179 expense deduction (attach federal Form 4562 and Kentucky Form 4562) ....................................                                                            8               00
 9.    Deductions related to portfolio income (loss) (attach schedule) ...............................................................................                                     9               00
10.    Other deductions (attach schedule) .............................................................................................................................                   10               00
Investment Interest
11.    (a)    Interest expense on investment debts ................................................................................................................ 11(a)                                  00
       (b) (1)        Investment income included on lines 4(a), 4(b), 4(c) and 4(f) above ........................................................ (b)(1)                                                  00
       (b) (2)        Investment expenses included on line 9 above.......................................................................................... (b)(2)                                        00
Tax Credits
12.    Kentucky Small Business Tax Credit ............................................................................................................................                    12               00
13.    Skills Training Investment Tax Credit ............................................................................................................................                 13               00
14.    Certiﬁed Rehabilitation Tax Credit ................................................................................................................................                14               00
15.    Kentucky Unemployment Tax Credit ............................................................................................................................                      15               00
16.    Recycling/Composting Equipment Tax Credit .............................................................................................................                            16               00
17.    Kentucky Investment Fund Tax Credit ..........................................................................................................................                     17               00
      1038                                                                                                       90
                                           Case: 22-5843                           Document: 22                           Filed: 11/30/2022                             Page: 93
Form 720S (2016)                                                                                                                                                                                          Page 2
KENTUCKY SCHEDULE K-1
Commonwealth of Kentucky
DEPARTMENT OF REVENUE



SHAREHOLDER’S SHARE OF INCOME, CREDITS, DEDUCTIONS, ETC.
                                                                  Pro Rata Share Items (continued)                                                                                               Amount
Tax Credits—continued
18.     Coal Incentive Tax Credit ...............................................................................................................................................        18                00
19.     Qualiﬁed Research Facility Tax Credit ..........................................................................................................................                 19                00
20.     GED Incentive Tax Credit ...............................................................................................................................................         20                00
21.     Voluntary Environmental Remediation Tax Credit ......................................................................................................                            21                00
22.     Biodiesel Tax Credit ......................................................................................................................................................      22                00
23.     Environmental Stewardship Tax Credit........................................................................................................................                     23                00
24.     Clean Coal Incentive Tax Credit ....................................................................................................................................             24                00
25.     Ethanol Tax Credit ..........................................................................................................................................................    25                00
26.     Cellulosic Ethanol Tax Credit ........................................................................................................................................           26                00
27.     Railroad Maintenance and Improvement Tax Credit ..................................................................................................                               27                00
28.     Endow Kentucky Tax Credit...........................................................................................................................................             28                00
29.     New Markets Development Program Tax Credit .........................................................................................................                             29                00
30. Food Donation Tax Credit ..............................................................................................................................................              30                00
31. Distilled Spirits Tax Credit .............................................................................................................................................           31                00
Other Items
32.     (a)    Type of Section 59(e)(2) expenditures ➤                                                                                                                                   32(a)
        (b) Amount of Section 59(e)(2) expenditures ...........................................................................................................                            (b)             00
33.     Tax-exempt interest income .........................................................................................................................................             33                00
34.     Other tax-exempt income .............................................................................................................................................            34                00
35.     Nondeductible expenses ..............................................................................................................................................            35                00
36.     Property distributions (including cash) other than dividend distributions reported to you on Form 1099-DIV ....                                                                  36                00
37.     Supplemental information required to be reported to each shareholder (attach schedule(s))...............................                                                         37
38.     Total dividend distributions paid from accumulated earnings and proﬁts ..............................................................                                            38                00
LLET Pass-through Items

39.     Shareholder’s share of S corporation’s Kentucky sales from Schedule K, Section II, line 1 ...................................                                                    39                00
40.     Shareholder’s share of S corporation’s total sales from Schedule K, Section II, line 2 ...........................................                                               40                00
41.     Shareholder’s share of S corporation’s Kentucky property from Schedule K, Section II, line 3 .............................                                                       41                00
42.     Shareholder’s share of S corporation’s total property from Schedule K, Section II, line 4 .....................................                                                  42                00
43.     Shareholder’s share of S corporation’s Kentucky payroll from Schedule K, Section II, line 5 ................................                                                     43                00
44.     Shareholder’s share of S corporation’s total payroll from Schedule K, Section II, line 6 ........................................                                                44                00
45.     Shareholder’s share of Kentucky gross proﬁts from Schedule K, Section II, line 7 .................................................                                               45                00
46.     Shareholder’s share of total gross proﬁts from all sources from Schedule K, Section II, line 8 ............................                                                      46                00
47.     Shareholder’s share of limited liability entity tax (LLET) nonrefundable credit
        from Schedule K, Section II, line 9 ...............................................................................................................................              47                00
Resident Shareholder Adjustment

48.     Combination of Kentucky Schedule K-1, lines 1 through 5, 8 and portions of lines 6 and 10.
        Add income amounts and subtract (loss) and deduction amounts (see instructions)............................................                                                      48       4751 00
49.     Combination of federal Schedule K-1, lines 1 through 9, 11 and portions of lines 10 and 12.
        Add income amounts and subtract (loss) and deduction amounts (see instructions)............................................                                                      49       4751 00
50.     Enter the difference of lines 48 and 49 here and on appropriate line on Schedule M
        (see instructions) ...........................................................................................................................................................   50                00




   1038                                                                                                          91
                                          Case: 22-5843                            Document: 22                           Filed: 11/30/2022                              Page: 94
  (Form 720S)
  KENTUCKY
 SCHEDULE K-1                                                                                                                                                                                       2016
       41A720S(K-1)
 Commonwealth of Kentucky                                                                                                                                         SHAREHOLDER’S SHARE OF
 DEPARTMENT OF REVENUE
                                                                                                                                                              INCOME, CREDITS, DEDUCTIONS, ETC.
➤ See instructions.
Taxable period beginning _______________ , 201 ___, and ending _______________ , 201 ___.

Shareholder’s identifying                                                       S corporation’s FEIN                                                                        Kentucky Corporation/LLET
number ➤                                                                        ➤                                                                                           Account Number ➤


Shareholder’s name, address and ZIP code                                                                            S corporation’s name, address and ZIP code
                                                                                                                    Check if applicable:  Qualiﬁed investment pass-through entity
        JOSEPH J NEWTON
        90 ALTA VISTA COURT
        ELIZABETHTOWN KY 42701



A. Shareholder’s percentage of stock ownership for tax year ...............................................................................................➤                                                 %
B. (1) Resident shareholder's taxable percentage of pro rata share items .........................................................................➤                                                       100%
   (2) Nonresident shareholder’s taxable percentage of pro rata share items (see Schedule A, Section I, line 12) .................➤                                                                          %
C. What type of entity is this shareholder?      Individual  Estate  Trust  Single Member LLC
D. Check the box if nonresident shareholder’s income is reported on:
    Kentucky Nonresident Income Tax Withholding on Distributive Share Income Report
       and Composite Income Tax Return (Form 740NP-WH and Form PTE-WH)
E. Check if applicable:     (1)  Final K-1         (2)  Amended K-1

         IMPORTANT: Refer to Shareholder’s Instructions for Schedule K-1 before entering information from Schedule K-1 on your tax return.

                                                                          Pro Rata Share Items                                                                                                   Amount
Income (Loss)
 1.    Ordinary income (loss) from trade or business activities ..........................................................................................                                1                00
 2.    Net income (loss) from rental real estate activities ....................................................................................................                          2                00
 3.    Net income (loss) from other rental activities ............................................................................................................                        3                00
 4.    Portfolio income (loss):
       (a) Interest ...................................................................................................................................................................   4(a)             00
       (b) Dividends ...............................................................................................................................................................       (b)             00
       (c) Royalties ................................................................................................................................................................      (c)             00
       (d) Net short-term capital gain (loss) ........................................................................................................................                     (d)             00
       (e) Net long-term capital gain (loss)..........................................................................................................................                     (e)             00
       (f) Other portfolio income (loss) (attach schedule)..................................................................................................                               (f)             00
 5.    Section 1231 net gain (loss) (other than due to casualty or theft) ............................................................................                                    5                00
 6.    Other income (loss) (attach schedule) .........................................................................................................................                    6                00
Deductions
 7.    Charitable contributions (attach schedule) and housing for homeless deduction (attach Schedule HH) ..............                                                                   7               00
 8.    IRC Section 179 expense deduction (attach federal Form 4562 and Kentucky Form 4562) ....................................                                                            8               00
 9.    Deductions related to portfolio income (loss) (attach schedule) ...............................................................................                                     9               00
10.    Other deductions (attach schedule) .............................................................................................................................                   10               00
Investment Interest
11.    (a)    Interest expense on investment debts ................................................................................................................ 11(a)                                  00
       (b) (1)        Investment income included on lines 4(a), 4(b), 4(c) and 4(f) above ........................................................ (b)(1)                                                  00
       (b) (2)        Investment expenses included on line 9 above.......................................................................................... (b)(2)                                        00
Tax Credits
12.    Kentucky Small Business Tax Credit ............................................................................................................................                    12               00
13.    Skills Training Investment Tax Credit ............................................................................................................................                 13               00
14.    Certiﬁed Rehabilitation Tax Credit ................................................................................................................................                14               00
15.    Kentucky Unemployment Tax Credit ............................................................................................................................                      15               00
16.    Recycling/Composting Equipment Tax Credit .............................................................................................................                            16               00
17.    Kentucky Investment Fund Tax Credit ..........................................................................................................................                     17               00
      1038
                                           Case: 22-5843                           Document: 22                           Filed: 11/30/2022                             Page: 95
Form 720S (2016)                                                                                                                                                                                          Page 2
KENTUCKY SCHEDULE K-1
Commonwealth of Kentucky
DEPARTMENT OF REVENUE



SHAREHOLDER’S SHARE OF INCOME, CREDITS, DEDUCTIONS, ETC.
                                                                  Pro Rata Share Items (continued)                                                                                               Amount
Tax Credits—continued
18.     Coal Incentive Tax Credit ...............................................................................................................................................        18                00
19.     Qualiﬁed Research Facility Tax Credit ..........................................................................................................................                 19                00
20.     GED Incentive Tax Credit ...............................................................................................................................................         20                00
21.     Voluntary Environmental Remediation Tax Credit ......................................................................................................                            21                00
22.     Biodiesel Tax Credit ......................................................................................................................................................      22                00
23.     Environmental Stewardship Tax Credit........................................................................................................................                     23                00
24.     Clean Coal Incentive Tax Credit ....................................................................................................................................             24                00
25.     Ethanol Tax Credit ..........................................................................................................................................................    25                00
26.     Cellulosic Ethanol Tax Credit ........................................................................................................................................           26                00
27.     Railroad Maintenance and Improvement Tax Credit ..................................................................................................                               27                00
28.     Endow Kentucky Tax Credit...........................................................................................................................................             28                00
29.     New Markets Development Program Tax Credit .........................................................................................................                             29                00
30. Food Donation Tax Credit ..............................................................................................................................................              30                00
31. Distilled Spirits Tax Credit .............................................................................................................................................           31                00
Other Items
32.     (a)    Type of Section 59(e)(2) expenditures ➤                                                                                                                                   32(a)
        (b) Amount of Section 59(e)(2) expenditures ...........................................................................................................                            (b)             00
33.     Tax-exempt interest income .........................................................................................................................................             33                00
34.     Other tax-exempt income .............................................................................................................................................            34                00
35.     Nondeductible expenses ..............................................................................................................................................            35                00
36.     Property distributions (including cash) other than dividend distributions reported to you on Form 1099-DIV ....                                                                  36                00
37.     Supplemental information required to be reported to each shareholder (attach schedule(s))...............................                                                         37
38.     Total dividend distributions paid from accumulated earnings and proﬁts ..............................................................                                            38                00
LLET Pass-through Items

39.     Shareholder’s share of S corporation’s Kentucky sales from Schedule K, Section II, line 1 ...................................                                                    39                00
40.     Shareholder’s share of S corporation’s total sales from Schedule K, Section II, line 2 ...........................................                                               40                00
41.     Shareholder’s share of S corporation’s Kentucky property from Schedule K, Section II, line 3 .............................                                                       41                00
42.     Shareholder’s share of S corporation’s total property from Schedule K, Section II, line 4 .....................................                                                  42                00
43.     Shareholder’s share of S corporation’s Kentucky payroll from Schedule K, Section II, line 5 ................................                                                     43                00
44.     Shareholder’s share of S corporation’s total payroll from Schedule K, Section II, line 6 ........................................                                                44                00
45.     Shareholder’s share of Kentucky gross proﬁts from Schedule K, Section II, line 7 .................................................                                               45                00
46.     Shareholder’s share of total gross proﬁts from all sources from Schedule K, Section II, line 8 ............................                                                      46                00
47.     Shareholder’s share of limited liability entity tax (LLET) nonrefundable credit
        from Schedule K, Section II, line 9 ...............................................................................................................................              47                00
Resident Shareholder Adjustment

48.     Combination of Kentucky Schedule K-1, lines 1 through 5, 8 and portions of lines 6 and 10.
        Add income amounts and subtract (loss) and deduction amounts (see instructions)............................................                                                      48      13066 00
49.     Combination of federal Schedule K-1, lines 1 through 9, 11 and portions of lines 10 and 12.
        Add income amounts and subtract (loss) and deduction amounts (see instructions)............................................                                                      49      13067 00
50.     Enter the difference of lines 48 and 49 here and on appropriate line on Schedule M
        (see instructions) ...........................................................................................................................................................   50          -1 00




   1038                                                                                                          93
                                          Case: 22-5843                            Document: 22                           Filed: 11/30/2022                              Page: 96
  (Form 720S)
  KENTUCKY
 SCHEDULE K-1                                                                                                                                                                                       2016
       41A720S(K-1)
 Commonwealth of Kentucky                                                                                                                                         SHAREHOLDER’S SHARE OF
 DEPARTMENT OF REVENUE
                                                                                                                                                              INCOME, CREDITS, DEDUCTIONS, ETC.
➤ See instructions.
Taxable period beginning _______________ , 201 ___, and ending _______________ , 201 ___.

Shareholder’s identifying                                                       S corporation’s FEIN                                                                        Kentucky Corporation/LLET
number ➤                                                                        ➤                                                                                           Account Number ➤


Shareholder’s name, address and ZIP code                                                                            S corporation’s name, address and ZIP code
                                                                                                                    Check if applicable:  Qualiﬁed investment pass-through entity
        JOSEPH A NEWTON JR                                                                                                PLAYERS DUGOUT INC
        3867 MUNFORDVILLE RD                                                                                              PO BOX 406
        SONORA KY 42776                                                                                                   ELIZABETHTOWN KY 42702-



A. Shareholder’s percentage of stock ownership for tax year ...............................................................................................➤                                     25.0000 %
B. (1) Resident shareholder's taxable percentage of pro rata share items .........................................................................➤                                                       100%
   (2) Nonresident shareholder’s taxable percentage of pro rata share items (see Schedule A, Section I, line 12) .................➤                                                                          %
C. What type of entity is this shareholder? X Individual  Estate  Trust  Single Member LLC
D. Check the box if nonresident shareholder’s income is reported on:
    Kentucky Nonresident Income Tax Withholding on Distributive Share Income Report
       and Composite Income Tax Return (Form 740NP-WH and Form PTE-WH)
E. Check if applicable:     (1)  Final K-1        (2)  Amended K-1

         IMPORTANT: Refer to Shareholder’s Instructions for Schedule K-1 before entering information from Schedule K-1 on your tax return.

                                                                          Pro Rata Share Items                                                                                                   Amount
Income (Loss)
 1.    Ordinary income (loss) from trade or business activities ..........................................................................................                                1       5939 00
 2.    Net income (loss) from rental real estate activities ....................................................................................................                          2                00
 3.    Net income (loss) from other rental activities ............................................................................................................                        3                00
 4.    Portfolio income (loss):
       (a) Interest ...................................................................................................................................................................   4(a)             00
       (b) Dividends ...............................................................................................................................................................       (b)             00
       (c) Royalties ................................................................................................................................................................      (c)             00
       (d) Net short-term capital gain (loss) ........................................................................................................................                     (d)             00
       (e) Net long-term capital gain (loss)..........................................................................................................................                     (e)             00
       (f) Other portfolio income (loss) (attach schedule)..................................................................................................                               (f)             00
 5.    Section 1231 net gain (loss) (other than due to casualty or theft) ............................................................................                                    5                00
 6.    Other income (loss) (attach schedule) .........................................................................................................................                    6                00
Deductions
 7.    Charitable contributions (attach schedule) and housing for homeless deduction (attach Schedule HH) ..............                                                                   7               00
 8.    IRC Section 179 expense deduction (attach federal Form 4562 and Kentucky Form 4562) ....................................                                                            8               00
 9.    Deductions related to portfolio income (loss) (attach schedule) ...............................................................................                                     9               00
10.    Other deductions (attach schedule) .............................................................................................................................                   10               00
Investment Interest
11.    (a)    Interest expense on investment debts ................................................................................................................ 11(a)                                  00
       (b) (1)        Investment income included on lines 4(a), 4(b), 4(c) and 4(f) above ........................................................ (b)(1)                                                  00
       (b) (2)        Investment expenses included on line 9 above.......................................................................................... (b)(2)                                        00
Tax Credits
12.    Kentucky Small Business Tax Credit ............................................................................................................................                    12               00
13.    Skills Training Investment Tax Credit ............................................................................................................................                 13               00
14.    Certiﬁed Rehabilitation Tax Credit ................................................................................................................................                14               00
15.    Kentucky Unemployment Tax Credit ............................................................................................................................                      15               00
16.    Recycling/Composting Equipment Tax Credit .............................................................................................................                            16               00
17.    Kentucky Investment Fund Tax Credit ..........................................................................................................................                     17               00
      1038                                                                                                       94
                                           Case: 22-5843                           Document: 22                           Filed: 11/30/2022                             Page: 97
Form 720S (2016)                                                                                                                                                                                          Page 2
KENTUCKY SCHEDULE K-1
Commonwealth of Kentucky
DEPARTMENT OF REVENUE



SHAREHOLDER’S SHARE OF INCOME, CREDITS, DEDUCTIONS, ETC.
                                                                  Pro Rata Share Items (continued)                                                                                               Amount
Tax Credits—continued
18.     Coal Incentive Tax Credit ...............................................................................................................................................        18                00
19.     Qualiﬁed Research Facility Tax Credit ..........................................................................................................................                 19                00
20.     GED Incentive Tax Credit ...............................................................................................................................................         20                00
21.     Voluntary Environmental Remediation Tax Credit ......................................................................................................                            21                00
22.     Biodiesel Tax Credit ......................................................................................................................................................      22                00
23.     Environmental Stewardship Tax Credit........................................................................................................................                     23                00
24.     Clean Coal Incentive Tax Credit ....................................................................................................................................             24                00
25.     Ethanol Tax Credit ..........................................................................................................................................................    25                00
26.     Cellulosic Ethanol Tax Credit ........................................................................................................................................           26                00
27.     Railroad Maintenance and Improvement Tax Credit ..................................................................................................                               27                00
28.     Endow Kentucky Tax Credit...........................................................................................................................................             28                00
29.     New Markets Development Program Tax Credit .........................................................................................................                             29                00
30. Food Donation Tax Credit ..............................................................................................................................................              30                00
31. Distilled Spirits Tax Credit .............................................................................................................................................           31                00
Other Items
32.     (a)    Type of Section 59(e)(2) expenditures ➤                                                                                                                                   32(a)
        (b) Amount of Section 59(e)(2) expenditures ...........................................................................................................                            (b)             00
33.     Tax-exempt interest income .........................................................................................................................................             33                00
34.     Other tax-exempt income .............................................................................................................................................            34                00
35.     Nondeductible expenses ..............................................................................................................................................            35                00
36.     Property distributions (including cash) other than dividend distributions reported to you on Form 1099-DIV ....                                                                  36                00
37.     Supplemental information required to be reported to each shareholder (attach schedule(s))...............................                                                         37
38.     Total dividend distributions paid from accumulated earnings and proﬁts ..............................................................                                            38                00
LLET Pass-through Items

39.     Shareholder’s share of S corporation’s Kentucky sales from Schedule K, Section II, line 1 ...................................                                                    39                00
40.     Shareholder’s share of S corporation’s total sales from Schedule K, Section II, line 2 ...........................................                                               40                00
41.     Shareholder’s share of S corporation’s Kentucky property from Schedule K, Section II, line 3 .............................                                                       41                00
42.     Shareholder’s share of S corporation’s total property from Schedule K, Section II, line 4 .....................................                                                  42                00
43.     Shareholder’s share of S corporation’s Kentucky payroll from Schedule K, Section II, line 5 ................................                                                     43                00
44.     Shareholder’s share of S corporation’s total payroll from Schedule K, Section II, line 6 ........................................                                                44                00
45.     Shareholder’s share of Kentucky gross proﬁts from Schedule K, Section II, line 7 .................................................                                               45                00
46.     Shareholder’s share of total gross proﬁts from all sources from Schedule K, Section II, line 8 ............................                                                      46                00
47.     Shareholder’s share of limited liability entity tax (LLET) nonrefundable credit
        from Schedule K, Section II, line 9 ...............................................................................................................................              47                00
Resident Shareholder Adjustment

48.     Combination of Kentucky Schedule K-1, lines 1 through 5, 8 and portions of lines 6 and 10.
        Add income amounts and subtract (loss) and deduction amounts (see instructions)............................................                                                      48       5939 00
49.     Combination of federal Schedule K-1, lines 1 through 9, 11 and portions of lines 10 and 12.
        Add income amounts and subtract (loss) and deduction amounts (see instructions)............................................                                                      49       5939 00
50.     Enter the difference of lines 48 and 49 here and on appropriate line on Schedule M
        (see instructions) ...........................................................................................................................................................   50                00




   1038                                                                                                          95
Case: 22-5843   Document: 22    Filed: 11/30/2022   Page: 98




        Defendants’
        Exhibit 17F




                           96
                              Case: 22-5843                 Document: 22         Filed: 11/30/2022                    Page: 99
                                                                                                                                                 OMB No. 1545-0123
Form   8879-S                      IRS e-file Signature Authorization for Form 1120S

Department of the Treasury
                                               a Return completed Form 8879-S to ERO. (Don't send to IRS.)
                                                 a Go to www.irs.gov/Form8879S for the latest information.                                          2017
Internal Revenue Service   For calendar year 2017, or tax year beginning            , 2017, and ending                         , 20         .
Name of corporation                                                                                              Employer identification number
 PLAYERS DUGOUT INC
 Part I       Tax Return Information (Whole dollars only)
  1      Gross receipts or sales less returns and allowances (Form 1120S, line 1c)             .   .     .   .    .   .    .     .     .        1             217226
  2      Gross profit (Form 1120S, line 3) . . . . . . . . . . . . . .                         .   .     .   .    .   .    .     .     .        2             217226
  3      Ordinary business income (loss) (Form 1120S, line 21) . . . . . . .                   .   .     .   .    .   .    .     .     .        3             -32307
  4      Net rental real estate income (loss) (Form 1120S, Schedule K, line 2) . .             .   .     .   .    .   .    .     .     .        4
  5      Income (loss) reconciliation (Form 1120S, Schedule K, line 18) . . . .                .   .     .   .  -32307
                                                                                                                  .   .    .     .     .        5
 Part II      Declaration and Signature Authorization of Officer (Be sure to get a copy of the corporation’s return)

Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
2017 electronic income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true,
correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.



Officer’s PIN: check one box only

       X     I authorize      ACCOUNTING AND TAX PROFESSIONALS                           to enter my PIN              1 6 6 1 3                     as my signature
                                                       ERO firm name                                                  Don’t enter all zeros
             on the corporation’s 2017 electronically filed income tax return.
             As an officer of the corporation, I will enter my PIN as my signature on the corporation’s 2017 electronically filed income tax
             return.

Officer’s signature a                                                              Date a                             Title a PRESIDENT

Part III      Certification and Authentication

ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                          6 1 6 5 8 1 4 0 3 2 1
                                                                                                                                      Don’t enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the 2017 electronically filed income tax return for the
corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
Returns.
                            ACCOUNTING AND TAX PROFESSIONALS
ERO’s signature a           KRYSTAL WILLIAMS                                                             Date a           04/25/2018


                                            ERO Must Retain This Form — See Instructions
                                     Don’t Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                                                                                               Form 8879-S (2017)
 QNA




                                                                           97
                                                                         Case: 22-5843                    Document: 22                     Filed: 11/30/2022                      Page: 100
                                                                                     U.S. Income Tax Return for an S Corporation                                                                            OMB No. 1545-0123
Form                                            1120S
                                                                                                                                                                                                              2017
                                                                                               ▶ Do not file this form unless the corporation has filed or is
                                                                                                    attaching Form 2553 to elect to be an S corporation.
Department of the Treasury                                                          ▶ Go to www.irs.gov/Form1120S for instructions and the latest information.
Internal Revenue Service
For calendar year 2017 or tax year beginning                                                                                                    , 2017, ending                                              , 20
A S election effective date                                                               Name                                                                                               D Employer identification number
                                                01/01/2016                  TYPE           PLAYERS DUGOUT INC
B Business activity code                                                                  Number, street, and room or suite no. If a P.O. box, see instructions.                             E Date incorporated
  number (see instructions)                                                 OR
                                                                                           PO BOX 406                                                                                               05/03/1999
                                                                            PRINT         City or town, state or province, country, and ZIP or foreign postal code                           F Total assets (see instructions)
                                                 713900
C Check if Sch. M-3 attached                                                               ELIZABETHTOWN, KY 42702                                                                          $                           92624
G Is the corporation electing to be an S corporation beginning with this tax year?  Yes x No      If “Yes,” attach Form 2553 if not already filed
H Check if: (1)     Final return (2)     Name change      (3)     Address change   (4)  Amended return    (5)     S election termination or revocation
I Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . .                       ▶            3
Caution: Include only trade or business income and expenses on lines 1a through 21. See the instructions for more information.
                                                 1a    Gross receipts or sales .   . . . . . . . . . . . . . .                  1a              217226
                                                  b Returns and allowances         . . . . . . . . . . . . . .                  1b
                                                   c   Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . .                      1c                                                           217226
Income




                                                 2     Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . .                        2
                                                 3     Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . .                     3                                                           217226
                                                 4     Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . .                 4
                                                 5     Other income (loss) (see instructions—attach statement) . . . . . . . . . . . . .                  5
                                                 6     Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . ▶                       6                                                           217226
                                                 7     Compensation of officers (see instructions—attach Form 1125-E) . . . . . . . . . .                 7                                                            61813
Deductions (see instructions for limitations)




                                                 8     Salaries and wages (less employment credits) . . . . . . . . . . . . . . . .                       8                                                            28661
                                                 9     Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . .                              9                                                              292
                                                10     Bad debts      . . . . . . . . . . . . . . . . . . . . . . . . . . .                              10
                                                11     Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   11                                                             65427
                                                12     Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . .                              12                                                              9278
                                                13     Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  13                                                               127
                                                14     Depreciation not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . .         14                                                              1781
                                                15     Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . .                    15
                                                16     Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 16                                                                5657
                                                17     Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . .                      17
                                                18     Employee benefit programs . . . . . . . . . . . . . . . . . . . . . .                             18
                                                19     Other deductions (attach statement) . . . . . . . . . . . . . . . . . . .                         19                                                            76497
                                                20     Total deductions. Add lines 7 through 19        . . . . . . . . . . . . . . . . ▶                 20                                                           249533
                                                21     Ordinary business income (loss). Subtract line 20 from line 6 . . . . . . . . . . .               21                                                           -32307
                                                22 a   Excess net passive income or LIFO recapture tax (see instructions) . . 22a
                                                   b   Tax from Schedule D (Form 1120S) . . . . . . . . . . . 22b
Tax and Payments




                                                   c   Add lines 22a and 22b (see instructions for additional taxes) . . . . . . . . . . . .            22c
                                                23 a   2017 estimated tax payments and 2016 overpayment credited to 2017 23a
                                                   b   Tax deposited with Form 7004 . . . . . . . . . . . . 23b
                                                   c   Credit for federal tax paid on fuels (attach Form 4136) . . . . . 23c
                                                   d   Add lines 23a through 23c       . . . . . . . . . . . . . . . . . . . . . .                      23d
                                                24     Estimated tax penalty (see instructions). Check if Form 2220 is attached . . . . . . ▶            24
                                                25     Amount owed. If line 23d is smaller than the total of lines 22c and 24, enter amount owed . .     25
                                                26     Overpayment. If line 23d is larger than the total of lines 22c and 24, enter amount overpaid . .  26
                                                27     Enter amount from line 26 Credited to 2018 estimated tax ▶                            Refunded ▶  27
                                                       Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                       correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
                                                                                                                                                                                             May the IRS discuss this return
Sign                                                                                                                                                                                         with the preparer shown below
                                                        ▲




                                                                                                                                               ▲




                                                                                                                                                 PRESIDENT                                   (see instructions)?
Here                                                        Signature of officer                                                Date               Title                                                           x Yes         No
                                                          Print/Type preparer's name                           Preparer's signature                                   Date                                    PTIN
Paid                                                                Check      if
         KRYSTAL WILLIAMS                                04/25/2018 self-employed P00568423
Preparer
Use Only Firm's name
                     ▶  ACCOUNTING AND TAX PROFESSIONALS            Firm's EIN ▶ XX-XXXXXXX
                                                          Firm's address ▶         790 N DIXIE AVE SUITE 400 ELIZABETHTOWN KY 42701                                                          Phone no.      270-982-5200
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                               Form 1120S (2017)
QNA


                                                                                                                                    98
                   Case: 22-5843                           Document: 22                 Filed: 11/30/2022                    Page: 101
          PLAYERS DUGOUT INC
Form 1120S (2017)                                                                                                                                                    Page 2
Schedule B            Other Information (see instructions)
  1      Check accounting method:       a    Cash      b X Accrual                                                                                              Yes No
                                        c    Other (specify) ▶
  2      See the instructions and enter the:
         a Business activity ▶ BASEBALL SOFTBALL                b Product or service ▶ FACILITIES INSTRUCTI
  3      At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
         nominee or similar person? If "Yes," attach Schedule B-1, Information on Certain Shareholders of an S Corporation . .                                          X
  4      At the end of the tax year, did the corporation:
      a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
        foreign or domestic corporation? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v)
        below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                   X
                                                                                                                                 (v) If Percentage in (iv) is 100%, Enter the
                                      (ii) Employer Identification Number    (iii) Country of      (iv) Percentage of Stock
            (i) Name of Corporation                                                                                                Date (if any) a Qualified Subchapter S
                                                     (if any)                 Incorporation                 Owned
                                                                                                                                        Subsidiary Election Was Made




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
        capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
        trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . .                                            X
                                      (ii) Employer Identification Number                              (iv) Country of           (v) Maximum Percentage Owned in Profit,
               (i) Name of Entity                                           (iii) Type of Entity
                                                     (if any)                                           Organization                        Loss, or Capital




  5 a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . .                                       .            X
      If “Yes,” complete lines (i) and (ii) below.
      (i)   Total shares of restricted stock. . . . . . . . . . ▶
      (ii) Total shares of non-restricted stock . . . . . . . . ▶
    b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments?                                .            X
         If “Yes,” complete lines (i) and (ii) below.
         (i)   Total shares of stock outstanding at the end of the tax year ▶
         (ii) Total shares of stock outstanding if all instruments were executed ▶
  6      Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
         information on any reportable transaction?     . . . . . . . . . . . . . . . . . . . . . . . .                                                                 X
  7      Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . ▶
         If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
         Instruments.

  8      If the corporation: (a) was a C corporation before it elected to be an S corporation or the corporation acquired an
         asset with a basis determined by reference to the basis of the asset (or the basis of any other property) in
         the hands of a C corporation and (b) has net unrealized built-in gain in excess of the net recognized built-in gain
         from prior years, enter the net unrealized built-in gain reduced by net recognized built-in gain from prior years (see
         instructions) . . . . . . . . . . . . . . . ▶ $
  9      Enter the accumulated earnings and profits of the corporation at the end of the tax year.       $             42902
 10     Does the corporation satisfy both of the following conditions?
      a The corporation’s total receipts (see instructions) for the tax year were less than $250,000 .                   .   .   .   .   .   .   .   .     .
      b The corporation’s total assets at the end of the tax year were less than $250,000      . . .                     .   .   .   .   .   .   .   .     .            X
        If “Yes,” the corporation is not required to complete Schedules L and M-1.
 11   During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
      terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . .                                                                X
      If “Yes,” enter the amount of principal reduction $
 12   During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If “Yes,” see instructions .                                         X
 13 a Did the corporation make any payments in 2017 that would require it to file Form(s) 1099? . . . . . . . . . .                                              X
    b If “Yes,” did the corporation file or will it file required Forms 1099? . . . . . . . . . . . . . . . . .                                                  X
QNA                                                                                                                                                      Form 1120S (2017)




                                                                                  99
                                    Case: 22-5843                   Document: 22             Filed: 11/30/2022                    Page: 102
                           PLAYERS DUGOUT INC
Form 1120S (2017)                                                                                                                                                 Page 3
Schedule K                          Shareholders’ Pro Rata Share Items                                                                             Total amount
                             1   Ordinary business income (loss) (page 1, line 21) . . . . . . . . . . . . . .                              1              -32307
                             2   Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . .                            2
                             3a  Other gross rental income (loss) . . . . . . . . . .                   3a
                               b Expenses from other rental activities (attach statement)         . .   3b
                               c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . .                         3c
   Income (Loss)




                             4   Interest income . . . . . . . . . . . . . . . . . . . . . . . .                                            4
                             5   Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . .                                     5a
                                             b Qualified dividends . . . . . . . . . .                  5b
                             6   Royalties . . . . . . . . . . . . . . . . . . . . . . . . . .                                              6
                             7   Net short-term capital gain (loss) (attach Schedule D (Form 1120S)) . . . . . . . .                        7
                             8 a Net long-term capital gain (loss) (attach Schedule D (Form 1120S)) . . . . . . . .                        8a
                               b Collectibles (28%) gain (loss) . . . . . . . . . . .                   8b
                               c Unrecaptured section 1250 gain (attach statement) . . . .              8c
                             9   Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . .                               9
                            10   Other income (loss) (see instructions) . . Type ▶                                                         10
                            11   Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . .                                  11
    Deductions




                            12a Charitable contributions . . . . . . . . . . . . . . . . . . . . .                                        12a
                               b Investment interest expense . . . . . . . . . . . . . . . . . . . .                                      12b
                               c Section 59(e)(2) expenditures (1) Type ▶                                          (2) Amount ▶           12c(2)
                               d Other deductions (see instructions) . . .           Type ▶                                               12d
                            13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . .                                13a
                               b Low-income housing credit (other) . . . . . . . . . . . . . . . . . .                                    13b
                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . .         13c
    Credits




                               d Other rental real estate credits (see instructions) Type ▶                                               13d
                               e Other rental credits (see instructions) . . . Type ▶                                                     13e
                              f    Biofuel producer credit (attach Form 6478)     .   . . . .     .   .   .   .   .   .   .   .   .   .   13f
                              g    Other credits (see instructions) . . . .       .   Type ▶                                              13g
                            14a    Name of country or U.S. possession ▶
                              b Gross income from all sources . . . . . . . . . . . . . . . .                                 .   .   .   14b
                              c Gross income sourced at shareholder level . . . . . . . . . . . .                             .   .   .   14c
                                Foreign gross income sourced at corporate level
                              d Passive category      . . . . . . . . . . . . . . . . . . . .                                 .   .   .   14d
                              e General category      . . . . . . . . . . . . . . . . . . . .                                 .   .   .   14e
    Foreign Transactions




                              f Other (attach statement) . . . . . . . . . . . . . . . . . .                                  .   .   .   14f
                                Deductions allocated and apportioned at shareholder level
                              g Interest expense . . . . . . . . . . . . . . . . . . . . .                                    .   .   .   14g
                              h Other . . . . . . . . . . . . . . . . . . . . . . . .                                         .   .   .   14h
                                Deductions allocated and apportioned at corporate level to foreign source income
                              i Passive category      . . . . . . . . . . . . . . . . . . . .                                 .   .   .    14i
                              j General category      . . . . . . . . . . . . . . . . . . . .                                 .   .   .    14j
                              k Other (attach statement) . . . . . . . . . . . . . . . . . .                                  .   .   .   14k
                                Other information
                              l Total foreign taxes (check one): ▶       Paid         Accrued . . . . . . .                   .   .   .    14l
                              m Reduction in taxes available for credit (attach statement) . . . . . . . .                    .   .   .   14m
                              n Other foreign tax information (attach statement)
                            15a Post-1986 depreciation adjustment . . . . . . . . . . . . . . .                               .   .   .   15a                 1349
Minimum Tax




                              b Adjusted gain or loss . . . . . . . . . . . . . . . . . . .                                   .   .   .   15b
(AMT) Items
 Alternative




                              c Depletion (other than oil and gas)    . . . . . . . . . . . . . . .                           .   .   .   15c
                              d Oil, gas, and geothermal properties—gross income . . . . . . . . . .                          .   .   .   15d
                              e Oil, gas, and geothermal properties—deductions . . . . . . . . . . .                          .   .   .   15e
                              f Other AMT items (attach statement) . . . . . . . . . . . . . . .                              .   .   .   15f
                            16a Tax-exempt interest income . . . . . . . . . . . . . . . . .                                  .   .   .   16a
Items Affecting
  Shareholder




                              b Other tax-exempt income . . . . . . . . . . . . . . . . . .                                   .   .   .   16b
     Basis




                              c Nondeductible expenses . . . . . . . . . . . . . . . . . .                                    .   .   .   16c                     937
                              d Distributions (attach statement if required) (see instructions) . . . . . . .                 .   .   .   16d
                              e Repayment of loans from shareholders . . . . . . . . . . . . . .                              .   .   .   16e
QNA                                                                                                                                                   Form 1120S (2017)


                                                                                       100
                                           Case: 22-5843 Document: 22                          Filed: 11/30/2022                          Page: 103
                                          PLAYERS DUGOUT INC
Form 1120S (2017)                                                                                                                                                                   Page 4
Schedule K                           Shareholders’ Pro Rata Share Items (continued)                                                                            Total amount
                            17a    Investment income . . . . . . . . . . . . . . .                           .      .     .   .   .   .   .   .         17a
 ciliation Information
              Other


                              b    Investment expenses . . . . . . . . . . . . . .                           .      .     .   .   .   .   .   .         17b
                              c    Dividend distributions paid from accumulated earnings and profits         .      .     .   .   .   .   .   .         17c
                              d    Other items and amounts (attach statement)
 Recon-




                            18     Income/loss reconciliation. Combine the amounts on lines 1 through 10 in the far right
                                   column. From the result, subtract the sum of the amounts on lines 11 through 12d and 14l                             18                  -32307
Schedule L                           Balance Sheets per Books                               Beginning of tax year                                        End of tax year
                                                 Assets                               (a)                           (b)                           (c)                        (d)
  1                      Cash . . . . . . . . . . . .                      .                                              52844                                                    19115
  2a                     Trade notes and accounts receivable . .           .
    b                    Less allowance for bad debts . . . . .            .      (                  )                                (                        )
  3                      Inventories     . . . . . . . . . .               .
  4                      U.S. government obligations . . . . .             .
  5                      Tax-exempt securities (see instructions) .        .
  6                      Other current assets (attach statement) . .       .                                                                                                       37415
  7                      Loans to shareholders . . . . . . .               .
  8                      Mortgage and real estate loans . . . .            .
  9                      Other investments (attach statement) . .          .
 10a                     Buildings and other depreciable assets . .        .           111797                                                      111797
    b                    Less accumulated depreciation . . . .             .      (    108953)                                2844 (               110734)                         1063
 11a                     Depletable assets . . . . . . . .                 .
    b                    Less accumulated depletion . . . . .              .      (                  )                                (                        )
 12                      Land (net of any amortization) . . . . .          .
 13a                     Intangible assets (amortizable only) . . .        .                                                                            30952
    b                    Less accumulated amortization . . . .             .      (                  )                                (                  3611)                     27341
 14                      Other assets (attach statement) . . . .           .                                               7690                                                     7690
 15                      Total assets . . . . . . . . . .                  .                                              63378                                                    92624
                                Liabilities and Shareholders’ Equity
 16                      Accounts payable . . . . . . . . .
 17                      Mortgages, notes, bonds payable in less than 1 year                                                                                                       11752
 18                      Other current liabilities (attach statement) . .                                                     2437                                                  6195
 19                      Loans from shareholders . . . . . . .                                                                 425                                                 50000
 20                      Mortgages, notes, bonds payable in 1 year or more
 21                      Other liabilities (attach statement) . . . .                                                         5000                                                  5000
 22                      Capital stock . . . . . . . . . . .                                                                  1000                                                  1000
 23                      Additional paid-in capital . . . . . . .
 24                      Retained earnings . . . . . . . . .                                                              57016                                                    21177
 25                      Adjustments to shareholders’ equity (attach statement)
 26                      Less cost of treasury stock . . . . . .                                         (                 2500)                                   (            2500)
 27                      Total liabilities and shareholders’ equity      . .                                              63378                                                92624
QNA                                                                                                                                                                    Form 1120S (2017)




                                                                                      101
                            Case: 22-5843 Document: 22                            Filed: 11/30/2022                      Page: 104
                           PLAYERS DUGOUT INC                                                                                  XX-XXXXXXX
Form 1120S (2017)                                                                                                                                                     Page 5
Schedule M-1             Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                         Note: The corporation may be required to file Schedule M-3 (see instructions)
  1       Net income (loss) per books       .   .   .   .   .   .           -35840 5 Income recorded on books this year not included
  2       Income included on Schedule K, lines 1, 2, 3c, 4,                                   on Schedule K, lines 1 through 10 (itemize):
          5a, 6, 7, 8a, 9, and 10, not recorded on books this                               a Tax-exempt interest $
          year (itemize)                                                                    SEE STMT                                              1                        1
  3       Expenses recorded on books this year not                                        6 Deductions included on Schedule K,
          included on Schedule K, lines 1 through 12 and                                      lines 1 through 12 and 14l, not charged
          14l (itemize):                                                                      against book income this year (itemize):
      a   Depreciation $                                                                    a Depreciation $
      b   Travel and entertainment $        290
           SEE STMT                                         3244              3534 7 Add lines 5 and 6 . . . . .                                                      1
  4       Add lines 1 through 3     .   .   .   .   .   .   .   .           -32306 8 Income (loss) (Schedule K, line 18). Line 4 less line 7                     -32307
Schedule M-2             Analysis of Accumulated Adjustments Account, Other Adjustments Account, and Shareholders’
                         Undistributed Taxable Income Previously Taxed (see instructions)
                                                                        (a) Accumulated                 (b) Other adjustments                 (c) Shareholders’ undistributed
                                                                      adjustments account                      account                       taxable income previously taxed

  1       Balance at beginning of tax year . . . . .                               14114                                                                         42902
  2       Ordinary income from page 1, line 21 . . .
  3       Other additions . . . . . . . . . .                                        1
  4       Loss from page 1, line 21 . . . . . . .                 (             -32307 )
  5       Other reductions . . . . . . . . . .                    (               3533 ) (                                             )
  6       Combine lines 1 through 5 . . . . . . .                               -21725                                                                           42902
  7       Distributions other than dividend distributions
  8       Balance at end of tax year. Subtract line 7 from line 6               -21725                                                                           42902
QNA                                                                                                                                                     Form 1120S (2017)




                                                                           102
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 105
                              Case: 22-5843                 Document: 22                  Filed: 11/30/2022                 Page: 106
Schedule K-1 (Form 1120S) 2017                                                                                                                                      Page 2
This list identifies the codes used on Schedule K-1 for all shareholders and provides summarized reporting information for shareholders who file Form 1040.
For detailed reporting and filing information, see the separate Shareholder’s Instructions for Schedule K-1 and the instructions for your income tax return.
                                                                                               Code                                     Report on



                                                                                                                                    }
 1.  Ordinary business income (loss). Determine whether the income (loss) is                    N Credit for employer social
     passive or nonpassive and enter on your return as follows:                                    security and Medicare taxes
                                                                                                                                        See the Shareholder’s Instructions
                                              Report on                                         O Backup withholding
     Passive loss                             See the Shareholder’s Instructions                P Other credits
     Passive income                           Schedule E, line 28, column (g)             14. Foreign transactions



                                                                                                                                   }
     Nonpassive loss                          See the Shareholder’s Instructions                A Name of country or U.S.
     Nonpassive income                        Schedule E, line 28, column (j)                      possession
 2. Net rental real estate income (loss) See the Shareholder’s Instructions                     B Gross income from all sources         Form 1116, Part I
 3. Other net rental income (loss)                                                              C Gross income sourced at
     Net income                               Schedule E, line 28, column (g)                      shareholder level
     Net loss                                 See the Shareholder’s Instructions               Foreign gross income sourced at corporate level
 4. Interest income
 5a. Ordinary dividends
 5b. Qualified dividends
                                              Form 1040, line 8a
                                              Form 1040, line 9a
                                              Form 1040, line 9b
                                                                                                D Passive category
                                                                                                E General category
                                                                                                F Other
                                                                                                                                    }   Form 1116, Part I

                                                                                               Deductions allocated and apportioned at shareholder level
 6. Royalties                                 Schedule E, line 4
                                                                                                G Interest expense                      Form 1116, Part I
 7. Net short-term capital gain (loss)        Schedule D, line 5                                H Other                                 Form 1116, Part I
 8a. Net long-term capital gain (loss)        Schedule D, line 12                              Deductions allocated and apportioned at corporate level to foreign source
 8b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4                  income

                                                                                                                                   }
                                              (Schedule D instructions)                         I Passive category
 8c. Unrecaptured section 1250 gain           See the Shareholder’s Instructions                J General category                      Form 1116, Part I
 9. Net section 1231 gain (loss)              See the Shareholder’s Instructions                K Other
10. Other income (loss)                                                                        Other information
     Code                                                                                       L Total foreign taxes paid              Form 1116, Part II
     A Other portfolio income (loss)          See the Shareholder’s Instructions                M Total foreign taxes accrued           Form 1116, Part II
     B Involuntary conversions                See the Shareholder’s Instructions                N Reduction in taxes available for
     C Sec. 1256 contracts & straddles        Form 6781, line 1                                   credit                                Form 1116, line 12
     D Mining exploration costs recapture See Pub. 535                                          O Foreign trading gross receipts        Form 8873
     E Other income (loss)                    See the Shareholder’s Instructions                P Extraterritorial income exclusion     Form 8873
11. Section 179 deduction                     See the Shareholder’s Instructions                Q Other foreign transactions            See the Shareholder’s Instructions
                                                                                          15. Alternative minimum tax (AMT) items




                                         }                                                                                         }
12. Other deductions
     A Cash contributions (50%)                                                                 A Post-1986 depreciation adjustment
     B Cash contributions (30%)                                                                 B Adjusted gain or loss
                                                                                                C Depletion (other than oil & gas)      See the Shareholder’s Instructions
     C Noncash contributions (50%)
                                                                                                D Oil, gas, & geothermal—gross income   and the Instructions for Form 6251
     D Noncash contributions (30%)
                                               See the Shareholder’s Instructions               E Oil, gas, & geothermal—deductions
     E Capital gain property to a 50%
        organization (30%)                                                                      F Other AMT items
      F Capital gain property (20%)                                                       16. Items affecting shareholder basis




                                                                                                                                   }
     G Contributions (100%)                                                                     A Tax-exempt interest income            Form 1040, line 8b
     H Investment interest expense            Form 4952, line 1                                 B Other tax-exempt income
      I Deductions—royalty income             Schedule E, line 19                               C Nondeductible expenses
      J Section 59(e)(2) expenditures         See the Shareholder’s Instructions                D Distributions                         See the Shareholder’s Instructions
     K Deductions—portfolio (2% floor)        Schedule A, line 23                               E Repayment of loans from
      L Deductions—portfolio (other)          Schedule A, line 28                                 shareholders
     M Preproductive period expenses          See the Shareholder’s Instructions          17. Other information
     N Commercial revitalization deduction                                                      A Investment income                     Form 4952, line 4a
        from rental real estate activities    See Form 8582 instructions                        B Investment expenses                   Form 4952, line 5
     O Reforestation expense deduction        See the Shareholder’s Instructions                C Qualified rehabilitation expenditures
     P Domestic production activities                                                             (other than rental real estate)       See the Shareholder’s Instructions
        information                           See Form 8903 instructions                        D Basis of energy property              See the Shareholder’s Instructions
     Q Qualified production activities income Form 8903, line 7b                                E Recapture of low-income housing
     R Employer’s Form W-2 wages              Form 8903, line 17                                  credit (section 42(j)(5))             Form 8611, line 8




                                              }
     S Other deductions                       See the Shareholder’s Instructions                F Recapture of low-income housing
13. Credits                                                                                       credit (other)                        Form 8611, line 8
     A Low-income housing credit (section                                                       G Recapture of investment credit        See Form 4255
        42(j)(5)) from pre-2008 buildings                                                       H Recapture of other credits            See the Shareholder’s Instructions
     B Low-income housing credit (other)                                                        I Look-back interest—completed




                                                                                                                                   }
        from pre-2008 buildings                                                                   long-term contracts                   See Form 8697
     C Low-income housing credit (section                                                       J Look-back interest—income
        42(j)(5)) from post-2007 buildings         See the Shareholder’s                          forecast method                       See Form 8866
     D Low-income housing credit (other)           Instructions                                 K Dispositions of property with
        from post-2007 buildings                                                                  section 179 deductions
      E Qualified rehabilitation expenditures                                                   L Recapture of section 179
        (rental real estate)                                                                      deduction
      F Other rental real estate credits                                                        M Section 453(l)(3) information
     G Other rental credits                                                                     N Section 453A(c) information
                                                                                                O Section 1260(b) information




                                          }
     H Undistributed capital gains credit     Form 1040, line 73, box a
      I Biofuel producer credit                                                                 P Interest allocable to production      See the Shareholder’s Instructions
      J Work opportunity credit                                                                   expenditures
     K Disabled access credit                                                                   Q CCF nonqualified withdrawals
      L Empowerment zone                       See the Shareholder’s Instructions               R Depletion information—oil and gas
        employment credit                                                                       S Reserved
     M Credit for increasing research                                                           T Section 108(i) information
        activities                                                                              U Net investment income
                                                                                                V Other information

 QNA                                                                                104
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 107
                              Case: 22-5843                 Document: 22                  Filed: 11/30/2022                 Page: 108
Schedule K-1 (Form 1120S) 2017                                                                                                                                      Page 2
This list identifies the codes used on Schedule K-1 for all shareholders and provides summarized reporting information for shareholders who file Form 1040.
For detailed reporting and filing information, see the separate Shareholder’s Instructions for Schedule K-1 and the instructions for your income tax return.
                                                                                               Code                                     Report on



                                                                                                                                    }
 1.  Ordinary business income (loss). Determine whether the income (loss) is                    N Credit for employer social
     passive or nonpassive and enter on your return as follows:                                    security and Medicare taxes
                                                                                                                                        See the Shareholder’s Instructions
                                              Report on                                         O Backup withholding
     Passive loss                             See the Shareholder’s Instructions                P Other credits
     Passive income                           Schedule E, line 28, column (g)             14. Foreign transactions



                                                                                                                                   }
     Nonpassive loss                          See the Shareholder’s Instructions                A Name of country or U.S.
     Nonpassive income                        Schedule E, line 28, column (j)                      possession
 2. Net rental real estate income (loss) See the Shareholder’s Instructions                     B Gross income from all sources         Form 1116, Part I
 3. Other net rental income (loss)                                                              C Gross income sourced at
     Net income                               Schedule E, line 28, column (g)                      shareholder level
     Net loss                                 See the Shareholder’s Instructions               Foreign gross income sourced at corporate level
 4. Interest income
 5a. Ordinary dividends
 5b. Qualified dividends
                                              Form 1040, line 8a
                                              Form 1040, line 9a
                                              Form 1040, line 9b
                                                                                                D Passive category
                                                                                                E General category
                                                                                                F Other
                                                                                                                                    }   Form 1116, Part I

                                                                                               Deductions allocated and apportioned at shareholder level
 6. Royalties                                 Schedule E, line 4
                                                                                                G Interest expense                      Form 1116, Part I
 7. Net short-term capital gain (loss)        Schedule D, line 5                                H Other                                 Form 1116, Part I
 8a. Net long-term capital gain (loss)        Schedule D, line 12                              Deductions allocated and apportioned at corporate level to foreign source
 8b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4                  income

                                                                                                                                   }
                                              (Schedule D instructions)                         I Passive category
 8c. Unrecaptured section 1250 gain           See the Shareholder’s Instructions                J General category                      Form 1116, Part I
 9. Net section 1231 gain (loss)              See the Shareholder’s Instructions                K Other
10. Other income (loss)                                                                        Other information
     Code                                                                                       L Total foreign taxes paid              Form 1116, Part II
     A Other portfolio income (loss)          See the Shareholder’s Instructions                M Total foreign taxes accrued           Form 1116, Part II
     B Involuntary conversions                See the Shareholder’s Instructions                N Reduction in taxes available for
     C Sec. 1256 contracts & straddles        Form 6781, line 1                                   credit                                Form 1116, line 12
     D Mining exploration costs recapture See Pub. 535                                          O Foreign trading gross receipts        Form 8873
     E Other income (loss)                    See the Shareholder’s Instructions                P Extraterritorial income exclusion     Form 8873
11. Section 179 deduction                     See the Shareholder’s Instructions                Q Other foreign transactions            See the Shareholder’s Instructions
                                                                                          15. Alternative minimum tax (AMT) items




                                         }                                                                                         }
12. Other deductions
     A Cash contributions (50%)                                                                 A Post-1986 depreciation adjustment
     B Cash contributions (30%)                                                                 B Adjusted gain or loss
                                                                                                C Depletion (other than oil & gas)      See the Shareholder’s Instructions
     C Noncash contributions (50%)
                                                                                                D Oil, gas, & geothermal—gross income   and the Instructions for Form 6251
     D Noncash contributions (30%)
                                               See the Shareholder’s Instructions               E Oil, gas, & geothermal—deductions
     E Capital gain property to a 50%
        organization (30%)                                                                      F Other AMT items
      F Capital gain property (20%)                                                       16. Items affecting shareholder basis




                                                                                                                                   }
     G Contributions (100%)                                                                     A Tax-exempt interest income            Form 1040, line 8b
     H Investment interest expense            Form 4952, line 1                                 B Other tax-exempt income
      I Deductions—royalty income             Schedule E, line 19                               C Nondeductible expenses
      J Section 59(e)(2) expenditures         See the Shareholder’s Instructions                D Distributions                         See the Shareholder’s Instructions
     K Deductions—portfolio (2% floor)        Schedule A, line 23                               E Repayment of loans from
      L Deductions—portfolio (other)          Schedule A, line 28                                 shareholders
     M Preproductive period expenses          See the Shareholder’s Instructions          17. Other information
     N Commercial revitalization deduction                                                      A Investment income                     Form 4952, line 4a
        from rental real estate activities    See Form 8582 instructions                        B Investment expenses                   Form 4952, line 5
     O Reforestation expense deduction        See the Shareholder’s Instructions                C Qualified rehabilitation expenditures
     P Domestic production activities                                                             (other than rental real estate)       See the Shareholder’s Instructions
        information                           See Form 8903 instructions                        D Basis of energy property              See the Shareholder’s Instructions
     Q Qualified production activities income Form 8903, line 7b                                E Recapture of low-income housing
     R Employer’s Form W-2 wages              Form 8903, line 17                                  credit (section 42(j)(5))             Form 8611, line 8




                                              }
     S Other deductions                       See the Shareholder’s Instructions                F Recapture of low-income housing
13. Credits                                                                                       credit (other)                        Form 8611, line 8
     A Low-income housing credit (section                                                       G Recapture of investment credit        See Form 4255
        42(j)(5)) from pre-2008 buildings                                                       H Recapture of other credits            See the Shareholder’s Instructions
     B Low-income housing credit (other)                                                        I Look-back interest—completed




                                                                                                                                   }
        from pre-2008 buildings                                                                   long-term contracts                   See Form 8697
     C Low-income housing credit (section                                                       J Look-back interest—income
        42(j)(5)) from post-2007 buildings         See the Shareholder’s                          forecast method                       See Form 8866
     D Low-income housing credit (other)           Instructions                                 K Dispositions of property with
        from post-2007 buildings                                                                  section 179 deductions
      E Qualified rehabilitation expenditures                                                   L Recapture of section 179
        (rental real estate)                                                                      deduction
      F Other rental real estate credits                                                        M Section 453(l)(3) information
     G Other rental credits                                                                     N Section 453A(c) information
                                                                                                O Section 1260(b) information




                                          }
     H Undistributed capital gains credit     Form 1040, line 73, box a
      I Biofuel producer credit                                                                 P Interest allocable to production      See the Shareholder’s Instructions
      J Work opportunity credit                                                                   expenditures
     K Disabled access credit                                                                   Q CCF nonqualified withdrawals
      L Empowerment zone                       See the Shareholder’s Instructions               R Depletion information—oil and gas
        employment credit                                                                       S Reserved
     M Credit for increasing research                                                           T Section 108(i) information
        activities                                                                              U Net investment income
                                                                                                V Other information

 QNA                                                                                106
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 109
                              Case: 22-5843                 Document: 22                  Filed: 11/30/2022                 Page: 110
Schedule K-1 (Form 1120S) 2017                                                                                                                                      Page 2
This list identifies the codes used on Schedule K-1 for all shareholders and provides summarized reporting information for shareholders who file Form 1040.
For detailed reporting and filing information, see the separate Shareholder’s Instructions for Schedule K-1 and the instructions for your income tax return.
                                                                                               Code                                     Report on



                                                                                                                                    }
 1.  Ordinary business income (loss). Determine whether the income (loss) is                    N Credit for employer social
     passive or nonpassive and enter on your return as follows:                                    security and Medicare taxes
                                                                                                                                        See the Shareholder’s Instructions
                                              Report on                                         O Backup withholding
     Passive loss                             See the Shareholder’s Instructions                P Other credits
     Passive income                           Schedule E, line 28, column (g)             14. Foreign transactions



                                                                                                                                   }
     Nonpassive loss                          See the Shareholder’s Instructions                A Name of country or U.S.
     Nonpassive income                        Schedule E, line 28, column (j)                      possession
 2. Net rental real estate income (loss) See the Shareholder’s Instructions                     B Gross income from all sources         Form 1116, Part I
 3. Other net rental income (loss)                                                              C Gross income sourced at
     Net income                               Schedule E, line 28, column (g)                      shareholder level
     Net loss                                 See the Shareholder’s Instructions               Foreign gross income sourced at corporate level
 4. Interest income
 5a. Ordinary dividends
 5b. Qualified dividends
                                              Form 1040, line 8a
                                              Form 1040, line 9a
                                              Form 1040, line 9b
                                                                                                D Passive category
                                                                                                E General category
                                                                                                F Other
                                                                                                                                    }   Form 1116, Part I

                                                                                               Deductions allocated and apportioned at shareholder level
 6. Royalties                                 Schedule E, line 4
                                                                                                G Interest expense                      Form 1116, Part I
 7. Net short-term capital gain (loss)        Schedule D, line 5                                H Other                                 Form 1116, Part I
 8a. Net long-term capital gain (loss)        Schedule D, line 12                              Deductions allocated and apportioned at corporate level to foreign source
 8b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4                  income

                                                                                                                                   }
                                              (Schedule D instructions)                         I Passive category
 8c. Unrecaptured section 1250 gain           See the Shareholder’s Instructions                J General category                      Form 1116, Part I
 9. Net section 1231 gain (loss)              See the Shareholder’s Instructions                K Other
10. Other income (loss)                                                                        Other information
     Code                                                                                       L Total foreign taxes paid              Form 1116, Part II
     A Other portfolio income (loss)          See the Shareholder’s Instructions                M Total foreign taxes accrued           Form 1116, Part II
     B Involuntary conversions                See the Shareholder’s Instructions                N Reduction in taxes available for
     C Sec. 1256 contracts & straddles        Form 6781, line 1                                   credit                                Form 1116, line 12
     D Mining exploration costs recapture See Pub. 535                                          O Foreign trading gross receipts        Form 8873
     E Other income (loss)                    See the Shareholder’s Instructions                P Extraterritorial income exclusion     Form 8873
11. Section 179 deduction                     See the Shareholder’s Instructions                Q Other foreign transactions            See the Shareholder’s Instructions
                                                                                          15. Alternative minimum tax (AMT) items




                                         }                                                                                         }
12. Other deductions
     A Cash contributions (50%)                                                                 A Post-1986 depreciation adjustment
     B Cash contributions (30%)                                                                 B Adjusted gain or loss
                                                                                                C Depletion (other than oil & gas)      See the Shareholder’s Instructions
     C Noncash contributions (50%)
                                                                                                D Oil, gas, & geothermal—gross income   and the Instructions for Form 6251
     D Noncash contributions (30%)
                                               See the Shareholder’s Instructions               E Oil, gas, & geothermal—deductions
     E Capital gain property to a 50%
        organization (30%)                                                                      F Other AMT items
      F Capital gain property (20%)                                                       16. Items affecting shareholder basis




                                                                                                                                   }
     G Contributions (100%)                                                                     A Tax-exempt interest income            Form 1040, line 8b
     H Investment interest expense            Form 4952, line 1                                 B Other tax-exempt income
      I Deductions—royalty income             Schedule E, line 19                               C Nondeductible expenses
      J Section 59(e)(2) expenditures         See the Shareholder’s Instructions                D Distributions                         See the Shareholder’s Instructions
     K Deductions—portfolio (2% floor)        Schedule A, line 23                               E Repayment of loans from
      L Deductions—portfolio (other)          Schedule A, line 28                                 shareholders
     M Preproductive period expenses          See the Shareholder’s Instructions          17. Other information
     N Commercial revitalization deduction                                                      A Investment income                     Form 4952, line 4a
        from rental real estate activities    See Form 8582 instructions                        B Investment expenses                   Form 4952, line 5
     O Reforestation expense deduction        See the Shareholder’s Instructions                C Qualified rehabilitation expenditures
     P Domestic production activities                                                             (other than rental real estate)       See the Shareholder’s Instructions
        information                           See Form 8903 instructions                        D Basis of energy property              See the Shareholder’s Instructions
     Q Qualified production activities income Form 8903, line 7b                                E Recapture of low-income housing
     R Employer’s Form W-2 wages              Form 8903, line 17                                  credit (section 42(j)(5))             Form 8611, line 8




                                              }
     S Other deductions                       See the Shareholder’s Instructions                F Recapture of low-income housing
13. Credits                                                                                       credit (other)                        Form 8611, line 8
     A Low-income housing credit (section                                                       G Recapture of investment credit        See Form 4255
        42(j)(5)) from pre-2008 buildings                                                       H Recapture of other credits            See the Shareholder’s Instructions
     B Low-income housing credit (other)                                                        I Look-back interest—completed




                                                                                                                                   }
        from pre-2008 buildings                                                                   long-term contracts                   See Form 8697
     C Low-income housing credit (section                                                       J Look-back interest—income
        42(j)(5)) from post-2007 buildings         See the Shareholder’s                          forecast method                       See Form 8866
     D Low-income housing credit (other)           Instructions                                 K Dispositions of property with
        from post-2007 buildings                                                                  section 179 deductions
      E Qualified rehabilitation expenditures                                                   L Recapture of section 179
        (rental real estate)                                                                      deduction
      F Other rental real estate credits                                                        M Section 453(l)(3) information
     G Other rental credits                                                                     N Section 453A(c) information
                                                                                                O Section 1260(b) information




                                          }
     H Undistributed capital gains credit     Form 1040, line 73, box a
      I Biofuel producer credit                                                                 P Interest allocable to production      See the Shareholder’s Instructions
      J Work opportunity credit                                                                   expenditures
     K Disabled access credit                                                                   Q CCF nonqualified withdrawals
      L Empowerment zone                       See the Shareholder’s Instructions               R Depletion information—oil and gas
        employment credit                                                                       S Reserved
     M Credit for increasing research                                                           T Section 108(i) information
        activities                                                                              U Net investment income
                                                                                                V Other information

 QNA                                                                                108
                         Case: 22-5843                Document: 22              Filed: 11/30/2022     Page: 111
                                                       Shareholder's Basis Statement   [
                                                                  Keep for your records[ 2017

[

Shareholder Number:               
                                    [Tin:           [Tax year ending: 2017             [Ownership %
                                              20.0000 ]
[

Name of Shareholder: ADAM NEWTON                                                                            ]

[
Name of S Corporation: PLAYERS DUGOUT INC                                              [EIN            ]
Preparer's Initials and Date:  Reviewer's Initials and Date: 





        Explanation of Adjustment                                                                  
                                                                                                     Stock Basis       
                                                                                                                          Debt Basis


 1.    Balances-beginning of year                                                              $         $
 2.    Adjustment for:
           Contributions to capital/stock purchases                                                
           New loans to corporation                                                                                    
           Repayment of debt principal                                                                             (    )
      Adjustment for income and gain items (from Schedule K-1):
           Nonseparately stated income                              $
           Separately stated income:
               Interest, dividends, and royalties                    
               Capital gain                                          
              Section 1231 gain                                      
              Other portfolio income                                 
              Tax-exempt income                                      
              Other:                            
    Increase for depletion adjustment                                
    Increase for business credits                                    
 3. Total adjustment for income and gain items                       
 4. Nondividend distributions (from Schedule K-1, line 16, code D) (  )
 5.    Adjustment for loss and deduction items:
           Prior years' loss carryover                              (    )
           Nonseparately stated loss (from Schedule K-1)            (   
                                                                              6461 )
           Separately stated losses and deductions (from Schedule K-1):
               Capital loss                                )
                                                                    (
               Section 1231 loss                           )
                                                                    (
                Charitable contributions                (  )
                Section 179 deductions                  (  )
                Deductions related to portfolio income  (  )
                Deductions related to tax-exempt income (  )
                Other:             (  )
            Nondeductible expenses                      ( 
                                                                 187 )
            Decrease for depletion adjustment           (  )
            Decrease for business credits               (  )
 6.    Total loss and deduction items                   ( 
                                                                6648 )
 7.    Net increase/decrease                              
                                                               -6648
 8.    Increase by net increase                                                                            
 9.    Increase by income and gain items                                                                   
                                                                                                                      XXXXXXXXX
10.    Subtotals                                                                                           
11.    Decrease by distributions                                                               (  )        
                                                                                                                      XXXXXXXXX
12.    Subtotals                                                                                           
13.    Decrease by loss and deduction items                                                    (  )      (  )
14.    Subtotals                                                                                           
15.    Adjustment for:
           Sale or other disposition of stock                                                  (    )
           Repayment of debt principal                                                                      (  )
16.    Balances-end of year (not less than zero)                                               $ $
17.    Loss carryover to following year                             $
                                                                           6648
QNA

                                                                          109
                         Case: 22-5843                Document: 22              Filed: 11/30/2022     Page: 112
                                                       Shareholder's Basis Statement   [
                                                                  Keep for your records[ 2017

[

Shareholder Number:               
                                    [Tin:           [Tax year ending: 2017             [Ownership %
                                              55.0000 ]
[

Name of Shareholder: JOSEPH J NEWTON JR                                                                     ]

[
Name of S Corporation: PLAYERS DUGOUT INC                                              [EIN              
                                                                                                            ]
Preparer's Initials and Date:  Reviewer's Initials and Date: 





        Explanation of Adjustment                                                                  
                                                                                                     Stock Basis       
                                                                                                                          Debt Basis


 1.    Balances-beginning of year                                                              $         $
 2.    Adjustment for:
           Contributions to capital/stock purchases                                                
           New loans to corporation                                                                                    
           Repayment of debt principal                                                                             (    )
      Adjustment for income and gain items (from Schedule K-1):
           Nonseparately stated income                              $
           Separately stated income:
               Interest, dividends, and royalties                    
               Capital gain                                          
              Section 1231 gain                                      
              Other portfolio income                                 
              Tax-exempt income                                      
              Other:                            
    Increase for depletion adjustment                                
    Increase for business credits                                    
 3. Total adjustment for income and gain items                       
 4. Nondividend distributions (from Schedule K-1, line 16, code D) (  )
 5.    Adjustment for loss and deduction items:
           Prior years' loss carryover                              (    )
           Nonseparately stated loss (from Schedule K-1)            (   
                                                                             17769 )
           Separately stated losses and deductions (from Schedule K-1):
               Capital loss                                )
                                                                    (
               Section 1231 loss                           )
                                                                    (
                Charitable contributions                (  )
                Section 179 deductions                  (  )
                Deductions related to portfolio income  (  )
                Deductions related to tax-exempt income (  )
                Other:             (  )
            Nondeductible expenses                      ( 
                                                                 516 )
            Decrease for depletion adjustment           (  )
            Decrease for business credits               (  )
 6.    Total loss and deduction items                   ( 
                                                               18285 )
 7.    Net increase/decrease                              
                                                              -18285
 8.    Increase by net increase                                                                            
 9.    Increase by income and gain items                                                                   
                                                                                                                      XXXXXXXXX
10.    Subtotals                                                                                           
11.    Decrease by distributions                                                               (  )        
                                                                                                                      XXXXXXXXX
12.    Subtotals                                                                                           
13.    Decrease by loss and deduction items                                                    (  )      (  )
14.    Subtotals                                                                                           
15.    Adjustment for:
           Sale or other disposition of stock                                                  (    )
           Repayment of debt principal                                                                      (  )
16.    Balances-end of year (not less than zero)                                               $ $
17.    Loss carryover to following year                             $
                                                                          18285
QNA

                                                                          110
                         Case: 22-5843                Document: 22              Filed: 11/30/2022     Page: 113
                                                       Shareholder's Basis Statement   [
                                                                  Keep for your records[ 2017

[

Shareholder Number:               
                                    [Tin:           [Tax year ending: 2017             [Ownership %
                                              25.0000 ]
[

Name of Shareholder: JOSEPH A NEWTON                                                                        ]

[
Name of S Corporation: PLAYERS DUGOUT INC                                              [EIN            ]
Preparer's Initials and Date:  Reviewer's Initials and Date: 





        Explanation of Adjustment                                                                  
                                                                                                     Stock Basis       
                                                                                                                          Debt Basis


 1.    Balances-beginning of year                                                              $         $
 2.    Adjustment for:
           Contributions to capital/stock purchases                                                
           New loans to corporation                                                                                    
                                                                                                                            50000
           Repayment of debt principal                                                                             (    )
      Adjustment for income and gain items (from Schedule K-1):
           Nonseparately stated income                              $
           Separately stated income:
               Interest, dividends, and royalties                    
               Capital gain                                          
              Section 1231 gain                                      
              Other portfolio income                                 
              Tax-exempt income                                      
              Other:                            
    Increase for depletion adjustment                                
    Increase for business credits                                    
 3. Total adjustment for income and gain items                       
 4. Nondividend distributions (from Schedule K-1, line 16, code D) (  )
 5.    Adjustment for loss and deduction items:
           Prior years' loss carryover                              (    )
           Nonseparately stated loss (from Schedule K-1)            (   
                                                                              8077 )
           Separately stated losses and deductions (from Schedule K-1):
               Capital loss                                )
                                                                    (
               Section 1231 loss                           )
                                                                    (
                Charitable contributions                (  )
                Section 179 deductions                  (  )
                Deductions related to portfolio income  (  )
                Deductions related to tax-exempt income (  )
                Other:             (  )
            Nondeductible expenses                      ( 
                                                                 234 )
            Decrease for depletion adjustment           (  )
            Decrease for business credits               (  )
 6.    Total loss and deduction items                   ( 
                                                                8311 )
 7.    Net increase/decrease                              
                                                               -8311
 8.    Increase by net increase                                                                            
 9.    Increase by income and gain items                                                                   
                                                                                                                      XXXXXXXXX
10.    Subtotals                                                                                           
                                                                                                                          50000
11.    Decrease by distributions                                                               (  )        
                                                                                                                      XXXXXXXXX
12.    Subtotals                                                                                           
                                                                                                                          50000
13.    Decrease by loss and deduction items                                                    (  )      ( 
                                                                                                                           8311 )
14.    Subtotals                                                                                           
                                                                                                                          41689
15.    Adjustment for:
           Sale or other disposition of stock                                                  (    )
           Repayment of debt principal                                                                      (  )
16.    Balances-end of year (not less than zero)                                               $ $
                                                                                                                   41689
17.    Loss carryover to following year                             $
QNA

                                                                          111
                                Case: 22-5843                    Document: 22                   Filed: 11/30/2022               Page: 114

Form   4562                                                Depreciation and Amortization
                                                            (Including Information on Listed Property)
                                                                                                                                                        OMB No. 1545-0172


                                                                                                                                                         2017
                                                                            a Attach to your tax return.
Department of the Treasury                                                                                                                              Attachment
                                           a Go to www.irs.gov/Form4562 for instructions and the latest information.                                    Sequence No. 179
Internal Revenue Service (99)
Name(s) shown on return                                                     Business or activity to which this form relates                 S 1 Identifying number
PLAYERS DUGOUT INC                                     S-CORPORATION
 Part I        Election To Expense Certain Property Under Section 179
               Note: If you have any listed property, complete Part V before you complete Part I.
   1   Maximum amount (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                                                              1
   2   Total cost of section 179 property placed in service (see instructions) . . . . . . . . . . .                                                2
   3   Threshold cost of section 179 property before reduction in limitation (see instructions) . . . . . .                                         3
   4   Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- . . . . . . . . . .                                         4
   5   Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
       separately, see instructions . . . . . . . . . . . . . . . . . . . . . . . . .                                                               5
   6                       (a) Description of property                                (b) Cost (business use only)            (c) Elected cost




  7 Listed property. Enter the amount from line 29 . . . . . . . . .                    7
  8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7              . . . . . .       8
  9 Tentative deduction. Enter the smaller of line 5 or line 8 . . . . . . . . . . . . . . . .                          9
 10 Carryover of disallowed deduction from line 13 of your 2016 Form 4562 . . . . . . . . . . .                        10
 11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 (see instructions) 11
 12 Section 179 expense deduction. Add lines 9 and 10, but don’t enter more than line 11 . . . . . .                   12
 13 Carryover of disallowed deduction to 2018. Add lines 9 and 10, less line 12 a                13
Note: Don’t use Part II or Part III below for listed property. Instead, use Part V.
 Part II Special Depreciation Allowance and Other Depreciation (Don’t include listed property.) (See instructions.)
 14 Special depreciation allowance for qualified property (other than listed property) placed in service
     during the tax year (see instructions) . . . . . . . . . . . . . . . . . . . . . .                                14
 15 Property subject to section 168(f)(1) election . . . . . . . . . . . . . . . . . . . .                             15
 16 Other depreciation (including ACRS) . . . . . . . . . . . . . . . . . . . . . .                                    16
 Part III MACRS Depreciation (Don’t include listed property.) (See instructions.)
                                                                  Section A
 17 MACRS deductions for assets placed in service in tax years beginning before 2017 . . . . . . .                     17 1781
 18 If you are electing to group any assets placed in service during the tax year into one or more general
    asset accounts, check here . . . . . . . . . . . . . . . . . . . . . . a
              Section B—Assets Placed in Service During 2017 Tax Year Using the General Depreciation System
                                   (b) Month and year    (c) Basis for depreciation
  (a) Classification of property        placed in         (business/investment use    (d) Recovery     (e) Convention          (f) Method          (g) Depreciation deduction
                                         service           only—see instructions)         period

 19a 3-year property
   b 5-year property
   c 7-year property
   d 10-year property
   e 15-year property
   f 20-year property
   g 25-year property                                                                  25 yrs.                                    S/L
   h Residential rental                                                               27.5 yrs.              MM                   S/L
      property                                                                        27.5 yrs.              MM                   S/L
    i Nonresidential real                                                              39 yrs.               MM                   S/L
      property                                                                                               MM                   S/L
             Section C—Assets Placed in Service During 2017 Tax Year Using the Alternative Depreciation System
 20a Class life                                                                           S/L
   b 12-year                                              12 yrs.                         S/L
   c 40-year                                              40 yrs.       MM                S/L
 Part IV Summary (See instructions.)
 21 Listed property. Enter amount from line 28 . . . . . . . . . . . . . . . . . . . .                                                             21
 22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
    here and on the appropriate lines of your return. Partnerships and S corporations—see instructions .                                           22                1781
 23 For assets shown above and placed in service during the current year, enter the
    portion of the basis attributable to section 263A costs   . . . . . . .            23
For Paperwork Reduction Act Notice, see separate instructions.                                                                                             Form 4562 (2017)
 QNA                                                                                     112
               Case: 22-5843                              Document: 22                  Filed: 11/30/2022                     Page: 115
   PLAYERS DUGOUT INC
Form 4562 (2017)                                                                                                      Page 2
 Part V      Listed Property (Include automobiles, certain other vehicles, certain aircraft, certain computers, and property
             used for entertainment, recreation, or amusement.)
           Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
           24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
       Section A—Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
 24a Do you have evidence to support the business/investment use claimed? Yes  No     24b If “Yes,” is the evidence written? Yes No
                                         (c)                                       (e)
          (a)                (b)                                                                     (f)            (g)                       (h)                       (i)
                                      Business/           (d)            Basis for depreciation
 Type of property (list Date placed                                                               Recovery        Method/                 Depreciation         Elected section 179
                                    nvestment use Cost or other basis    (business/investment
    vehicles first)      in service                                                                period        Convention                deduction                  cost
                                     percentage                                 use only)
 25 Special depreciation allowance for qualified listed property placed in service during
    the tax year and used more than 50% in a qualified business use (see instructions) .             25
 26 Property used more than 50% in a qualified business use:
                                        %
                                        %
                                        %
 27 Property used 50% or less in a qualified business use:
                                        %                                                    S/L –
                                        %                                                    S/L –
                                        %                                                    S/L –
 28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 .              28
 29 Add amounts in column (i), line 26. Enter here and on line 7, page 1 . . . . . . . . . . . .                          29
                                                Section B—Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other “more than 5% owner,” or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                     (a)               (b)              (c)                  (d)                     (e)                  (f)
 30 Total business/investment miles driven during                 Vehicle 1         Vehicle 2        Vehicle 3            Vehicle 4               Vehicle 5            Vehicle 6
    the year (don’t include commuting miles) .
 31 Total commuting miles driven during the year
 32 Total other personal (noncommuting)
    miles driven    . . . . . . . . .
 33 Total miles driven during the year. Add
    lines 30 through 32 . . . . . . .
 34 Was the vehicle available for personal                   Yes         No      Yes       No      Yes       No       Yes             No       Yes         No       Yes       No
    use during off-duty hours? . . . . .
 35 Was the vehicle used primarily by a more
    than 5% owner or related person? . .
 36 Is another vehicle available for personal use?
                      Section C—Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren’t
more than 5% owners or related persons (see instructions).
 37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by Yes     No
     your employees? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
     employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners . .
 39 Do you treat all use of vehicles by employees as personal use?      . . . . . . . . . . . . . . . .
 40 Do you provide more than five vehicles to your employees, obtain information from your employees about the
     use of the vehicles, and retain the information received? . . . . . . . . . . . . . . . . . . .
 41 Do you meet the requirements concerning qualified automobile demonstration use? (See instructions.) . . .
     Note: If your answer to 37, 38, 39, 40, or 41 is “Yes,” don’t complete Section B for the covered vehicles.
 Part VI Amortization
                                                                                                                                   (e)
                                                     (b)
                     (a)                                                          (c)                      (d)                 Amortization                         (f)
                                              Date amortization
            Description of costs                                          Amortizable amount           Code section             period or                Amortization for this year
                                                   begins
                                                                                                                               percentage
 42 Amortization of costs that begins during your 2017 tax year (see instructions):
     SOFTWARE                                06/30/17                                  30952                                      5                                       3611

 43 Amortization of costs that began before your 2017 tax year . . . . . .                               .   .    .   .   .   .       .        43
 44 Total. Add amounts in column (f). See the instructions for where to report .                         .   .    .   .   .   .       .        44                         3611
 QNA                                                                                                                                                             Form 4562 (2017)

                                                                                 113
             Case: 22-5843 Document: 22 Filed: 11/30/2022   Page: 116
         1120S SUPPORTING STATEMENTS FOR

PLAYERS DUGOUT INC

PO BOX 406
ELIZABETHTOWN, KY 42702


**** Schedule of Other Deductions:

Description
______________________________ Amount
                               ___________
AUTO EXPENSE                           3319
SOFTWARE SUPPORT EXPENSE               1000
VELOCITY PER PROGRAM PMTS              9156
SUPPLIES                               6250
WEB HOSTING EXPENSE                     920
CREDIT CARD PROCESSING FEE             3276
ACCOUNTING                             2510
CLEANING & JANITORIAL EXPENSE           493
INSURANCE PREMIUMS                    13066
OFFICE SUPPLIES                        5135
POSTAGE                                4495
TRAVEL                                 1179
UTILITIES                             13828
BANK CHARGES                            432
CAMP EXPENSE                           2751
GROUP LESSONS                          3344
SMALL EQUIPMENT                         472
LEGAL AND PROFESSIONAL FEES             971
MEALS AND ENTERTAINMENT                 289
AMORTIZATION                           3611
                               -----------
                                      76497


**** Schedule L - Other Current Assets:

_______________________________ Ending
Description                     ___________
EQUIPMENT NOT PLACED IN SERVICE        37415
                                -----------
                                       37415


**** Schedule L - Other Assets:

______________________________ Ending
Description                    ___________
DEPOSITS                              7690
                               -----------
                                      7690


**** Schedule L - Other Current Liabilities:

Description
______________________________ Ending
                               ___________
PAYROLL LIABILITIES                    750
DISCOVER                              5445
                               -----------
                                      6195



                                       114
             Case: 22-5843 Document: 22 Filed: 11/30/2022   Page: 117
         1120S SUPPORTING STATEMENTS FOR

PLAYERS DUGOUT INC

PO BOX 406
ELIZABETHTOWN, KY 42702


**** Schedule L - Other Liabilities:

Description
___________________________________ Ending
                                    ___________
LEASE DEPOSIT FROM ETOWN GYMNASTICS        5000
                                    -----------
                                           5000


**** Schedule M-1 - Expenses Recorded on Books:

Description
______________________________ Amount
                               ___________
NONDEDUCTIBLE EXPENSES                3244
                               -----------
                                      3244


**** Schedule M-1 - Income Recorded on Books:

Description
______________________________ Amount
                               ___________
ROUNDING DIFF                            1
                               -----------
                                         1


**** Schedule M-2 - Other Additions - Column A:

Description
______________________________ Amount
                               ___________
ROUNDING DIFF                            1
                               -----------
                                         1


**** Schedule M-2 - Other Reductions - Column A:

Description
______________________________ Amount
                               ___________
NONDEDUCTIBLE EXPENSES                3244
NONDEDUCTIBLE MEALS                    289
                               -----------
                                      3533




                                       115
             Case: 22-5843 Document: 22 Filed: 11/30/2022   Page: 118
           1120S SUPPORTING NOTES FOR

PLAYERS DUGOUT INC

PO BOX 406
ELIZABETHTOWN, KY 42702


**** Schedule of Deductions - Rents:

Description
______________________________ Amount
                               ___________
BUILDING                              60000
VEHICLE LEASE                          5427
                               -----------
                                      65427


**** Schedule of Deductions - Taxes and Licenses:

Description
______________________________ Amount
                               ___________
LICENSE AND FEES EXPENSE                70
KY INCOME TAX                          175
PAYROLL TAXES                         8206
PROPERTY TAX                           827
                               -----------
                                      9278




                                       116
                     Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 119
               STATEMENT OF DEPRECIATION FOR:                             SCHEDULE: S-1

                   [        [ Cost [         [       [       [        [      [Life [       [ ADS [ Next 
       Description [ Date [ or other [       [ Bonus [       [ Accum [Method [ or [Deprec [ Deprec [ Year's 

       of Property [
                    Acquired[ Basis [Sec 179 [ Deprec [ Basis [ Deprec [Used [Rate [        [       [ Deprec 

DESK 1             [11/09/99[ 283 [          [       [ 283 [ 283 [MACRS [ 5.0 [            [       [        

SWIVEL CHAIR 2     [11/09/99[ 107 [          [       [ 107 [ 107 [MACRS [ 5.0 [            [       [        

REFRIGERATOR       [11/15/99[ 423 [          [       [ 423 [ 423 [MACRS [ 5.0 [            [       [        

OUTSIDE P O SIGN   [11/15/99[ 3000 [         [       [ 3000 [ 3000 [MACRS [ 5.0 [          [       [        

RCA 19 IN TV VCR   [11/15/99[ 211 [          [       [ 211 [ 211 [MACRS [ 3.0 [            [       [        

RCA 19 IN TV 1     [11/15/99[ 147 [          [       [ 147 [ 147 [MACRS [ 3.0 [            [       [        

TOKEN MACHINE      [11/16/99[ 1266 [         [       [ 1266 [ 1266 [MACRS [ 5.0 [          [       [        

CAGES NETS FUNCTIO [11/25/99[ 47836 [        [       [ 47836 [ 47836 [MACRS [ 5.0 [        [       [        

CASH REGISTER      [11/29/99[ 439 [          [       [ 439 [ 439 [MACRS [ 5.0 [            [       [        

COMPUTER IBM DIREC [09/30/02[ 3633 [         [       [ 3633 [ 3633 [MACRS [ 5.0 [          [       [        

RICHO OFFICE COPIE [01/16/04[ 1500 [ 750 [           [ 750 [ 1500 [MACRS [ 5.0 [           [       [        

PORTABLE CABINETS  [03/24/06[ 2980 [         [       [ 2980 [ 2980 [MACRS [ 7.0 [          [       [        

EQUIPMENT          [11/13/06[ 682 [          [       [ 682 [ 682 [MACRS [ 5.0 [            [       [        

UMBRELLA TABLES CH [05/01/10[ 582 [          [       [ 582 [ 557 [MACRS [ 7.0 [         25 [    25 [        

TABLE CHAIRS W UMB [06/10/10[ 738 [          [       [ 738 [ 707 [MACRS [ 7.0 [         31 [    31 [        

CUB VADET FOR FIEL [12/15/10[ 6126 [         [       [ 6126 [ 5363 [MACRS [ 7.0 [      376 [   376 [        

2010 MERCURY MILAN [11/29/11[ 10595 [        [       [ 10595 [ 10595 [MACRS [ 5.0 [        [       [        

DELL COMPUTERS     [01/08/13[ 2198 [ 2198 [          [       [ 2198 [MACRS [ 5.0 [         [       [        

F150 2002          [06/20/13[ 16714 [ 5000 [         [ 11714 [ 14689 [MACRS [ 5.0 [ 1349 [         [    675 

XMARK LAWN MOWER   [10/08/13[ 11565 [ 11565 [        [       [ 11565 [MACRS [ 7.0 [        [       [        

TVS                [09/25/15[ 772 [ 772 [            [       [ 772 [SL       [ 5.0 [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        


                   [        [        [       [       [       [        [      [     [       [       [        


TOTALS:             [        [ 111797 [ 20285 [       [ 91512 [ 108953 [      [     [ 1781 [    432 [    675 
 QNA                                                117
                 Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 120
           STATEMENT OF AMORTIZATION FOR:                 SCHEDULE: S-1


                         [ Date         [            [        [         [             [                          
                         [ Amortization [Amortizable [        [  Code   [Amortization [Amortization Amortization 
    Description of Costs [ Begins       [ Amount [Accumulated [ Section [ Period

           [ This Year  Next Year 

SOFTWARE                  [06/30/17 [ 30952 [                  [         [
  5.0 [           3611         6190 
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          

TOTALS:                   [              [ 30952 [             [         [
           [      3611         6190 
QNA                                                   118
                     Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 121
     STATEMENT OF STATE DEPRECIATION FOR:                                   SCHEDULE: S-1

                   [        [ Cost [         [       [       [        [      [Life [       [ ADS [ Next 
       Description [ Date [ or other [       [ Bonus [       [ Accum [Method [ or [Deprec [ Deprec [ Year's 

       of Property [
                    Acquired[ Basis [Sec 179 [ Deprec [ Basis [ Deprec [Used [Rate [        [       [ Deprec 

DESK 1             [11/09/99[ 283 [          [       [ 283 [ 283 [MACRS [ 5.0 [            [       [        

SWIVEL CHAIR 2     [11/09/99[ 107 [          [       [ 107 [ 107 [MACRS [ 5.0 [            [       [        

REFRIGERATOR       [11/15/99[ 423 [          [       [ 423 [ 423 [MACRS [ 5.0 [            [       [        

OUTSIDE P O SIGN   [11/15/99[ 3000 [         [       [ 3000 [ 3000 [MACRS [ 5.0 [          [       [        

RCA 19 IN TV VCR   [11/15/99[ 211 [          [       [ 211 [ 211 [MACRS [ 3.0 [            [       [        

RCA 19 IN TV 1     [11/15/99[ 147 [          [       [ 147 [ 147 [MACRS [ 3.0 [            [       [        

TOKEN MACHINE      [11/16/99[ 1266 [         [       [ 1266 [ 1266 [MACRS [ 5.0 [          [       [        

CAGES NETS FUNCTIO [11/25/99[ 47836 [        [       [ 47836 [ 47836 [MACRS [ 5.0 [        [       [        

CASH REGISTER      [11/29/99[ 439 [          [       [ 439 [ 439 [MACRS [ 5.0 [            [       [        

COMPUTER IBM DIREC [09/30/02[ 3633 [         [       [ 3633 [         [MACRS [ 5.0 [       [       [        

RICHO OFFICE COPIE [01/16/04[ 1500 [ 750 [           [ 750 [          [MACRS [ 5.0 [       [       [        

PORTABLE CABINETS  [03/24/06[ 2980 [         [       [ 2980 [         [MACRS [ 7.0 [       [       [        

EQUIPMENT          [11/13/06[ 682 [          [       [ 682 [          [MACRS [ 5.0 [       [       [        

UMBRELLA TABLES CH [05/01/10[ 582 [          [       [ 582 [       71 [MACRS [ 7.0 [    36 [       [        

TABLE CHAIRS W UMB [06/10/10[ 738 [          [       [ 738 [       90 [MACRS [ 7.0 [    45 [       [        

CUB VADET FOR FIEL [12/15/10[ 6126 [         [       [ 6126 [ 750 [MACRS [ 7.0 [       376 [       [        

2010 MERCURY MILAN [11/29/11[ 10595 [        [       [ 10595 [ 10595 [MACRS [ 5.0 [        [       [        

DELL COMPUTERS     [01/08/13[ 2198 [ 2198 [          [       [        [MACRS [ 5.0 [       [       [        

F150 2002          [06/20/13[ 16714 [ 5000 [         [ 11714 [ 1349 [MACRS [ 5.0 [ 1349 [          [    675 

XMARK LAWN MOWER   [10/08/13[ 11565 [ 11565 [        [       [        [MACRS [ 7.0 [       [       [        

TVS                [09/25/15[ 772 [ 772 [            [       [        [SL    [ 5.0 [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        

                   [        [        [       [       [       [        [      [     [       [       [        


                   [        [        [       [       [       [        [      [     [       [       [        


TOTALS:             [        [ 111797 [ 20285 [       [ 91512 [ 66567 [       [     [ 1806 [        [    675 
 QNA                                                119
                 Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 122
      STATEMENT OF STATE AMORTIZATION FOR:                 SCHEDULE: S-1


                         [ Date         [            [        [         [             [                          
                         [ Amortization [Amortizable [        [  Code   [Amortization [Amortization Amortization 
    Description of Costs [ Begins       [ Amount [Accumulated [ Section [ Period

           [ This Year  Next Year 

SOFTWARE                  [06/30/17 [ 30952 [                  [         [
  5.0 [           3611         6190 
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          
                         [              [            [        [         [
           [                          

TOTALS:                   [              [ 30952 [             [         [
           [      3611         6190 
QNA                                                   120
                                Case: 22-5843                    Document: 22                        Filed: 11/30/2022                    Page: 123

Form   7004
(Rev. December 2017)
                                     Application for Automatic Extension of Time To File Certain
                                       Business Income Tax, Information, and Other Returns                                                                      OMB No. 1545-0233
                                                                 a
                                                            File a separate application for each return.
Department of the Treasury
                                            a Go to www.irs.gov/Form7004 for instructions and the latest information.
Internal Revenue Service
                   Name                                                                                                                           Identifying number

Print              PLAYERS DUGOUT INC
                   Number, street, and room or suite no. (If P.O. box, see instructions.)
or
                   PO BOX 406
Type               City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country’s practice for entering postal code)).

                   ELIZABETHTOWN, KY 42702
Note: File request for extension by the due date of the return. See instructions before completing this form.
 Part I      Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
  1   Enter the form code for the return listed below that this application is for . . . . . . . . . . . . . . . 2 5
Application                                                                      Form            Application                                                             Form
Is For:                                                                          Code            Is For:                                                                 Code
Form 706-GS(D)                                                                    01             Form 1120-ND                                                             19
Form 706-GS(T)                                                                    02             Form 1120-ND (section 4951 taxes)                                        20
Form 1041 (bankruptcy estate only)                                                03             Form 1120-PC                                                             21
Form 1041 (estate other than a bankruptcy estate)                                 04             Form 1120-POL                                                            22
Form 1041 (trust)                                                                 05             Form 1120-REIT                                                           23
Form 1041-N                                                                       06             Form 1120-RIC                                                            24
Form 1041-QFT                                                                     07             Form 1120S                                                               25
Form 1042                                                                         08             Form 1120-SF                                                             26
Form 1065                                                                         09             Form 3520-A                                                              27
Form 1065-B                                                                       10             Form 8612                                                                28
Form 1066                                                                         11             Form 8613                                                                29
Form 1120                                                                         12             Form 8725                                                                30
Form 1120-C                                                                       34             Form 8804                                                                31
Form 1120-F                                                                       15             Form 8831                                                                32
Form 1120-FSC                                                                     16             Form 8876                                                                33
Form 1120-H                                                                       17             Form 8924                                                                35
Form 1120-L                                                                       18             Form 8928                                                                36
 Part II         All Filers Must Complete This Part
   2   If the organization is a foreign corporation that does not have an office or place of business in the United States,
       check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
   3   If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
       check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
       If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
       covered by this application.
   4   If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here . a
   5a The application is for calendar year 20 17 , or tax year beginning                   , 20      , and ending                 , 20
     b Short tax year. If this tax year is less than 12 months, check the reason:        Initial return        Final return
            Change in accounting period           Consolidated return to be filed        Other (see instructions—attach explanation)

   6      Tentative total tax .         .   .    .   .   .   .       .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .        6

   7      Total payments and credits (see instructions) .                        .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .        7

   8      Balance due. Subtract line 7 from line 6 (see instructions) .                          .    .   .   .   .   .   .   .   .   .   .   .        8
For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                              Form 7004 (Rev. 12-2017)

QNA




                                                                                             121
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 124
                           Case: 22-5843               Document: 22               Filed: 11/30/2022               Page: 125

FORM 8879(C)-K
                                                                                                                                                    Page 2
    (2017)



PART III - Declaration of Authorized Representative of Entity (Sign only after Parts I and II are completed.)
    I authorize the Kentucky Department of Revenue and its designated Financial Agent to initiate an ACH electronic funds withdrawal entry to the
       ﬁnancial institution account indicated above for payment of the state taxes owed on this return. I also authorize the ﬁnancial institutions involved
       in the processing of the electronic payment of taxes to receive conﬁdential information necessary to answer inquiries and resolve issues related to
       the payment.

If this is a balance due return, I understand that if the Department of Revenue does not receive the full and timely payment of the tax liability, the entity
will remain liable for the tax liability and all applicable interest and penalties.

I, the undersigned, declare under the penalties of perjury, that I am an ofﬁcer of the above corporation, partner or member of the above limited liability
pass-through entity, or partner of the above general partnership and that I have examined a copy of the corporation’s, limited liability pass-through entity’s,
or general partnership’s electronic tax return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true
correct and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the Form 720, 720S, 725, 765, or 765-GP
electronic tax return.



Signature of Authorized Representative __________________________________________________________________                    04/25/2018
                                                                                                                       Date ________________________________



Type or Print the Name and Title
                                                            JOSEPH NEWTON
of the Authorized Representative Signing this Document __________________________________________________________________________________________



PART IV - Declaration and Signature of Electronic Return Originator (ERO) and Paid Preparer

I, the undersigned, declare that I have reviewed the above tax return and that the entries on Part I above are correct and complete. If I am only the ERO, I am
not responsible for reviewing the tax return and only declare that this tax return accurately reﬂects the data on the tax return. The corporate ofﬁcer of the
above corporation, partner or member of the above limited liability pass-through entity, or partner of the above general partnership will have signed this
form before I submit the tax return. I will give the corporate ofﬁcer of the above corporation, partner or member of the above limited liability pass-through
entity, or partner of the above general partnership all forms, including accompanying schedules and statements, ﬁled with the Kentucky Department of
Revenue. If I am also the paid preparer, I declare under the penalties of perjury that I have examined this tax return, including all accompanying schedules
and statements, and to the best of my knowledge and belief, it is true, correct, and complete.



                                                                                                               Check     if also a paid preparer.




ERO’s signature _______________________________________             04/25/2018
                                                             Date _________________________                             P00568423
                                                                                                 I.D. Number of ERO ____________________________________



Firm’s name (or your
                      ACCOUNTING AND TAX PROFESSIONALS FEIN __________________________________________________
name if self-employed) ________________________________________________________________47-4358329
        790 N DIXIE AVE SUITE 400 ELIZABETHTOWN KYZIP Code ______________________________________________
Address ______________________________________________________________________________   42701


I, the undersigned, declare under the penalties of perjury that I have examined this tax return, including all accompanying schedules and statements, and
to the best of my knowledge and belief, it is true, correct and complete.




Preparer’s signature___________________________________      Date _________________________      I.D. Number of Preparer ________________________________



Firm’s name (or your
name if self-employed) ________________________________________________________________          FEIN __________________________________________________

Address ______________________________________________________________________________           ZIP Code ______________________________________________




1038
41A720-S8
                                                                            123
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 126
                                Case: 22-5843                      Document: 22                     Filed: 11/30/2022                       Page: 127

FORM 720S (2017)                                                                                                                                                        Page 2 of 6


                                                       PART III—ORDINARY INCOME (LOSS) COMPUTATION

  1. Federal ordinary income (loss) (see instructions) ............................................................................................ 1                 -32307 00
 ADDITIONS
  2. State taxes based on net/gross income ................................................................................................................ 2                00
  3. Federal depreciation (do not include IRC §179 expense deduction) .............................................................. 3                                       00
  4. Related party expenses (attach Schedule RPC).............................................................................................................. 4            00
  5. Other (attach Schedule O-PTE) ........................................................................................................................... 5             00
  6. Total (add lines 1 through 5) .............................................................................................................................. 6   -32307 00
 SUBTRACTIONS
  7. Federal work opportunity credit......................................................................................................................... 7              00
  8. Kentucky depreciation (do not include IRC §179 expense deduction) ........................................................... 8                                      25 00
  9. Other (attach Schedule O-PTE) ........................................................................................................................... 9             00
 10. Kentucky ordinary income (loss) (line 6 less lines 7 through 9) ..................................................................... 10                         -32332 00
                                   PART IV—EXPLANATION OF FINAL RETURN AND/OR SHORT–PERIOD RETURN


          Ceased operations in Kentucky                                                              Change in ﬁling status
          Change of ownership                                                                        Merger
          Successor to previous business                                                             Other _________________________________________________


                                                   PART V—EXPLANATION OF AMENDED RETURN CHANGES




 OFFICER INFORMATION
 Attach a schedule listing the name, home address, and Social Security number of the vice president, secretary, and treasurer.
 Has the attached ofﬁcer information changed from the last return ﬁled?                                          Yes                 x     No
 President’s Name JOSEPH                    A NEWTON                                                 President’s Home Address 3867 MUNFORDVILLE RD
 President’s Social Security Number                                                                  SONORA, KY 42776
 Date Became President             0 4         /3 0 /1                    9 9          9
 Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and
 belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
                 Signature of Ofﬁcer                                                                                             Date
Sign
Here             Name of Ofﬁcer
                       JOSEPH NEWTON
                                                                                                                                 Title


                 Signature of Preparer                                                                                           Date
Paid
                 Name of Preparer or Firm                                                                                        ID Number
Preparer             ACCOUNTING AND TAX PROFESSIONAL                   P00568423
Use              Email and/or Telephone No.                   May the DOR discuss this return with this preparer?
                     TAXPRO@BBTEL.COM          (270) 982-5200                 x Yes            No




                                                                                                 Refund            Kentucky Department of Revenue
Enclose          Include federal Form 1120S with all supporting                                  or No             P. O. Box 856905
                 schedules and statements.                                                                         Louisville, KY 40285-6905
                                                                                                 Payment
                                                                                                                   Kentucky Department of Revenue
                 Check Payable: Kentucky State Treasurer                                         With
Payment                                                                                                            P. O. Box 856910
                 E-Pay Options: www.revenue.ky.gov                                               Payment           Louisville, KY 40285-6910

41A720S 1038
                                                                                            125
                         Case: 22-5843             Document: 22              Filed: 11/30/2022             Page: 128

FORM 720S (2017)                                                                                                                          Page 3 of 6



SCHEDULE Q— KENTUCKY S CORPORATION QUESTIONNAIRE

IMPORTANT: Questions 3—12 must be completed by all                           6(b) Was the S corporation doing business in Kentucky other
S corporations. If this is the S corporation’s initial return or if               than through its interest held in a pass-through entity doing
the S corporation did not ﬁle a return under the same name and                    business in Kentucky?  Yes     x No
same federal I.D. number for the preceding year, questions 1 and
                                                                             7.   Are related party costs per KRS 141.205(1)(l) included in this
2 must be answered. Failure to do so may result in a request
for a delinquent return.
                                                                                  return ?  Yes   x No. If yes, attach Schedule RPC, Related
                                                                                  Party Costs Disclosure Statement, and enter any related party
                                                                                  cost additions on Part I, Line 4.
 1. Indicate whether: (a)  new business; (b)  successor to
    previously existing business which was organized as:                     8.   Is the entity filing this Kentucky tax return organized
    (1)  corporation; (2)  partnership; (3)  sole proprietorship;              as a limited cooperative association per KRS Chapter
    or (4)  other __________________________________________                     272A?  Yes    x No
    If successor to previously existing business, give name,
                                                                             9.   Is the entity ﬁling this Kentucky tax return organized as a
    address and federal I.D. number of the previous business
                                                                                  statutory trust or a series statutory trust per KRS Chapter
    organization.
                                                                                  386A?  Yes     x No
     ______________________________________________________
     ______________________________________________________                       If yes, is the entity ﬁling this Kentucky tax return a series within
     ______________________________________________________                       a statutory trust?  Yes  No

 2. If a foreign S corporation, enter the date qualiﬁed to do                     If yes, enter the name, address and federal I.D. number of
    business in Kentucky. __ __ / __ __ / __ __                                   the statutory trust registered with the Kentucky Secretary of
                                                                                  State:
                                                                                   ______________________________________________________
 3. List the following Kentucky account numbers. Enter N/A for                     ______________________________________________________
    any number not applicable.                                                     ______________________________________________________
                                                                                   ______________________________________________________
                                       0473532
    KY Secretary of State Organization______________________                       ______________________________________________________
    Nonresident Income Tax Withholding ____________________                        ______________________________________________________
                              202344
    Employer Withholding ________________________________                          ______________________________________________________
    Sales and Use Tax Permit ______________________________
                                                                             10. Was this return prepared on: (a)  cash basis, (b) 
                                                                                                                                    x accrual
    Consumer Use Tax ____________________________________
                                                                                 basis, (c)  other _____________________________________
    Unemployment Insurance _____________________________
    Coal Severance and/or Processing Tax __________________                  11. Did the S corporation file a Kentucky tangible personal
                                                                                 property tax return for January 1, 2018?  Yes 
                                                                                                                                x No
 4. The S corporation’s books are in care of: (name and
    address)                                                                      If yes, list the name and federal I.D. number of entity(ies) ﬁling
     ______________________________________________________
      ACCOUNTING AND TAX PROS                                                     return(s): ______________________________________________
     ______________________________________________________
      790 N DIXIE SUITE 400                                                        ______________________________________________________
     ______________________________________________________
      ELIZABETHTOWN KY 42701-                                                      ______________________________________________________
                                                                                   ______________________________________________________
 5. Are disregarded entities included in this return?                              ______________________________________________________
      Yes   x No. If yes, list name, address and federal I.D.                    ______________________________________________________
     number of each entity.                                                        ______________________________________________________
      ______________________________________________________                       ______________________________________________________
      ______________________________________________________
      ______________________________________________________
      ______________________________________________________
      ______________________________________________________                 12. Is the S corporation currently under audit by the Internal
      ______________________________________________________                     Revenue Service?  Yes     x No
      ______________________________________________________                     If yes, enter years under audit ________________________
6(a) Was the S corporation a partner or member in a pass-through
     entity doing business in Kentucky?  Yes     x No. If yes,                  If the Internal Revenue Service has made final and
     list name and federal I.D. number of each pass-through                       unappealable adjustments to the corporation’s
     entity.                                                                      taxable income which have not been reported to the
      ______________________________________________________                      department, check here  and file an amended Form
      ______________________________________________________                      720S for each year adjusted. Attach a copy of the ﬁnal
      ______________________________________________________                      determination to each amended return.
      ______________________________________________________

41A720S 1038
                                                                       126
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 129
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 130
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 131
                Case: 22-5843 Document: 22 Filed: 11/30/2022 Page: 132
     Supporting Statements for Officer Information Client :
________________________________________________________________________________

     ________________
     Name and Address                             _________
                                                    SSN

     JOSEPH J NEWTON JR
     ELIZABETHTOWN KY 42701




     ADAM C NEWTON
     SONORA KY 42776




                                      130
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 133
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 134
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 135
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 136
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 137
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 138
Case: 22-5843   Document: 22     Filed: 11/30/2022   Page: 139




        Defendants’
        Exhibit 125




                           137
Case: 22-5843   Document: 22   Filed: 11/30/2022   Page: 140
          Case: 22-5843    Document: 22     Filed: 11/30/2022   Page: 141




                          CERTIFICATION OF THE RECORD

      I hereby certify that the documents included in this Appendix are

properly part of the record and were admitted into evidence at trial.

                                             s/ Michael P. Abate
                                             Counsel for Appellants




                                      139
          Case: 22-5843    Document: 22     Filed: 11/30/2022   Page: 142




                             CERTIFICATE OF SERVICE

      I hereby certify that on November 30, 2022, I filed a copy of the

foregoing brief and served it on all parties by filing it through the Court’s

CM/ECF System. Counsel for all parties are registered ECF users.

                                             s/ Burt A. Stinson
                                             Counsel for Appellants
